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            In the United States Court of Federal Claims
                                          No. 10-480 C
                             (Filed Under Seal: September 17, 2010)
                                 (Reissued: November 19, 2010)*

*******************************************
BILFINGER BERGER AG SEDE                  *
SECONDARIA ITALIANA,                      *
                                          *                 Post-Award Bid Protest; 28 U.S.C.
                  Plaintiff,              *                 § 1491(b); Motion to Dismiss;
                                          *                 RCFC 12(b)(1); RCFC 12(b)(6);
v.                                        *                 Unreasonable Delay; Laches;
                                          *                 Standing; A & D Fire Protection,
THE UNITED STATES,                        *                 Inc.; Dismas Charities, Inc.;
                                          *                 Implied-in-Fact Contract; Resource
                  Defendant,              *                 Conservation Group, LLC;
                                          *                 Preliminary Injunction; Likelihood
and                                       *                 of Success on the Merits; Irreparable
                                          *                 Harm; Balance of Harms; Public
COOPERATIVA MURATORI RIUNITI,             *                 Interest
                                          *
                  Defendant-Intervenor.   *
*******************************************

Seamus Curley, Washington, DC, for plaintiff. Fernand A. Lavallee and C. Bradford Jorgensen,
of counsel.

L. Misha Preheim, United States Department of Justice, Washington, DC, for defendant.
Katherine Denzel, United States Army Corps of Engineers, Europe District, of counsel.

Joseph Hornyak, McLean, VA, for defendant-intervenor. T. Wayne Gray and Megan Mocho
Jeschke, of counsel.

                                   OPINION AND ORDER

SWEENEY, Judge

        Before the court in this post-award bid protest are Plaintiff’s Motion for a Preliminary
Injunction and Defendant’s Motion to Dismiss. Plaintiff Bilfinger Berger AG Sede Secondaria


       *
         The parties submitted their proposed redactions as an exhibit accompanying their
November 17, 2010 joint motion to dismiss without prejudice. All redactions are indicated by a
bracketed ellipsis (“[. . .]”).
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Italiana (“BBSSI”) requests that the court issue a preliminary injunction (1) preventing the
United States Army Corps of Engineers (“Corps”) from issuing any task orders to the awardee
and defendant-intervenor, Cooperativa Muratori Riuniti Impresa Generale di Construzioni
(“CMR”), under Job Order Contract (“JOC”) number W912GB-10-D-0007, and (2) requiring the
Corps to suspend performance of the JOC, including all task orders issued to CMR, until this
action is resolved.1 Defendant moves to dismiss the complaint pursuant to RCFC 12(b)(1) and
12(b)(6). For the reasons set forth below, defendant’s motion to dismiss is denied in part and
plaintiff’s motion for a preliminary injunction is granted.

          Due to the length of this opinion, the court provides the following table of contents:

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          1
         Both the Tucker Act, 28 U.S.C. § 1491(b)(2) (2006), and Rule 65 of the Rules of the
United States Court of Federal Claims (“RCFC”) grant the United States Court of Federal Claims
(“Court of Federal Claims”) the authority to issue temporary restraining orders. In accordance
with RCFC 65(b), the court, on August 20, 2010, issued a temporary restraining order, which
was extended on September 3, 2010.

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                                           I. FACTUAL BACKGROUND2

                                                     A. The Solicitation

        On May 12, 2009, the Corps issued a solicitation requesting proposals for a firm-fixed-
       3
price, indefinite delivery/indefinite quantity (“IDIQ”) JOC for real property repair, maintenance,


           2
         The facts are derived from the following: the complaint (“Compl.”); the appendix
accompanying BBSSI’s motion for a preliminary injunction (“Pl.’s App.”); the declaration of
Juergen Hagner, Chief Executive Officer and President of Bilfinger Berger Government Services
GmbH (“BBGS”), a wholly owned subsidiary of Bilfinger Berger AG (“BBAG”), accompanying
BBSSI’s motion for a preliminary injunction (“Hagner Decl.”); exhibits accompanying
defendant’s motion to dismiss (“Def.’s Ex.”); exhibits accompanying BBSSI’s memorandum of
points and authorities in support of its August 12, 2010 motion for leave (“Pl.’s Mem. Ex.”);
BBSSI’s supplemental brief (“Pl.’s Supp’l Br.”) and exhibit appended thereto (“Pl.’s Supp’l Br.
Ex.”); and CMR’s supplemental memorandum (“Def.-Intervenor’s Supp’l Mem.”) and
appendices (“Def.-Intervenor’s Supp’l Mem. App.”).
           3
         A firm-fixed-price contract is one that “provides for a price that is not subject to any
adjustment on the basis of the contractor’s cost experience in performing the contract.” 48
C.F.R. § 16.202-1 (2008). It is “suitable for acquiring commercial items . . . or for acquiring

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minor construction, and/or asbestos abatement at various United States Department of Defense
facilities located in Italy.4 Compl. ¶ 17; Pl.’s App. 3, 14, 37. Tracy L. Wickham served as the
contracting officer for the JOC procurement. Compl. ¶ 14; Pl.’s App. 117. Performance of the
work encompassed by the JOC spanned one base year with two option years. Pl.’s App. 88. The
maximum value of the JOC was $30,000,000 with an estimated annual amount of $10,000,000
that could not exceed $15,000,000 during any period. Id.

        Task orders under the JOC addressed general building renovation, road and pavement
repair, and general environmental work, and specifically included: incidental, new minor
construction; excavation; plumbing; demolition; electrical, structural, and mechanical work;
concrete work; environmental remedial work; and force protection. Id. at 14. Offerors were
advised that an award would be made to “one Offeror who is deemed responsible in accordance
with the Federal Acquisition Regulation [(“FAR”)], conforms to the solicitation requirements,
and whose proposal, judged by an overall assessment of the evaluation criteria and other
considerations specified in this solicitation, represents the Best Value (Cost Technical Trade-
Offs) to the Government.” Id. at 23-24. The Corps reserved the right to award the JOC to “other
than the lowest offer received,” id. at 28, and “to make multiple awards if, after considering the
additional administrative costs, it [was] in the Government’s best interest to do so,” id. at 36.

                                 1. Evaluation Factors for Award

        The Corps was to evaluate proposals based upon four factors: (1) experience; (2) past
performance; (3) management approach; and (4) price.5 Id. at 23. The JOC solicitation advised
offerors that the experience factor was deemed “slightly more important” than the past
performance factor, which, in turn, was deemed “slightly more important” than the management
approach factor. Id. at 24. A combination of these three factors was “approximately equal to
Cost or Price.” Id.



other supplies or services on the basis of reasonably definite functional or detailed
specifications . . . when the contracting officer can establish fair and reasonable prices at the
outset . . . .” Id. § 16.202-2.
       4
         The JOC contemplated work “throughout Italy[,] primarily in Vicenza[,] with
additional work anticipated in Livorno and Aviano . . . [, and] other areas in Italy . . . .” Pl.’s
App. 89.
        5
          Price is also referred to as “Coefficients” throughout the JOC solicitation. See, e.g.,
Pl.’s App. 27 (indicating that an evaluation of the price factor “will be performed on the
proposed Coefficients for the base period and all option periods” and explaining that, with
respect to the total contract bottom line sum, “any inconsistency, whether real or apparent,
between proposed performance and proposed coefficients (price) must be clearly explained in the
Price Proposal”).

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         First, with respect to the experience factor, the Corps was to evaluate proposals based
upon relevant projects that, among other things, were “designed and constructed in accordance
with criteria similar to those required herein, constructed in Italy; recently completed; and that
demonstrate multiple trades and experience managing multiple projects simultaneously . . . .”6
Id. Second, with respect to the past performance factor, the Corps was to evaluate each proposal
based upon, among other things, the offeror’s “own past performance . . . and on the past
performance of any Joint Venture partners whose projects the Offeror may have submitted.”7 Id.
at 25. Third, with respect to the management approach factor, the Corps was to evaluate
proposals based upon, among other things, “reasonableness, risk, and logic” and “illustrat[ion of]
a basic understanding of managing the contract . . . .”8 Id. at 26. Finally, with respect to the price
factor, the Corps was to evaluate proposals based upon several criteria, namely: (1)
completeness;9 (2) reasonableness;10 (3) normal-hours and other-than-normal-hours coefficients,
and non-prepriced overhead and profit factors;11 (4) bottom line sum for base period and option


       6
          The Corps evaluated projects performed by offerors that demonstrated experience in the
following categories: (1) building renovations, including floors, doors, walls, windows, external
façades, and roofs; (2) repair/replacement of major building systems, such as electrical,
mechanical, and heating and air conditioning; (3) civil work that included concrete/asphalt roads
and pavements, earthwork, and drainage structures; environmental work; (4) and force
protection. Pl.’s App. 24. The Corps also characterized “relevant projects” as those that, in
addition to the above requirements, demonstrated offerors’ experience managing multiple
projects simultaneously. Id.
       7
          The Corps evaluated the following criteria as part of the past performance factor: (1)
quality of product; (2) timeliness of performance; (3) cost control; (4) business practices; (5)
customer satisfaction; (6) key personnel; (7) utilization and management of subcontractors/team
members; (8) cooperative manner; and (9) safety. Pl.’s App. 25-26.
       8
          The Corps sought from offerors an organizational chart that indicated “[c]learly
delineated lines of authority” and was “organized in a precise and logical manner including the
relationship between the headquarters’ office and the site office, including all involved with the
management of the contract including subcontractors and joint venture partners.” Pl.’s App. 26.
It also expected offerors to furnish comprehensive descriptions of duties, roles, responsibilities,
and authorities for key personnel, “including roles of authorities for joint venture partners . . . .”
Id.
       9
            See infra Part I.C.2.
       10
            See infra Part I.C.2.
       11
          In addition to reviewing proposals for completeness and reasonableness, the Corps
“reserve[d] the right to question and/or reject coefficients and factors that are not reasonable in
comparison to current market values and other competitive proposals.” Pl.’s App. 27.

                                                   6
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periods; (5) total contract bottom line sum; (6) price factor;12 and (7) a determination of the
bottom line sum. Id. at 27-28.

             2. The Societa Organismi D’Attestazione (“SOA”) Certification System13

                                          a. Background

        As part of their price proposals, offerors were required to submit various documents,
including an SOA certificate. Id. at 15. The requirement for offerors to produce an SOA
certificate stems from the execution of an October 20, 1954 Bilateral Infrastructure Agreement
(“BIA”) between the United States and Italy. Pl.’s Mem. Ex. 2 at 3; Def.-Intervenor’s Supp’l
Mem. 2. The BIA “regulates the cradle-to-grave life cycle of U.S. funded military infrastructure
projects in Italy.” Pl.’s Mem. Ex. 2 at 3. Specifically, it provides that

        all infrastructure built, upgraded or repaired by U.S. funds will eventually be
        consigned to the Italian Government and, therefore, must conform to Italian norms
        and laws. Thus, any construction, upgrade or repair of a facility must be
        considered as “executed on behalf of the Italian Government” and[,] as such, must
        comply with all Italian regulations and technical norms and standards.

Id.; accord Def.-Intervenor’s Supp’l Mem. 2.

       Established by Law number 109/1994, the Italian procurement authority for public works,
Autorità per la Vigilanza sui Contratti Pubblici di Lavori, Servizi e Forniture (“AVCP”),14 is
tasked with supervising Italian public contracts and ensuring transparency and competition


        12
           The price factor comprised the sum of two products per line item. Pl.’s App. 27. The
first product was the normal-hour coefficient (“NHC”) multiplied by the anticipated amount of
work to be performed during normal working hours (or 95%). Id. The second product was the
proposed other-hour coefficient (“OHC”) multiplied by the anticipated amount of work to be
performed during other hours (or 5%). The sum of the first and second products yielded the
overall price evaluated by the Corps. Id. Mathematically, this calculation is expressed as

              First Product (NHC × 0.95) + Second Product (OHC × 0.05) = Price Factor

Id. at 28.
        13
          The information contained in this section is derived, in part, from an Italian legal
opinion obtained by the Corps. See infra Parts I.E.1-2.
        14
          The AVCP is the “Authority for the Supervision of Public Contracts for Works,
Services, and Supplies.” See AVCP, at http://www.avcp.it/portal/public/classic/
MenuServizio/english (last visited Sept. 16, 2010).

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within the public procurement market. Def.-Intervenor’s Supp’l Mem. 3. Pursuant to
Presidential Decree (“D.P.R.”) number 34/2000, all contractors seeking a contract award for
Italian public works must demonstrate that they possess the requisite technical and organizational
capabilities, have “good” economic and financial standing, and comply with specified quality
standards.15 Id. Pursuant to D.P.R. number 34/2000, the AVCP was designated the governing
authority over the SOA qualification system, and it was charged with supervising and authorizing
the SOA, a collection of private certification companies (“SOA company” or, collectively, “SOA
companies”). Id. The SOA companies are tasked with certifying that contractors comply “with
the European Quality Certification standards, their technical and organizational capabilities,
[and] their economic and financial standing . . . .”16 Pl.’s App. 264. Additionally, they are
responsible for (1) accepting applications from contractors seeking to obtain SOA certificates, (2)
evaluating applications for renewals of SOA certificates, (3) issuing the appropriate level of SOA
certification, and (4) evaluating renewals of SOA certificates. Def.-Intervenor’s Supp’l Mem. 3.

       Pursuant to Article 15 of D.P.R. number 34/2000, “in case of merger or other operations
which imply a transfer of the business or of a business branch, the assignee can rely on the
requirements of the assignor companies at the aim of the release of a new SOA certificate.” Pl.’s
Supp’l Br. Ex. 2-3. According to BBSSI,

       [f]rom a literal interpretation of the cited provision it seems possible to affirm that
       in case of transfer of a business branch–or other company transformation–it is not
       possible to transfer the existing SOA certificate to the new company but it is
       instead necessary to revoke the SOA of the assignor and to require a new
       attestation referred to the new company (the assignee). The abovementioned
       provision clarifies that the assignee can file an application for the new SOA
       [certificate] relying on the requirements of the assignor.



       15
           As part of the Italian Code of Public Procurements (“Italian Code”), which is also
referred to as either the Codice degli Appalti or the Codice de Lise, Article 40 of Legislative
Decree number 163/2006 requires that contractors intending to participate in bids for the award
of public works contracts by the Italian Public Administration be eligible to do so under a
qualification system. Pl.’s App. 264. Specifically, in order for a contractor to receive a public
works contract award for an amount greater than € 150,000, it must “act in compliance with the
principles of quality, professionalism and fairness, and also prove to have the technical and
organizational capabilities and economic and financial standing.” Id. In the absence of the
promulgation of a regulation, the SOA certification system is governed by D.P.R. number
34/2000. Id.
       16
          There are numerous SOA Companies throughout Italy, including but not limited to
Protos S.p.A., Attesla S.p.A., Delo.Sovim S.p.A., Euro SOA S.p.A., La Soatech S.p.A., Oprah
SOA S.p.A., SOANC S.p.A., and SOA Quadrifoglio S.p.A. Def.-Intervenor’s Supp’l Mem. 3 &
n.4.

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                  Therefore, by means of the transfer of business or of business branch the
        assignee acquires not only an organized complex of goods and services for the
        business activity but also the possibility of making use of the economic-financial
        and technical-organizational requirements of the assignor, necessary to obtain the
        SOA attestation. In particular, the new company could rely on the turnover, the
        labour cost, the amortizations, leasing, rentals and certificates of completed works
        . . . of the assignor company.

Id. at 3.

       The AVCP issued several resolutions concerning the qualification of assignees.
Specifically,

        by means of resolution [number] 5/2003[,] the [AVCP] specified that the
        operation implying the transfer of a business or of a business branch does not
        imply, in its turn, the “transfer” of the qualification of the assignor but only the
        possibility (and not the necessity) for the assignee to rely, for its qualification, on
        the requirements (and therefore not on the certification itself, considered as the
        result of the evaluation of the requirements) of the assignor company/companies.

Id. The assignee “applies for a new SOA [certificate]–and it does not require the transfer of the
existing SOA [certificate].” Id.

                                            b. Procedure

        The process for obtaining an SOA certificate is regulated by Article 15 of D.P.R. number
34/2000. Def.-Intervenor’s Supp’l Mem. 2-3. First, the contractor seeking an SOA certificate
must enter into an agreement with an SOA company in which it requests the issuance of an SOA
certificate for a specific category and value of public works. Pl.’s Supp’l Br. Ex. at 1. General
categories include construction, maintenance, restoration, or upgrading of thirteen types of
projects (i.e., civil and industrial buildings, transportation routes, damns, pipelines, electrical
plants, etc.). Def.-Intervenor’s Supp’l Mem. App. A at 1. There are also thirty-three specialized
categories, which include but are not limited to, excavation, sanitary facility work, carpentry,
waste and disposal, surveying, demolition, parks and recreation, heating and air conditioning
systems, railways, and acoustic work. Id. at 2. Each category is assigned a classification, which
represents the value threshold within that category for which the contractor qualifies.17 Def.-
Intervenor’s Supp’l Mem. 4.


        17
           For example, work that is valued up to € 258,228 falls within classification I, work that
is valued up to € 15,493,707 falls within classification VII, and work that generally exceeds
€ 20,658,276 falls within classification VIII. Def.-Intervenor’s Supp’l Mem. App. B at 1. As
noted in Part I.A.3, infra, the JOC solicitation required that contractors possess an SOA
certificate within classification IV, which encompasses work valued up to € 2,582,284.

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        Second, once the contractor has entered into an agreement with an SOA company, it must
furnish all documents necessary to demonstrate that it satisfies the requirements set forth in
D.P.R. number 34/2000 for the issuance of an SOA certificate.18 Pl.’s Supp’l Br. Ex. at 2, 4.
Once all of these submissions have been received, the SOA company conducts a due diligence
investigation in order to verify the contractor’s eligibility. Id. at 2. This verification process “can
take up to 90 days” and may be interrupted or suspended at any time.19 Id. However, the
duration of any interruption or suspension of the process may not exceed ninety days. Id. The
SOA company must, within 180 days after the contractor’s submission of its application, either
grant or deny the SOA certificate. Id. Thereafter, the SOA company has thirty days to convey its
determination to the AVCP. Id.

        If a contractor is deemed compliant, then it is issued an SOA certificate. Pl.’s App. 264;
see also id. at 259 (indicating that the SOA certificate is an attestation of qualification for the
execution of public works). The SOA certificate comprises one page and includes, among other
things, the name of the certified company, tax identification information, and the names and titles
of the company’s production managers. Id. at 259. It also “establishes and certifies for which
category of works (general or specialised) and for which amount the company is qualified.
Therefore, as a general rule, the company is able to participate [in] bids for contracts falling
within the categories for which its SOA certification has been issued.” Id. at 264. The SOA
certificate is valid for five years. Id. At the conclusion of a three-year period, the contractor
must participate in a verification process with the SOA company that issued the SOA certificate
in order to confirm that the contractor still satisfies the requirements necessary to possess the
SOA certificate. See id.; Def.-Intervenor’s Supp’l Mem. 6.

                 3. Solicitation Requirements Related to the SOA Certificate

        The JOC solicitation apprised offerors that they must comply with the requirements of
D.P.R. number 34/2000 and subsequent amendments. Pl.’s App. 42. Additionally, it advised
offerors that the




       18
           For example, the contractor must provide, among other things: (1) a citizenship
certificate; (2) a procedure certificate demonstrating that no criminal proceedings are pending
against any of the contractor’s legal representatives and technical directors; (3) a police record
demonstrating that no final judgment or irrevocable criminal degree of condemnation has been
entered against any of the contractor’s legal representatives and technical directors; (4) bank
references; (5) financial information; and (6) other certifications ensuring that the contractor has
not committed serious infringements during the execution of public works contracts and
complies with safety regulations. Pl.’s Supp’l Br. Ex. at 5-7.
       19
          For example, the SOA Company could interrupt or suspend the verification process if
additional information or documentation is needed from the contractor. Pl.’s Supp’l Br. Ex. at 2.

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        [f]ailure to furnish the documents required by this solicitation with your proposal
        may be cause for elimination of your proposal from competition. Firms must
        furnish additional back-up documentation requested by the contracting officer
        within the time period specified by the [c]ontracting [o]fficer. Failure to provide
        supporting documentation will subject the Contractor to possible termination for
        default of the contract. . . .

                If this project is valued at over [€] 150,000[,] offerors must provide their
        S.O.A. [certificate] reflecting eligibility to bid on the work solicited, by work
        qualification and classification. The prevailing work categories and
        classification[s] are described in the pre-solicitation notice and in this solicitation.
        These work categories and classifications will also be described in individual task
        order requests for proposal and the S.O.A. [certificate] demonstrating eligibility
        will be required to be submitted with the task order proposal.

Id. at 42-43.

        On June 2, 2009, the Corps issued Amendment 0001, which extended by one week the
deadline for submission of proposals and incorporated various changes to the JOC solicitation.
Id. at 100. Amended Section 00100, titled “Instructions, Conditions, and Notices to Bidders,”
enumerated four prequalification requirements. Id. at 100, 104. In order for an offeror to be
determined qualified to submit an offer, the offeror was required to submit the following:

        a.      A description of the teaming arrangement which demonstrates how the
                potential Offeror and their proposed team will meet the qualification
                requirements. List all the firms (including subcontractors) that will
                contribute toward satisfying the stated S.O.A. [certificate] requirements.
                State how each firm contributes towards the satisfaction of the
                requirements.

        b.      A copy of ALL of the following Societa Organismi D’Attestazione
                (S.O.A.) Certifications, which have been established for this solicitation:

                Prevailing Category of Work: CONTRACTOR QUALIFICATIONS

                Offerors shall be qualified in accordance with [D.P.R. number] 34 of 25
                Jan 2000, REGULATIONS FOR THE QUALIFICATIONS [OF]
                CONSTRUCTION FIRMS IN ITALY, IAW Legislative Decree 12 April
                06 u. 163, the “De Lise Code” and subsequent amendments as follows:

                Class IV € 2.582.284.

                OG 1 Edifici Civili e Industriali


                                                    11
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               Civil and Industrial Buildings

       c.      Contractors must comply with the following:
               Art. 38 of the De Lise Code as follows:

               •      Self certify they meet the requirements of Art. 38;
               •      Submit the “Documento Unico di Regolaritá Contributiva”
                      pursuant to Art. 2 of Legislative Decree [number] 210/2002
                      concerted into law n. 266/2002, which embodies the relevant
                      statements from INPS and INAIL;
               •      Submit a copy of the “Casellario Guidiziario” Certificate for each
                      member of the company.

       d.      If the potential Offeror is a joint venture, the joint venture members shall
               demonstrate how the joint venture team meets the S.O.A. certification
               requirements as stated in Paragraph 2, JOINT VENTURES.

Id. at 104-05. No other solicitation provisions referenced additional requirements related to the
SOA certificate. Compl. ¶ 22.

                                  B. Submission of Proposals

        On June 19, 2009, seven contractors submitted proposals in response to the JOC
solicitation: Basttistella SRL (“Basttistella”); BBSSI; CMR; Gemmo/Maltaura SpA (“Gemmo”);
Lotos Costruzioni (“Lotos”); Pavan Costruzioni (“Pavan”); and SKE Support Services GmbH
(“SKE”).20 Pl.’s App. 150, 273. BBSSI is the Italian branch of BBAG, a publicly traded German
corporation.21 Compl. ¶¶ 3, 21. BBSSI, which engages in a wide range of government
contracting with the United States in Europe, id. ¶ 3, “has broad construction and related-work
experience, including work performed for the . . . Corps and other Federal agencies,” id. ¶ 12.




       20
          All seven proposals “were found acceptable and forwarded to the Source Selection
Evaluation Board [(“SSEB”)] . . . for review.” Pl.’s App. 273.
       21
           According to Mr. Hagner, numerous BBAG divisions, branches, or subsidiaries have
competed for and performed procurement contracts in Europe for the United States government,
including BBSSI. Hagner Decl. ¶ 3. In 2009, BBGS was established, in part, “to compete for,
take on, and perform all such U.S. Government contracts in Europe prospectively.” Id. The
creation of BBGS and its assumption of government contracts awarded to the Bilfinger group
“arose out of suspension and debarment proceedings” involving two BBAG subsidiaries:
Bilfinger Berger Hochbau GmbH (“BBH”) and HSG Zander GmbH. Id. ¶ 4.

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BBSSI was the incumbent contractor under the predecessor JOC issued by the Corps.22 Id.

                      C. The Corps’ Competitive Range Determination

        On June 25, 2009, and October 27, 2009, the Technical Evaluation Board (“TEB”)
convened to determine which offerors were in the competitive range for discussion and
negotiation purposes.23 Pl.’s App. 146, 274. Proposals, as indicated in Part I.A.1, supra, were
evaluated based upon four factors, and an award would “be made to that Offeror whose proposal
contains the combination of those criteria offering the best overall value to the Government.”
Pl.’s App. 146. The Corps, which reserved the right to accept other than the lowest price offers
and to reject any or all offers, id., issued its competitive range determination on December 4,
2009, id. at 154.

                          1. Adjectival Ratings Assigned by the TEB

        After reviewing each proposal, the TEB assigned a consensus adjectival rating for three
of the four factors listed in the solicitation: experience, past performance, and management
approach. Id. at 147.

                                 a. Experience Factor Ratings

        The TEB assigned one of six adjectival ratings for the experience factor: “Excellent”;
“Good”; “Satisfactory”; “Marginal”; and “Unsatisfactory.”24 Id. An “Excellent” rating meant
that the offeror’s experience demonstrated “an exceptional understanding of the government’s
requirements. The proposal offers numerous significant strengths which are not offset by
weaknesses, if any. The Government is extremely confident that the Offeror can successfully
perform the anticipated services with little to very low risk with a high probability of success.”
Id. A “Good” rating meant that the offeror’s experience demonstrated “a clear understanding and
the proposal contains no deficiencies or significant weaknesses. The proposal offers some
strengths/significant strengths which are not offset by weaknesses. The Government is confident
that the Offeror can successfully perform the anticipated services with an overall low risk with a


       22
         On January 26, 2009, the Corps exercised the first option period on the predecessor
JOC awarded to BBSSI. Compl. ¶ 65. The Corps did not exercise the second option period, and
the JOC expired on March 10, 2010. Id.; see infra Part I.H.2.
       23
          Although the Corps “intend[ed] to select, without discussions, the responsible Offeror
that conform[ed] to the solicitation and [was] determined to be the best value to the
Government,” it “reserve[d] the right to conduct discussions as determined necessary by the
Contracting Officer.” Pl.’s App. 146.
       24
          Because no proposal was assigned an “Unsatisfactory” rating, see infra Part I.C.3, its
description is omitted.

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good probability of success.” Id. A “Satisfactory” rating meant that the offeror’s experience
demonstrated “a sufficient understanding and the proposal contains some weaknesses and no
deficiencies. The Government is fairly confident that the Offeror can adequately perform the
anticipated services with an overall low to moderate risk with an acceptable probability of
success.” Id. A “Marginal” rating meant that the offeror’s experience did

       not demonstrate that the contractor fully understands all the objectives/
       requirements, and/or the proposal may contain deficiencies, and/or significant
       weaknesses. The Government is not confident that the Offeror can successfully
       perform all the anticipated services as required and possesses a moderate to high
       degree of risk and marginal probability of success.

Id.

                             b. Past Performance Factor Ratings

         The TEB assigned one of seven adjectival ratings for the past performance factor:
“Excellent”; “Good”; “Adequate”; “Marginal”; “Poor”; and “Unknown.”25 Id. at 148. An
“Excellent” rating meant that the offeror’s past performance indicated “a highly successful
performance record identified for evaluation and for all projects evaluated. The Government is
extremely confident that the Offeror can successfully perform the anticipated services based on
[its] performance record and overall risk of failure to perform is very low.” Id. A “Good” rating
meant that the offeror’s past performance indicated “a successful performance record identified
for the evaluation and for all or almost all of the projects evaluated. The Government is
confident that the Offeror can successfully perform the anticipated services based on [its]
performance record and overall risk of failure to perform is low.” Id.

                          c. Management Approach Factor Ratings

        The TEB assigned one of five adjectival ratings for the management approach factor:
“Excellent”; “Good”; “Satisfactory”; “Marginal”; and “Unsatisfactory.”26 Id. at 149. An
“Excellent” rating meant that the offeror’s management approach demonstrated “an excellent
understanding of the government’s requirements. The proposal offers numerous significant
strengths which are not offset by weaknesses, if any. The Government is extremely confident
that the Offeror can successfully perform the anticipated services with little very low risk with a
high probability of success.” Id. A “Good” rating meant that the offeror’s management approach
demonstrated “a good understanding and the proposal contains no deficiencies or significant


       25
           Because no proposal was assigned an “Adequate,” “Marginal,” “Poor,” or “Unknown”
rating, see infra Part I.C.3, these rating descriptions are omitted.
       26
          Because no proposal was assigned an “Unsatisfactory” rating, see infra Part I.C.3, this
rating description is omitted.

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weaknesses. The proposal offers some strengths/significant strengths which are not offset by
weaknesses. The Government is confident that the Offeror can successfully perform the
anticipated services with an overall low risk with a good probability of success.” Id. A
“Satisfactory” rating meant that the offeror’s management approach demonstrated “a sufficient
understanding of the government’s requirements and the proposal contains some weaknesses and
no deficiencies. The Government is fairly confident that the Offeror can adequately perform the
anticipated services with an overall low to moderate risk with an acceptable probability of
success.” Id. A “Marginal” rating meant that the offeror’s management approach indicated

       a limited understanding of the anticipated effort under this requirement. The
       proposal contains deficiencies and/or significant weaknesses and the strengths do
       not outweigh the weaknesses. The Government is not confident that the Offeror
       can successfully perform all the anticipated services as required and possesses a
       moderate to high degree of risk and marginal probability of success.

Id.

                               2. Evaluation of Price by the TEB

        The TEB did not assign adjectival ratings for the price factor. Id. Instead, it evaluated
proposals based upon two criteria: (1) “completeness”; and (2) “reasonableness.” Id. In order for
the proposed price to be deemed “complete,” the offeror was required to “provide all data that is
requested and necessary to evaluate the Coefficients. The Government will assess the extent to
which the proposed coefficients comply with the content and format requirements set forth in this
solicitation.” Id. With respect to “reasonableness,”

       [t]he Offeror’s proposal is evaluated through price analysis techniques as
       described in FAR Subpart 15.305(a)(1).27 For Price (coefficient) to be reasonable,
       it must represent a Price (coefficient) that provides best value to the Government
       when consideration is given to prices in the market[] (market conditions may be
       evidenced by other competitive proposals), [and] technical and functional


       27
            Subpart 15.305(a)(1) of the FAR, which governs cost or price evaluations, provides:

       Normally, competition establishes price reasonableness. Therefore, when
       contracting on a firm-fixed-price or fixed-price with economic price adjustment
       basis, comparison of the proposed prices will usually satisfy the requirement to
       perform a price analysis, and a cost analysis need not be performed. In limited
       situations, a cost analysis . . . may be appropriate to establish reasonableness of
       the otherwise successful offeror’s price. . . . The contracting officer shall
       document the cost or price evaluation.

48 C.F.R. § 15.305(a)(1).

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       capabilities of the Offeror. The Offeror’s proposed coefficients will be evaluated
       to determine if any are unreasonably high or low in relation to the anticipated
       work under the contract, as well as with current industry standards.

Id. at 149-50 (footnote added).

                          3. The TEB’s Ratings of Offerors’ Proposals

        Mr. Wickham, in his capacity as both the contracting officer and the Source Selection
Authority (“SSA”), compared the ratings assigned to the offerors’ proposals by the TEB with
respect to both price and technical ratings. Id. at 150. With respect to price, proposals were
evaluated against the Independent Government Estimate (“IGE”), which was [. . .]. Id. The
following chart reflects the offerors’ ratings, with the offerors listed in order based upon price:

                                               Chart 1

          Offeror         TOTAL           Experience     Past Performance       Management
                        Base Bid and                                             Approach
                          Options
           BBSSI             [. . .]          [. . .]           [. . .]              [. . .]
           Pavan             [. . .]          [. . .]           [. . .]              [. . .]
           CMR               [. . .]          [. . .]           [. . .]              [. . .]
            SKE              [. . .]          [. . .]           [. . .]              [. . .]
           Lotos             [. . .]          [. . .]           [. . .]              [. . .]
        Basttistella         [. . .]          [. . .]           [. . .]              [. . .]
          Gemmo              [. . .]          [. . .]           [. . .]              [. . .]

Id. The following chart reflects the offerors’ ratings with the offerors listed in order based upon
their technical ratings:

                                               Chart 2

          Offeror         TOTAL           Experience     Past Performance       Management
                        Base Bid and                                             Approach
                          Options
           CMR               [. . .]          [. . .]           [. . .]              [. . .]
            SKE              [. . .]          [. . .]           [. . .]              [. . .]

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              Pavan         [. . .]           [. . .]          [. . .]             [. . .]
              Lotos         [. . .]           [. . .]          [. . .]             [. . .]
             Gemmo          [. . .]           [. . .]          [. . .]             [. . .]
         Basttistella       [. . .]           [. . .]          [. . .]             [. . .]
              BBSSI         [. . .]           [. . .]          [. . .]             [. . .]

Id. at 151.

         After comparing these ratings, Mr. Wickham determined that four of the proposals–those
submitted by BBSSI, CMR, Pavan, and SKE–were within the competitive range.28 Id.; see also
id. at 154 (stating that these four offerors “have a reasonable chance of being selected for award
and are therefore recommended for inclusion in the Competitive Range”); cf. id. at 152-54
(explaining the elimination of the three remaining offerors). He also concluded that it was not in
the Corps’ best interest to select an awardee absent discussion:

        In order to determine which proposal is the best value, we must enter into
        discussions. This requirement is for the selection of one (1) Contractor to receive
        an award for the Italy JOC. Based on the combination of technical factors and
        price (coefficient), none of the proposals as submitted can be selected for award.
        Meaningful written discussions will be held with the remaining four (4) firms.

Id. at 151.

                                      D. Discussions With BBSSI

        On December 4, 2009, Mr. Wickham informed BBSSI that it was “determined to be in
the competitive range for purposes of conducting discussions and negotiations.” Id. at 116. He
also apprised BBSSI that the Corps “identified a number of areas where we feel we need
additional technical information in order to understand your proposal as compared with the
solicitation requirements.” Id. These areas included BBSSI’s (1) experience, (2) management
approach, (3) pricing, and (4) submissions required pursuant to Italian law. Id. at 118-19.




        28
           By contrast, Mr. Wickham determined that the remaining three proposals were “not in
the competitive range, [were] determined not to be within the group of the most highly rated
offerors[,] and [could not] be made acceptable during discussions.” Pl.’s App. 152.

                                                   17
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                                        1. Experience Factor

        The Corps asked BBSSI to address the following: that its proposal [. . .].29 Id. at 118.
Although BBSSI identified ten projects for evaluation under the experience factor, id. at 155,
276, the Corps advised BBSSI that “[e]xperience from the debarred contractor has not been
considered[. T]herefore the contractor lacked evidence of experience in all of the categories
required for construction disciplines,” id. at 118; see also id. at 276 (indicating that “all but two
(2) projects were performed by the debarred contractor . . . and could not be considered”30).

                                   a. The Debarred Contractor

       BBH is a wholly owned subsidiary of BBAG. Compl. ¶ 23 n.1; supra note 21. Beginning
in March 2009, BBH, together with another BBAG subsidiary, was involved in debarment
proceedings with the United States. Compl. ¶ 23 n.1; see also Pl.’s App. 155 (indicating that
BBH was issued a notice of proposed debarment on March 26, 2009); supra note 21. During
discussions with the Corps, BBSSI explained its relationship, or lack thereof, with BBH:

       BBSSI is and always has been the Italian branch of [BBAG], not a separate legal
       entity. BBAG is the German-based parent corporation of the Bilfinger family. . . .
       [BBH] . . . is a separate legal entity from BBAG (i.e., a subsidiary). . . .

                  ....

              . . . [On] 13 March 2008, the BBAG Hochbau division in Germany,
       including the Kaiserslautern branch, demerged from BBAG. That division and its
       branches became a new stand-alone entity known as [BBH], and the United States
       Government entered into a Novation Agreement, through which multiple U.S.
       Government contracts were transferred from BBAG to BBH . . . .31


       29
            See supra note 6.
       30
            [. . .]

       [. . .].

Pl.’s App. 276.
       31
            Mr. Hagner explained the circumstances that resulted in the creation of BBH:

       [P]rior to 18 March 2008, BBAG had a construction division located in Germany,
       which included a Kaiserslautern Branch. The branch was called Bilfinger Berger
       AG Hochbau, Kaiserslautern Branch. The Kaiserslautern Branch was a branch
       office of, not a separate legal entity from, BBAG. Historically, a significant

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Pl.’s App. 156 (footnote added).

       On March 26, 2009, BBH was placed on the Excluded Parties List System (“EPLS”) and
was precluded from participating in United States government contracting work until March 15,
2012. Hagner Decl. ¶ 8. According to BBSSI, neither BBAG nor BBSSI was the subject of any
debarment proceedings, and BBAG and BBSSI were “never precluded from participating on U.S.
procurements as a result of or as part of such proceedings.”32 Pl.’s Supp’l Br. 4; accord id. at 4-


       amount of BBAG’s U.S. Government procurement contracting was performed
       through this branch and division.

              On 18 March 2008, Bilfinger Berger AG Hochbau, including
       Kaiserslautern Branch, was demerged from BBAG (i.e., the construction division,
       including the Kaiserslautern branch, ceased to be the same legal entity as BBAG)
       and became a wholly-owned subsidiary of BBAG. The newly-formed
       subsidiary’s name was (and is) [BBH]. As a result of the demerger, BBH filed for
       and received . . . separate business licenses for Germany.

                On or about 20 June 2008, BBAG novated several U.S. Government
       procurement contracts to BBH, the newly-formed BBAG subsidiary. One
       contract that was not novated from BBAG to BBH was the predecessor Italian
       [JOC], which remained with BBAG/BBSSI. Task orders on the predecessor JOC
       are still performed by BBSSI.

Hagner Decl. ¶¶ 5-7.
       32
          On April 14, 2009, Mr. Hagner sent an electronic-mail communication to Katherine D.
Denzel, counsel for the Corps, in which he objected to the apparent inclusion of both BBAG and
BBSSI on the EPLS:

       [W]e understand the [Corps’] current position is, as a result of proposed
       debarment actions posted to the [EPLS] web site by the United States Air Force
       debarring official[,] . . . to declare [BBAG], as a whole, ineligible to participate in
       any procurement actions under the auspices of the [Corps] . . . .

               We believe your position and subsequent actions taken as a result of this
       position are unnecessarily punitive, inconsistent with the information posted on
       the EPLS web site and inconsistent with the positions of other U.S. Department of
       Defense Organizations. . . . We kindly request your reconsideration of this
       position and reinstatement of Bilfinger Berger entities not affected by the
       proposed debarment. Specifically, and foremost, we would like your
       reconsideration for [BBSSI] . . . .


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5. Thereafter, BBAG established BBGS, see supra note 21, which performed an asset transaction
with BBH in early 2010, Hagner Decl. ¶ 9. As a result of this transaction, “contracting staff were
transferred to BBGS. BBH has and will remain a stand-alone subsidiary of BBAG, with its own
management, personnel, equipment, and locations.” Id. Throughout the remainder of 2009,
BBH was “working in good faith towards an administrative agreement with the U.S. Government
to resolve all outstanding issues (none of which relate to BBSSI).” Pl.’s App. 155. BBH was
ultimately removed from the EPLS in February 2010. Hagner Decl. ¶ 8.

                  b. BBSSI’s Explanation Concerning the Experience Factor

        With respect to the ten projects it identified in its initial proposal for evaluation under the
experience factor, BBSSI requested that all ten projects “be considered as valid experience
examples for BBSSI.” Pl.’s App. 155. BBSSI noted that the [. . .]. Id. According to BBSSI,
these [. . .]. Id. at 156; supra note 6. Furthermore, BBSSI indicated that it [. . .]. Pl.’s App. 156;
supra note 6. These projects, BBSSI asserted, were [. . .]. Pl.’s App. 156.

       BBSSI also requested that the [. . .] “[. . .].” Id. These projects were, according to
BBSSI, [. . .]. Id. In the event that the Corps declined to consider these projects, BBSSI
submitted an additional seven project references for contracts that specifically named BBSSI. Id.
at 156-57.

                                2. Management Approach Factor

        The Corps indicated that BBSSI’s organizational chart did not clearly identify the lines of
authority or work for all three locations. Id. at 118. In response, BBSSI [. . .] “[. . .].” Id. at 157.
BBSSI noted that [. . .] “[. . .].” Id.; see supra note 21.

       BBSSI also indicated that BBAG has “vast experience with the type of work which will
be performed under this IDIQ contract, having performed–through BBSSI–works under the 2008




               Our position is that the only Bilfinger Berger entities affected by the
        proposed debarment actions . . . are [BBH] . . . and the Joint Venture WBT . . . .

                We kindly request the reinstatement of eligibility for [BBSSI,] which is
        currently executing over $50 Mill. in contracts for the [Corps] . . . .

Def.’s Ex. 2 at 16-17. Mr. Hagner also noted that BBSSI was (1) not named in the EPLS or the
memorandum in support of the proposed debarments, and (2) wholly independent–both
financially and managerially–from BBH. Id. at 17.


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JOC Italy contract” and other efforts.33 Pl.’s App. 157. According to BBSSI, [. . .] “[. . .].” Id.
[. . .] “[. . .].” Id. at 158.

                                          3. Pricing Factor

          The Corps apprised BBSSI that [. . .].34 Id. at 118. As such, the Corps indicated that
[. . .] “[. . .].” Id. The Corps requested that [. . .]. Id. Furthermore, the Corps requested that
[. . .] “[. . .].” Id. Although BBSSI responded to the Corps, the copy of its response that the court
received was redacted. See id. at 158-59.

                                  4. BBSSI’s Italian Submissions

        The Corps raised two issues concerning BBSSI’s Italian submissions. First, BBSSI’s
self-certification related to Article 38 of Legislative Decree number 163/2006 was missing from
its proposal.35 Id. at 119. Second, the Corps advised BBSSI that the SOA certificate it provided
was in the name of BBH, a debarred contractor. Id.; supra Part I.D.1.a. As such, the Corps
declined to accept BBSSI’s submission of BBH’s SOA certificate. Pl.’s App. 119. The Corps
requested that BBSSI furnish an SOA certificate in its own name. Id.

            a. BBSSI’s Legal Position Concerning Its Use of BBH’s SOA Certificate

      i. Discussions Prior to the December 4, 2009 Competitive Range Determination

       The record indicates that BBSSI engaged in several discussions via electronic-mail and in
person regarding the SOA certificate issue throughout August and September 2009. On August
28, 2009, Roberto Tomaiuolo, the procurator for BBSSI, sent an electronic-mail communication
to Ms. Denzel and attached the following documentation: (1) an SOA certificate from BBSSI;36




       33
            BBSSI apprised the Corps [. . .]

       [. . .].

Pl.’s App. 158.
       34
            At the same time, certain line items were [. . .]. Pl.’s App. 118.
       35
            BBSSI provided the self-certification to the Corps, as requested. Pl.’s App. 159.
       36
          The SOA certificate from BBSSI, which was in the name of BBAG, had expired on
January 15, 2009. Pl.’s App. 259.

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(2) a “[n]ew SOA” certificate, which was issued in the name of BBH; and (3) a self-declaration.37
Id. at 250, 260. One month later, on September 28, 2009, Mr. Tomaiuolo again sent an
electronic-mail communication to Ms. Denzel in which he explained that BBSSI could utilize
BBH’s SOA certificate based upon the principle of avvalimento infra-gruppo. Id. at 252; supra
note 37. Mr. Tomaiuolo also attached a legal opinion obtained by BBSSI’s Italian counsel that
explained avvalimento infra-gruppo. Pl.’s App. 258.

        In this legal opinion, BBSSI’s Italian counsel indicated that, pursuant to Article 49 of
Legislative Decree number 163/2006, companies competing for the award of public works
contracts by an Italian Public Administration must “prove that they meet the economic, financial,
technical and organization requirements or SOA certification which are necessary in order to
participate in competitive procedures for granting of public contracts” and may do so “by means
of other subjects’ requirements or SOA certification.” Id. According to BBSSI’s legal counsel,
where a company participating in the procurement relies upon the SOA certificate of an auxiliary
company to prove it satisfies the economic, financial, technical, and organizational requirements,
the competing company must, as part of its bid proposal, file with the contracting agency a copy
of the contractual agreement executed between it and the auxiliary company in whose name the
SOA certificate was issued. Id. If the company participating in the procurement and the
auxiliary company in possession of the SOA certificate “are part of the same group,” then
avvalimento infra-gruppo applies. Id. Under the concept of avvalimento infra-gruppo, the
company participating in the procurement does not need to file with the contracting agency a
contractual agreement between it and the auxiliary company in possession of the SOA certificate.
See id. Thus, the company participating in the procurement must submit to the contracting
agency “a self declaration attesting the legal and economic tie between them instead of the above
mentioned contract . . . .” Id.; see also id. at 256 (containing Mr. Tomaiuolo’s explanation to Ms.
Denzel that “it is absolutely legal and standard procedure to use ‘Avvalimento infragruppo[,] i.e.
Inter-group transfer’ of certifications used in contracts (i.e. SOA) . . . . To make this procedure
complete, we always have to attach the ‘self declaration’ that you see on our bids”); supra note
37.

         In a second electronic-mail communication to Ms. Denzel dated September 28, 2009, Mr.
Tomaiuolo reiterated that BBSSI, in order to rely upon avvalimento infra-gruppo, “need[ed] to
attach the SOA [certificate] of the company ‘used’ and the self certification stating the link. This
concludes the procedure.” Pl.’s App. 252; see supra note 37. Mr. Tomaiuolo also sent a third
electronic-mail communication on September 28, 2009, which was quoted by the Corps as part
of its request for quotations (“RFQ”) seeking a legal opinion concerning SOA certificates under


       37
           In his self-declaration, Mr. Tomaiuolo (1) indicated that the principle of avvalimento
infra-gruppo referred to an intergroup transfer between companies of the same group, (2)
identified the legal and economic bond between BBSSI and BBH as “holding,” and (3)
recognized that Article 49 of Legislative Decree number 163/2006 applied to BBH as an
auxiliary company. Pl.’s App. 261. The contents of Mr. Tomaiuolo’s declaration are discussed
below.

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Italian law.38 See infra Part I.E.1. In this communication, Mr. Tomaiuolo indicated that BBSSI’s
use of BBH’s SOA certificate would

       create no problems, since this fact has no consequences whatsoever other than the
       name change itself. In the case, in fact, of a Group, with reference to inter-group
       certifications needed per public solicitations (i.e. SOA, which is the most
       important), as per Italian (and more extensively European) regulations, the “label”
       is PURELY NOMINAL, i.e. [BBSSI] not only can but has legally full
       independent authority[] to use and be qualified with a group member SOA
       certification, using a standard procedure (a self-declaration) introduced by the
       latest version of “Codice de Lise.” The rationale for this (which is relatively a
       new concept, inherited by [European Union] directives in the latest version of
       “Codice De Lise” and rulings of the European Court of Justice . . . )[] is to avoid
       the necessity for a group of issuing multiple certifications for the same issue, [a]
       situation that for a group like ours, which is composed of many dozens of
       different independent companies, would result in an unbearable and unjustified
       escalation of costs.

               Also the certification itself[] REMAINED exactly [like] the previous one
       [in] the name of [BBAG], with only a name change (i.e.[,] ALL requirements
       presented to obtain it in the past remained untouched, and basically the
       application was for a “change” and not for a different or new certification, and all
       values and work categories are unchanged).

               We absolutely confirm our previous discussions and the complete legal
       separation between [BBSSI] and [BBH] that, as we all know, is debarred, and also
       confirm that this situation did not and will not change.


       38
           Mr. Tomaiuolo’s communication was sent in response to an August 26, 2009
electronic-mail communication from Ms. Denzel, who wrote:

       On your recent submissions for projects under the Italy [Multiple Award Task
       Order Contract (“MATOC”)] and for the stand-alone solicitation for runways and
       parking at Aviano, your company has submitted offers and documentation in the
       name of [BBSSI] with addresses in Vicenza and Bolzano, however[,] your SOA
       [certificate] has been submitted under the name of [BBH] with an address [of]
       Frankfurt, Germany. This company is debarred and the [Corps] does not hold a
       contract for either the Italy JOC or Italy MATOC with [BBH]. As you have
       always insisted that your company in Italy is completely separate and because of
       the reasons above, we would appreciate clarification on these SOA submissions
       from [BBH].

Def.’s Ex. 2 at 15.

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Def.’s Ex. 2 at 12-13; accord Pl.’s App. 239-40.

     ii. Discussions Following the December 4, 2009 Competitive Range Determination

        In its December 10, 2009 response to the Corps’ discussion questions, BBSSI reiterated
its position regarding the legality of utilizing BBH’s SOA certificate:

       [A]ccording to Legislative Decree [number] 163/2006 (the so-called Public
       Contract Code in Italy), BBAG, proposing through its Italian branch, BBSSI, is
       entitled to rely upon the SOA certificate of BBAG’s subsidiary entity, BBH,
       without that entity’s (BBH’s) involvement, performance, or support on the
       contract in any manner.

                 Pursuant to Art. 47, par. 2, of the Public Contract Code in Italy, a foreign
       company established in a European Member State can indicate and file the
       documentation which is necessary, in compliance with the legislation of the State
       in which it is established, in order to prove all the requirements prescribed to
       obtain the qualification to engage in public contract work. In other words, [an]
       SOA [certificate] in the name of BBAG is not required under Italian law, because
       it is a foreign entity that is in compliance with its own country[’s] laws.

Pl.’s App. 159; see also id. at 160 (explaining that the Italian Code authorized a bidder to fulfill
the SOA certificate requirement by utilizing an SOA certificate of another group company
through avvalimento infra-gruppo and asserting that the Bilfinger corporate family could rely
upon BBH’s SOA [certificate] “because of the corporate family relationship and based upon
the . . . European and Italian legislative principles, which are referred to as the ‘avvalimento.’
They permit such reliance”).

       According to BBSSI, its submission of BBH’s SOA certificate demonstrated its
compliance with the law and its eligibility to perform Italian public works contracts. Id. at 160.
Furthermore, BBSSI noted that the Corps previously raised an issue concerning use by BBSSI of
BBH’s SOA certificate under the previous JOC. Id.; see supra note 38. According to BBSSI, it
discussed this matter, as well as avvalimento infra-gruppo, with the Corps in September 2009,
and the Corps “accepted this proposition by continuing to issue task orders to BBSSI under the
JOC predecessor . . . . For the same reasons, BBSSI is qualified to propose on–and to be
awarded the contract under–this solicitation.” Pl.’s App. 160.

                b. BBSSI’s Representations That It Was Separate From BBH

        In addition to asserting the legal grounds upon which it could rely upon BBH’s SOA
certificate, BBSSI also represented to the Corps that BBH had no connection to BBSSI or the
JOC procurement at issue in this case. On August 28, 2009, Mr. Tomaiuolo advised Ms. Denzel
that, pursuant to the Italian Code, “‘the contract is in any case executed by the company that


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participates [in] the Bid, which will receive[] the BOD certification . . .’[,] i.e. ONLY [BBSSI]
(the entity submitting and signing the bid)[] can execute the job and will be the only one
obligated to the Government (and vice-versa).” Id. at 250. Mr. Tomaiuolo reiterated this
position on September 28, 2009, explaining to Ms. Denzel that provisions set forth in the
document used for demonstrating avvalimento infra-gruppo, see id. at 254-55, provided that “‘the
company used CANNOT become the awardee towards the Awarding Agency, as NO
RELATIONSHIP WILL BE MADE BY THE AWARDING AGENCY WITH IT,’” id. at 252.
In effect, Mr. Tomaiuolo advised the Corps that the “‘used’ company,” i.e., BBH, “has and will
have no links whatsoever with the awarding agency.” Id.

       In its December 10, 2009 response to the Corps’ discussion questions, BBSSI reiterated
that BBH would not be involved in any aspect of performance under the JOC if awarded to
BBSSI:

       BBAG[,] through BBSSI[,] undertakes to execute the contract under the
       solicitation[] without having to make use of the SOA certificate transmitted, as
       there is no need for it to do so under Italian law. Further, BBSSI is absolutely
       capable of fulfilling–and intends to fulfill–its contractual duties by means of its
       own requirements and resources, without any involvement of BBH. In other
       words, the SOA [certificate] is valid for BBSSI’s use without any staffing,
       contract work, supervision, financial support, or any other involvement by or from
       BBH.

Id. at 160 (emphasis added). BBSSI offered to provide any additional information or
documentation on the issue of BBH’s SOA certificate. Id.

   E. Procurement of a Legal Opinion Concerning SOA Certificates Under Italian Law

                                   1. The Corps’ Solicitation

        On September 16, 2009, twelve days before Mr. Tomaiuolo communicated with Ms.
Denzel and approximately one and one-half months before the Corps issued its discussion
questions to BBSSI, see supra Part I.D.4.a.i, the Corps initiated an RFQ seeking a legal opinion
concerning SOA certificates under Italian law, see Pl.’s App. 237-49. In the “Background”
section related to the “Schedule of Services,” the Corps noted that it issued several contracts to
BBSSI and that BBH had been debarred from contracting with the United States government
until 2012. Id. at 239. In addition to quoting from one of Mr. Tomaiuolo’s electronic-mail
communications, Compl. ¶ 27, the Corps summarized BBSSI’s position:

       [BBSSI] has consistently maintained that [it is] completely separate from [BBH]
       such that they are still eligible to contract. In the last month, [BBSSI] has
       provided [an] SOA [certificate] under the name of [BBH] and ha[s] stated that
       [its] previous one issued in [its] name is no longer valid. [It is] legally required to


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       use the [BBH] SOA [certificate] and can no longer obtain [an] SOA [certificate]
       in [its] own name; however[,] [it] still maintain[s] they [it is] not affiliated with
       [BBH].

Pl.’s App. 239.

        The Corps framed its request as follows: “Provide a preliminary legal opinion addressing
the overall interpretation and application of the various laws regarding [SOA certificates] and
how they address subsidiary and affiliated companies and verifying the above explanation as
valid from [BBSSI].” Id. at 240. It also sought verification that BBSSI’s explanations and
interpretations of Italian law were valid. Id. Furthermore, the Corps posed the following
questions:

       1. Do the Italian laws, such as [D.P.R. number] 34/00 and the “Codice de [Lise,”]
       require a single company with several different subsidiaries to hold the SOA
       [certificate]? May other subsidiary and affiliated companies utilize the parent
       company’s SOA [certificate]? Is it legally required that affiliated companies
       utilize the parent company’s SOA [certificate] and cannot be certified and obtain
       SOA [certificates] in their own name?

       2. What type of relationship must a company have with another one if they are
       legally able to use their SOA [certificate] for their technical certification? Are
       they considered the same company, subsidiaries, or something else? Can they be
       considered legally separated from a company if they are utilizing another
       company’s SOA [certificate] for their SOA certifications?

Id. The contract was awarded to Dr. Giorgio Cosmelli of the law firm Verusio e Cosmelli.

                                  2. The Italian Legal Opinion

        On January 8, 2010, Dr. Cosmelli issued an “Opinion on the SOA Qualification System
and Some Relevant Connected Issues.” Id. at 263-71. Dr. Cosmelli divided his opinion into four
parts: a background section; discussion of the SOA qualification system; discussion of the
“instrument of ‘avvalimento’ under the [Italian] Code”; and a conclusions section. Due to the
importance of Dr. Cosmelli’s opinion, the court details the substance of each section below.

                                   a. The Background Section

       In the background section, Dr. Cosmelli summarized the purpose of his legal opinion
was:

       to verify the reliability, from an Italian Law perspective, of a statement rendered
       by the Italian branch of [BBAG], a German company with registered office in


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       Mannheim, Germany . . . in the bid for the award of a contract by the [Corps] in
       Italy.

               To participate in such a bid[, BBSSI] intends to avail itself of a[n] SOA
       certification issued to an affiliate company (i.e.: a company belonging to the same
       group of companies), [BBH], being its own SOA certificate [is] no longer valid.
       Despite the fact that [BBH] has been debarred from contracting with the US
       Government until 2012, according to [BBSSI] the latter is still eligible to contract
       with the [Corps] as it is a totally different legal entity from [BBH].

Id. at 263 (footnotes omitted). Dr. Cosmelli also reproduced the specific inquiries enumerated by
the Corps in its RFQ. See supra Part I.E.1.

                           b. The SOA Qualification System Section

        As previously indicated, Dr. Cosmelli explained the SOA qualification system and
enumerated applicable provisions of the Italian Code related thereto. Pl.’s App. 264-65; supra
Part I.A.2. He noted that, while the SOA certification “covers the existence of the technical
capabilities and of the economic and financial standing” of a company participating in a public
works contract solicitation, it “does not cover the existence of such further general requirements”
under the Italian Code.39 Pl.’s App. 265.

                        c. Avvalimento Under the Italian Code Section

       Dr. Cosmelli indicated that

       [p]recedents of the European Court of Justice and subsequently the EU
       Legislation admitted the possibility that an economic operator may have the
       technical capabilities and the economic and financial standing necessary to
       participate [in] a bid for the award of a public works contract[] by relying on the
       resources (e.g.[,] employees, machinery, know-how, organization, economic and
       financial standing, etc.) of other entities, provided that, in such case, the bidder
       can prove to the contracting authority that it will have in its disposal the resources
       of such other entities to carry out the works, under the contract, to be awarded.


       39
           Article 38 of the Italian Code lists a variety of circumstances in which bidding
companies are ineligible for receiving a public works contract award and therefore do not satisfy
“general requirements.” Pl.’s App. 265. These include, among other things: (1) bankruptcy; (2)
condemnation for mafia, fraud, money laundering, or other enumerated crimes; (3) violations of
safety, social security, or tax rules; (4) commission of “gross negligence or bad faith in the
performance of other contracts with the same contracting authority”; (5) submission of false
declarations; and (6) revocation or suspension of an SOA certification “for having submitted
false documents or representations.” Id. None of these circumstances applies in this case.

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Id. at 266. Initially, this process was permitted to be used “only among companies belonging to
the same group . . . .” Id. However, provisions enacted into the Italian Code “admitted the
possibility [of] us[ing] third parties’ technical capabilities and economic and financial standing
regardless of the existence of infra-group links between the two entities . . . .” Id. One caveat to
the use of third parties, Dr. Cosmelli noted, was that “the company who intends to avail itself of
the third party’s resources shall prove to be able to have access to them in carrying out the works
under the contract.” Id.

        This practice, known as avvalimento, was codified in Article 49 of the Italian Code.40 Id.
It “allow[s] the economic operators not having themselves the minimum requirements to
participate [in] a bid for the award of a public works contract[] to avail themselves vis à vis the
contracting authority of the technical capabilities and the economic and financial standing of
third parties.”41 Id. According to Dr. Cosmelli, the Italian Code authorizes avvalimento to be
“admitted not only among companies belonging to the same group but also among not related
companies”; however, it is only permitted “with respect to the technical and organizational
capabilities and to the economic and financial standing (the existence of which is certified by the
SOA certification) . . . .” Id. Therefore, avvalimento does not extend to the “general
requirements.” Id.; supra note 39.

        According to Dr. Cosmelli, Italian judicial precedent provides that the contracting
authority “has the power to decide if the proposed scheme of avvalimento fully grants that the
contractor has [at] its disposal the third party’s resources necessary to successfully perform the
work.” Pl.’s App. 266. Italian law also sets forth regulations to protect the contracting authority
from situations in which avvalimento is used “to circumvent principles and rules established by
the public works legislation . . . .” Id. Article 49 of the Italian Code provides that a company
participating in a public works contract procurement that “intends to avail itself of [a] third
party’s resources shall produce, besides its own SOA certification, if any, and the SOA
certification of the company providing the necessary resources (defined ‘ancillary company’),”
the following specific documentation:

       a declaration certifying that it intends to avail itself of [a] third party’s resources in
       order to meet the necessary requirements, with the specific indication of such
       resources that the bidder possesses directly and of such resources possessed by the
       ancillary company;

       a declaration made by both the bidder and the ancillary company stating the
       existence of the general requirements set forth by Art. 38 of the [Italian] Code;


       40
         Dr. Cosmelli noted, however, that Italian courts “had already permitted the use of such
system on the basis of the mentioned EU precedents and legislation . . . .” Pl.’s App. 266.
       41
          Additionally, Article 49 of the Italian Code “allows the ancillary company to act as a
sub-contractor.” Pl.’s App. 267.

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       a declaration made by the ancillary company undertaking the obligation, towards
       the bidder and the contracting authority, to put at disposal of the former the
       resources for which it is lacking; [and]

       a copy of the agreement whereby the ancillary company undertook to put at the
       disposal of the bidder the needed resources. In [the] case of companies belonging
       to the same group, instead of such agreement, the bidder may submit a self-
       declaration certifying the legal and economic link with the ancillary company.

Id. at 267. Furthermore, Article 49 of the Italian Code provides that “both the bidder and the
ancillary company are jointly and severally liable towards the contracting authority for the
performance of the contract to be awarded . . . and that the bidders’ obligations arising from anti-
mafia legislation are to be complied also by the ancillary company.” Id.

        Article 49 of the Italian Code pertains to “ordinary avvalimento.” Id. Article 50 of the
Italian Code authorizes “permanent avvalimento.” Id. Once an implementing regulation is
enacted, Article 50 of the Italian Code will permit a company participating in a public works
contract procurement “to use, for five years time, the SOA [certification] of a company belonging
to the same group and having control over the bidding company or being under the common
control of another company.” Id. In such a circumstance,

       the ancillary company shall issue a declaration whereby it undertakes the
       obligation, also towards the contracting authorities, to put its own resources at the
       disposal of its affiliate for the entire period of validity of the SOA certification.
       Also in this case the bidder-affiliate and the ancillary company are jointly and
       severally liable towards the contracting authority for the performance of the
       contract.

Id.

                                   d. The Conclusions Section

        Dr. Cosmelli next turned to the explanation furnished by BBSSI to the Corps in support
of BBSSI’s submission of BBH’s SOA certificate, noting that he “understand[s] that [BBSSI’s]
position is” as follows:

       [BBSSI] can legally use the SOA certification of its affiliate [BBH] even if the
       latter has been debarred from contracting with the US Government, since the SOA
       certification “remained exactly the previous one on the name of [BBAG], with
       only a name change” and “all requirements presented to obtain it in the past
       remained untouched ( . . . ) and all values and work categories are unchanged”;




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       to use the SOA certification of [BBH], [BBSSI] only needs to make a self-
       declaration pursuant to the Presidential Decree [number] 445/2000;

       “the rationale for this is to avoid the necessity for a group of issuing multiple
       certifications for the same issue.”

Id. at 268. Dr. Cosmelli responded that this “explanation is at least incomplete.” Id. He
elaborated:

       It is true . . . that a bidder may use the resources of another company belonging to
       the same group to be awarded a public works contract. However, since the
       “avvalimento” implies that the work will be carried [out] by the company awarded
       by using the resources (e.g.[,] employees, machinery, know-how, organization,
       economic and financial standing, etc.) of the ancillary company, it is necessary,
       pursuant to Art. 49 of the [Italian] Code, that the bidder: (i) specifically declares
       which such resources are; (ii) submits to the contracting authority an undertaking
       from the ancillary company whereby the latter agrees to put at the disposal of the
       bidder the required resources; (iii) submits to the contracting authority a
       declaration of the ancillary company whereby the latter declares to have itself the
       general requirements set forth by Art. 38 of the Code . . . and (iv) submits to the
       contracting authority a self-declaration whereby the bidder confirms the infra-
       group links with the ancillary company.

Id.

       Applying these requirements to his understanding of the circumstances, as presented by
the Corps, Dr. Cosmelli concluded:

       From the documents submitted to us[,] it does not appear that all the above
       documentation/representations required by Art. 49 of the [Italian] Code have been
       submitted []or that [BBSSI] has explained the reason why it assumes that they are
       not necessary. It seems that [BBSSI] with its explanation tries to imply that using
       the SOA certification of [BBH] is a mere formality while, as we have seen above,
       this is not the case. On the contrary, the use by [BBSSI] of [BBH]’s SOA
       [certificate] implies that, in order to carry out the works, the former will need to
       use [BBH]’s resources (e.g.[,] employees, machinery, know-how, organization,
       economic and financial standing, etc.). Therefore, the latter shall confirm to have
       put at disposal of [BBSSI] the necessary resources to perform the works under the
       contract to be awarded and to have the necessary general requirements under Art.
       38 of the [Italian] Code . . . .

Id. at 269. Additionally, Dr. Cosmelli responded to the Corps’ specific questions. For example,
he stated that the Italian laws do not require a single company with several different subsidiaries


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to hold the SOA certificate. Id. He also confirmed that subsidiary and affiliated companies may
utilize the parent company’s SOA certificate, adding that such an arrangement “implies that, in
carrying out the awarded works, the subsidiary and affiliated companies will use the resources
(e.g.[,] employees, machinery, know-how, organization, economic and financial standing, etc.) of
the parent company.” Id. Additionally, Dr. Cosmelli stated that affiliated companies are not
required to utilize the parent company’s SOA certificate, noting that “[s]ubsidiary and affiliated
companies may elect to obtain their own SOA certification.” Id.

        In response to the Corps’ question concerning “[w]hat type of relationship a company
must have with another one if they are legally able to use their SOA for their technical
certification,” Dr. Cosmelli elaborated:

       In case the SOA certification of another company is used to participate [in] a bid
       for the award of a single public works contract pursuant to Art. 49 of the [Italian]
       Code, the bidder and the ancillary company must have an agreement whereby the
       latter puts at the disposal of the former its own resources (e.g.[,] employees,
       machinery, know-how, organization, economic and financial standing, etc.) for the
       performance of the works to be awarded or belong to the same group.

               Besides this, it is immaterial what type of relationship exists between the
       bidder and the ancillary company. The relationship could be established by a
       mandate agreement, by the lease to the bidder of the business (or of a branch of
       the business) of the ancillary company or may arise from infra-group
       commitments.

               In case a company intends to avail [itself] of the permanent avvalimento of
       a[n] SOA certification of a company belonging to the same group pursuant to Art.
       50 of the [Italian] Code,42 the latter must have control over the former or must be
       under common control of a third company . . . .

Id. at 269-70 (footnote added). In response to the Corps’ question as to whether “they are
considered the same company, subsidiaries, or something else,” Dr. Cosmelli stated: “No, they
are not. The bidder and the ancillary company cannot be considered the same company.
Nevertheless, in order to increase the protection of the contracting authority, Art. 49 of the
[Italian] Code expressly provides for the joint and several liability of the ancillary company
towards the contracting authority.” Id. at 270. Furthermore, in response to the Corps’ question
concerning whether BBSSI “[c]an . . . be considered legally separated from a company if they are
utilizing another company’s SOA [certificate] for their SOA certifications,” Dr. Cosmelli
explained: “From a merely legal perspective[,] the two companies are separated. However, since
the bidder uses the ancillary company’s resources and the relevant SOA certification to be
awarded a contract and to perform the relevant works, the two companies are acting in pool.” Id.


       42
            See supra Part I.E.2.c.

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       Lastly, Dr. Cosmelli offered the following observations:

       In view of the above, and keeping in mind that we are not qualified to [advise]
       under US Procurement Laws and that we are not aware of the procedure and
       criteria established for its application in awarding of [the Corps’] contracts in
       Italy, we wonder to what extent a company that has been debarred from
       contracting with the US Government could be allowed, by using the instrument of
       the avvalimento, to grant to another company its technical capabilities and/or its
       economic and financial standing to carry out works under a [Corps] contract.


               Under Italian law this would not be allowed if the ancillary company has
       been debarred due to the fact that it does not meet the general requirements set
       forth by Art. 38 of the [Italian] Code.

                We ignore the reasons why [BBH] has been debarred from contracting
       with the US Government until 2012. However[,] if the decision to debar it was
       based on one of the circumstances listed as general requirements under Art. 38 of
       the [Italian] Code, we would have no doubt in stating that such company would
       not be qualified to give the required support to the bidder to allow the latter to be
       awarded a contract for public works . . . .

Id.

               F. The Corps’ Source Selection Decision Document (“SSDD”)

        On January 28, 2010, Mr. Wickham, in his capacity as the contracting officer and SSA,
reviewed and approved the SSDD.43 See id. at 272-304. Mr. Wickham reiterated that the JOC
solicitation “utilized the best value concept” and that an award would be made “to the
responsible offeror whose proposal, conforming to the Request for Proposal, will be most
advantageous to the Government, resulting in the Best Value, price and other non-price factors
considered.” Id. at 274. He also indicated that the Corps received a final proposal revision
(“FPR”) from each offeror found to be within the competitive range on or before December 10,
2009. Id. Thereafter, the SSEB evaluated each offeror’s FPR.44 Id. at 275.


       43
         Kathleen A. Kern, in her capacity as the contract specialist, prepared the SSDD. Pl.’s
App. 296. Ms. Denzel also reviewed the SSDD for legal sufficiency. Id.
       44
           The SSDD refers to the SSEB and the TEB interchangeably. See, e.g., Pl.’s App. 274
(stating that the SSEB initially convened on June 22, 2009, and that “the TEB reconvened” on
October 27, 2009, after the contracting officer determined that a potential conflict of interest
existed with respect to one SSEB member); cf. id. at 275 (stating that the SSEB “re-convened”
on October 27, 2009).

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                                           1. Technical Results

        Mr. Wickham indicated that the technical results consisted of “a summarization of the
proposals as submitted in the initial and revised versions by the Contractors,” the evaluation of
the TEB,” and his independent consideration of the proposals submitted. Id. The following
chart, which was reproduced in the SSDD, represents the final consensus ratings as determined
by the TEB and as agreed to by the SSA:

                                                 Chart 3

            Offeror          Experience            Past Performance        Management
                                                                              Plan
             BBSSI               [. . .]                   [. . .]              [. . .]
             CMR                 [. . .]                   [. . .]              [. . .]
              SKE                [. . .]                   [. . .]              [. . .]
             Pavan               [. . .]                   [. . .]              [. . .]

Id.; cf. Chart 2, supra Part I.C.3 (containing the TEB’s “[. . .]” rating for BBSSI’s experience).

                           a. Experience Factor in BBSSI’s Proposal

        Mr. Wickham indicated that BBSSI initially identified ten projects in partial satisfaction
of the construction experience factor, but noted that all, save for two projects, were performed by
BBH, a debarred contractor, and were not considered. Pl.’s App. 276. In response to discussion
questions submitted by the Corps, BBSSI identified seven replacement projects. Id.; see also id.
at 166-236 (containing copies of BBSSI’s submissions). In terms of relevancy, Mr. Wickham
indicated that these projects

       were completed in Italy; contained the multiple categories of building renovations,
       including floors, doors, walls, windows, external façades, roofs; repair/
       replacement of major building systems such as electrical, mechanical, and HVAC
       and civil work[] that includes[] concrete/asphalt roads and pavements, earthwork,
       and drainage structures[;] environmental work; and force protection–having
       between two . . . and four . . . of each category applicable; the selection of projects
       demonstrated the ability to manage multiple projects simultaneously . . . .

Id. at 276. The TEB identified the following significant strengths in BBSSI’s revised
submissions: (1) “very detailed explanation[s] of the scopes of work performed that
demonstrated the experience in the categories”; and (2) “multiple experience locations within
Italy of Livorno, Aviano and Vicenza.” Id. It also determined that BBSSI’s revised submissions


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“contained no weaknesses as the firm addressed those found in the initial review and provided to
the firm during discussions.” Id.

          Following discussions with BBSSI, the TEB raised BBSSI’s experience rating from
“[. . .]” to “[. . .].” Id. Mr. Wickham reviewed and concurred with this assessment, particularly
since BBSSI’s experience “demonstrate[d] an exceptional understanding of the government’s
requirements” by offering “numerous significant strengths in its proposal, which ha[d] no
weaknesses. The SSA is extremely confident that the Offeror [could] successfully perform the
anticipated services with little to very low risk and with a high probability of success.” Id.

                       b. Past Performance Factor in BBSSI’s Proposal

       Mr. Wickham noted that the TEB, after considering the two projects identified as part of
BBSSI’s initial proposal,“rated [BBSSI] as [. . .] based on evidence of successful performance
but nothing that explained any highly successful performance.” Id. at 277. With respect to the
additional projects BBSSI identified during discussions with the Corps,

       relevance of the past performance [was] demonstrated in the high level of
       relevancy of the construction experience projects; all projects were begun within
       the last three (3) years; the trends in the Offeror’s performance in . . . all the areas
       . . . [was] positive; the firm encountered minor problems that were addressed
       quickly with appropriate and effective corrective actions taken to ensure progress
       with project completion that minimized any schedule and cost impacts, and the
       overall quality was outstanding in most projects; evaluations, letters of
       appreciation, and commendations from customers; and the satisfactory to
       outstanding customer comments affirmatively impacted the TEB evaluation of
       [the] Offeror’s past performance.

Id. Although two TEB members rated BBSSI “[. . .]” based upon the overall satisfactory nature
of the comments, a third member rated BBSSI “[. . .]” based upon its “ability to excel on the
projects . . . .” Id. After reviewing BBSSI’s proposal and the findings in the TEB report, Mr.
Wickham conducted an independent analysis and made the following determination:

       [P]ast performance submission and final evaluations rate an [. . .], supported by
       the highly successful performance record identified for all projects evaluated; the
       SSA is extremely confident that the Offeror can successfully perform the
       anticipated services on [its] performance record and overall risk of failure of
       [BBSSI] to perform is very low.

Id.




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                     c. Management Approach Factor in BBSSI’s Proposal

          The organizational chart that BBSSI provided as part of its initial proposal “[. . .].” Id. It
did, [. . .] “[. . .],” and it also [. . .]. Id. at 278. During discussions, BBSSI furnished a new,
revised organizational chart that

        clearly identifie[d] the lines of authority at all locations in Italy[;] [. . .] this
        addition is seen as another significant strength.

Id. Based upon BBSSI’s revised submission, “[t]he original rating of [. . .] assigned by the TEB
has been upgraded to [. . .] . . . .” Id. Mr. Wickham explained:

        [R]eview of the proposals and TEB reports found the increase warranted as the
        management plan demonstrates an excellent understanding of the government’s
        requirements; the proposal offers numerous significant strengths not offset by any
        weaknesses. The SSA is extremely confident that the Offeror can successfully
        perform the anticipated services with little to very low risk and a high probability
        of success.

Id.

                                             2. Price Analysis

        Mr. Wickham indicated that, pursuant to FAR 15.404-1(a), an analysis of the offerors’
proposals was performed in order to ensure that the final agreed-to prices were both fair and
reasonable. Id. at 286. The following chart, which was reproduced in the SSDD, represents the
offerors’ overall price evaluation for the contract total bottom line sum, as compared with the
IGE of [. . .], with the offerors listed in order based on their technical ratings:

                                                  Chart 4

           Offeror         Bottom Line Sum           Percent Difference               Point
                                                         From IGE                   Difference
                                                                                    From IGE
            BBSSI                  [. . .]                    [. . .]                  [. . .]
             CMR                   [. . .]                    [. . .]                  [. . .]
             SKE                   [. . .]                    [. . .]                  [. . .]
             Pavan                 [. . .]                    [. . .]                  [. . .]

Id. at 287. BBSSI, “the highest technically rated offeror . . . , submitted the lowest total


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coefficient for the base bid and all options of [. . .], which [was] [. . .] or [. . .] points below the
IGE of [. . .].” Id.

       Mr. Wickham acknowledged that, “[. . .][, it is] the incumbent contractor and [. . .].” Id.
Nevertheless, BBSSI’s pricing information

        [. . .].

Id.; see also id. at 288 (explaining that BBSSI’s bidding was, [. . .], which indicated “[. . .]”).
Although Mr. Wickham noted that BBSSI’s pricing provided “[. . .],” BBSSI’s technical
proposal indicated that it “[. . .].” Id. at 288. Accordingly, Mr. Wickham determined that BBSSI
“[. . .].” Id.

                                         3. Tradeoff Analysis

         Mr. Wickham reiterated that the solicitation contemplated that one award would be made.
Id. at 289. BBSSI “provided the lowest price that was [. . .] lower than the IGE, and significantly
lower than other offerors . . . .” Id. Moreover, BBSSI had technical ratings that were “superior
in the [. . .] to the next lowest priced offeror and equal to the ratings of any other offeror . . . .”
Id.; cf. id. at 287 (noting that BBSSI was the “highest technically rated offeror”). Accordingly,
BBSSI “appear[ed] to be the best value awardee.” Id. at 289.

                                  4. Responsibility Determination

       Before an award could be made, an affirmative responsibility determination was required.
Id. To be found responsible, the contractor must first have adequate financial resources to
perform the contract or the ability to obtain these resources. Id. Mr. Wickham indicated that
BBSSI showed “a minimum risk of business failure, with 0% of other German businesses having
a lower failure risk.” Id. BBSSI’s payment trends were “in line with the industry average,” and
Mr. Wickham determined that BBSSI had the financial resources to perform the JOC. Id.

        Second, the contractor must be able to comply with the required or proposed delivery
schedule. Id. Mr. Wickham indicated that BBSSI had “been providing construction services to
the Corps . . . , through past and on-going contracts, in a timely and satisfactory manner.” Id. He
cited no degradation of performance by BBSSI on other government projects and acknowledged
BBSSI’s representations in its proposal that it would “be able to comply with the required
delivery schedule for the current project.” Id.

        Third, the contractor must have a satisfactory performance record. Id. The TEB
“evaluation identified that awarding contracts to [BBSSI] represent[ed] best value to the
government.” Id. Moreover, BBSSI’s past performance was rated as “excellent,” and Mr.
Wickham noted that there “have not been any indications that there [would] be any change in the
future to the quality of service.” Id. Additionally, Mr. Wickham acknowledged that all of


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BBSSI’s references would not hesitate to utilize BBSSI again. Id.

        Fourth, the contractor must have a satisfactory record of integrity and business ethics. Id.
BBSSI’s records of performance were “adequate to determine a satisfactory record of
integrity . . . .” Id. Mr. Wickham also indicated that no information refuted BBSSI’s reputation
for “high standards of integrity and ethics.” Id.

       Fifth, the contractor “must have the necessary organization, experience, accounting and
operation controls, and technical skills or the ability to obtain them[,] including such elements as
production control procedures, property control systems and quality assurance measures
applicable to services to be performed by the prospective contractor and subcontractors.” Id. at
290. BBSSI, Mr. Wickham indicated, demonstrated the required abilities, skill, experience, and
operational control to be able to perform the JOC. Id. Despite this finding, he noted: “[P]er their
SOA [certificate] and avvalimento, [BBSSI is] required to utilize the capabilities of [BBH],
[which] is currently debarred from U.S. Government contracts.” Id.

       Notwithstanding the determination that BBSSI must utilize the capabilities of BBH, Mr.
Wickham indicated that there was “no doubt” that BBSSI possessed the ability to perform. Id.
He cited the TEB’s determination that BBSSI’s management plans “articulate[d] complete
understanding of all requirements and present[ed] sound approaches for effectively controlling,
supervising, administering, managing, and performing the required work effort . . . .” Id.
Additionally, BBSSI’s management staff had “outstanding technical and operational education
and experience,” and BBSSI’s proposal reflected “outstanding detail and a very thorough
understanding of the technical requirements.” Id. Furthermore, BBSSI’s technical and
management approaches satisfied all of the government’s minimum objectives and requirements.
Id.

        “Based on an integrated assessment of all proposals in accordance with the specified
evaluation factors,” Mr. Wickham concluded that an “award to [BBSSI] offer[ed] the best value
to the Government. The proposal provide[d] strengths and demonstrate[d] an understanding of
the proposal requirements.” Id.


      Sixth, the contractor must have the necessary production, construction and technical
equipment, and facilities or an ability to obtain them. Id. With regard to this factor, Mr.
Wickham stated:

       It is apparent by the initial technical evaluation of the Contractors’ proposals that
       the firms are fully qualified to provide and maintain the needed services, but
       again, this may mean, due to [BBSSI’s] use of [BBH]’s SOA, that [BBSSI is] also
       required to utilize the assets and equipment of a debarred firm in order to perform
       the technical requirements of the contract [and] that [it has] relied on [BBH]’s
       assets and structure in order to use their SOA certification.


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Id. Nevertheless, BBSSI’s competency and past performance information were not questioned.
See id. (“The contractors’ competencies have been demonstrated and verified by the review of
the past performance information provided by the firms’ customers . . . .”).

        Seventh, the contractor must be otherwise qualified and eligible to receive an award
under the applicable laws and regulations. Id. Mr. Wickham noted that BBSSI had “performed
successfully and satisfactorily on previously issued [Corps] contracts and there [were] no
indications of financial, technical[,] or personnel difficulty.” Id. Moreover, he acknowledged
that BBSSI possessed a responsible financial rating. Id. Nevertheless, Mr. Wickham questioned
the relationship between BBSSI and BBH on two grounds. First, BBSSI

       provided several indications that it is affiliated with [BBH] and may, in fact, be a
       mechanism for [BBH] to submit proposals and to continue to contract with the
       U.S. Government. Therefore, in order to make an affirmative responsibility
       determination for [BBSSI] for this award and others, it was necessary to look at
       the whole record . . . , based on various evidence and documents that have been
       received from this contractor which indicate this relationship. For example, 8 out
       of the 10 projects submitted as Experience and Past Performance in their original
       proposal were performed by [BBH]. Although we conducted discussions for
       other reasons, and they provided alternate submissions with a revised proposal, it
       was not until the U.S. Government notified them of the inherent problem and the
       attempt to receive technical credit for efforts performed by a debarred firm that
       this was even changed, months after the debarment happened.

Id. Second, BBSSI was utilizing BBH’s SOA certificate while BBH was debarred. Id.
Specifically,

       [a]round the time of discussions, early September 2009, it was noticed that
       [BBSSI] was submitting their required SOA [certificate] for this contract in the
       name of [BBH] with the address in Kaiserslautern. When questioned, [BBSSI]
       represented to us that the name of the SOA [certificate] holder was a mere
       formality and that they had no legal ability under Italian law to obtain [an] SOA
       [certificate] in their name. . . . [T]his explanation appeared concerning not only
       because the SOA [certificate] holder was debarred, but also because the firm with
       whom a potential contract would be established ([BBSSI]) was not qualified to
       legally perform the construction work in Italy without this SOA [certificate]. At
       that point, we notified [BBSSI] that we were seeking expert advice and then hired
       an Italian legal expert and received his opinion on the 8th of January, 2010,
       rejecting the [BBSSI] representations as to Italian law and advising us that use of
       the [BBH] SOA [certificate] would indicate a relationship between the firms . . . .

Id.



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       Mr. Wickham then offered his own interpretation of Dr. Cosmelli’s opinion:

       [BBSSI] has submitted [an] SOA certificate in the name of [BBH] with an address
       in Kaiserslautern, Germany as well as a document entitled “self declaration”
       which attests that they have executed an “avvalimento infragruppo[,]” which is
       required by Italian law as a legal document that allows one company to use
       another company’s SOA [certificate]. However, per Italian law, the avvalimento
       is, in fact, an agreement or contract between the two entities and has prescribed
       provisions and consequences to prevent abuse by contractors and to protect
       contracting parties so that they are, in fact, contracting with qualified companies.
       This Law is D.P.R. [number] 163/2006, articles 49 and 50. Some of the
       provisions state that the ancillary company (in this case, [BBH]) must provide to
       the bidding company (in this case, [BBSSI]) full disposal of its assets and
       resource[s]–technical, financial, employees, machinery, know-how, organization,
       economic and financial standing, etc. and the bidding company shall avail itself of
       these assets. Moreover, the law provides that both the bidder and the ancillary
       company are jointly and severally liable towards the contracting party for the
       performance of the contract to be awarded and that the bidders’ obligations arising
       from anti-mafia legislation are also to be complied with by the ancillary company.
       The law further states that the bidding company must either be controlled by the
       ancillary company or they must be jointly controlled by a third company. Lastly,
       the law provides that the ancillary company work as a subcontractor to the bidding
       company.

                The SOA certificate is legally required to perform construction work in
       Italy. The use of a debarred contractor’s SOA [certificate], together with the
       avvalimento declaration accompanying it that certifies that [BBSSI] has the legal
       right to use [BBH]’s SOA [certificate], [means that] under Italian [law], the firm
       must make use of [BBH]’s technical and financial resources, is either controlled
       by [BBH] or the two (2) firms are jointly controlled by a third party, and [is]
       jointly and severably liable [with BBH] for their work when using the SOA
       [certificate]–evidencing that the firms are “affiliated” in accordance with the
       definition at FAR Part 9.403 and that a debarred firm, [BBH], is attempted to
       indirectly propose on this solicitation through its “affiliate,” [BBSSI]. Therefore,
       per [FAR] Part 9.405, [BBSSI] is inel[i]gible to receive an award as a debarred
       “contractor” . . . .

Id. at 291. Because BBSSI failed “to meet the standard . . . of a responsible contractor,” Mr.
Wickham concluded that it was “not eligible to receive award of this contract.” Id.

      Consideration of BBSSI’s proposal, as reflected within the SSDD, concluded with Mr.
Wickham’s determination that BBSSI was not a responsible contractor within the meaning of
FAR Subparts 9.1 and 9.4. Id. As a result, BBSSI, despite being found to have submitted a


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proposal that offered the best value before Mr. Wickham issued his responsibility determination,
was “considered ineligible for providing the required construction services.” Id. Because BBSSI
was not eligible for the JOC award, a best value determination based on the remaining offerors
was necessary. Id. at 292. To that end, the remainder of the SSDD considered the other three
offerors’ proposals, id. at 292-96, and Mr. Wickham ultimately concluded that CMR’s proposal
presented the best value to the government, id. at 293. He then determined that CMR was a
responsible contractor and was eligible for providing the required construction services. Id. at
295.

                                   5. Source Selection Decision

         Mr. Wickham–based upon the findings of the TEB, his independent analysis of the
proposals, and a comparison “giving appropriate consideration to the evaluation criteria set forth
in the solicitation and Source Selection Plan and their relative importance”–determined that
CMR’s proposal was the “the best overall proposal and most beneficial to the Government.” Id.
at 296. Citing his “broad discretion” to make the source selection decision, Mr. Wickham
indicated that he compared the strengths, weaknesses, deficiencies, and prices of the competing
offerors in order to determine which proposal reflected the best value. Id. He then concluded
that a single firm-fixed-price contract award would be made to CMR. Id.; see also id. (stating
that it was “advantageous and in the best interest of the Government to award one (1) contract” to
CMR).

               G. Post-Award Communications Between the Corps and BBSSI

                       1. Notification of Unsuccessful Offeror to BBSSI

        On January 28, 2010, Mr. Wickham notified BBSSI in writing that it was ineligible to
receive the JOC award. Id. at 305. First, he noted that seven proposals, including BBSSI’s
proposal, “were included in the technical evaluations upon completion of the Contract
Specialist’s [initial] review for compliance with the solicitation instructions in accordance with
section 00100.” Id. Second, he indicated that, although BBSSI “provided an excellent technical
submission and a total evaluated bottom-line coefficient of [. . .], [it was] ineligible to receive an
award.” Id. Specifically, BBSSI’s use of BBH’s SOA certificate when BBH was debarred–and
the original submission of eight projects awarded to BBH–rendered BBSSI “not responsible and
ineligible for award in accordance with FAR 9.103, 9.403 and 9.405(a).” Id. Mr. Wickham
acknowledged that BBSSI was not on the EPLS; however, he indicated that BBSSI has chosen to
use the SOA certificate of a debarred firm and that rendered BBSSI ineligible for the JOC award.
Id.

       With regard to BBSSI’s use of BBH’s SOA certificate, Mr. Wickham elaborated:

              The use of a debarred contractor’s SOA [certificate,] together with the
       avvalimento declaration accompanying it that certifies that [BBSSI] has the legal


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       right to use the [BBH] SOA [certificate], under Italian law the firm must make use
       of [BBH]’s technical and financial resources, is either controlled by [BBH] or the
       two (2) firms are jointly controlled by a third party, and [is] jointly and severably
       liable [with BBH] for their work when using the SOA [certificate]–evidencing
       that the firms are “affiliated” in accordance with the definition at FAR Part 9.403
       and that a debarred firm, [BBH], is attempting to indirectly propose on this
       solicitation through its “affiliate,” [BBSSI]. Therefore, per [FAR] Part 9.405,
       [BBSSI] is inel[i]gible to receive an award as a debarred “contractor,” as defined
       by FAR 9.403.

Id. Mr. Wickham indicated that the revised technical proposal and price coefficient submitted by
CMR constituted the best value for the government. Id. at 306.

                              2. BBSSI’s Request for a Debriefing

        On January 29, 2010, BBSSI formally requested a debriefing. Id. at 307-09. Citing FAR
15.506(d), BBSSI sought information concerning (1) the Corps’ evaluation of the significant
weaknesses or deficiencies in its proposal; (2) the overall evaluated cost, technical rating, and
past performance information for CMR; (3) the overall ranking of all offerors; (4) a summary of
the rationale for the award to CMR; (5) “the make and model of the item to be delivered by the
successful offeror”; and (6) “[r]easonable responses to relevant questions about whether source
selection procedures contained in the solicitation, applicable regulations, and other applicable
authorities were followed.”45 Id. at 307-08. BBSSI also submitted numerous questions
concerning the evaluation. First, it requested “the legal basis, including a legal citation, for [the
Corps’] statement that ‘under Italian law the firm must make use of [BBH]’s technical and
financial resources.’” Id. at 308. Second, it asked what facts the Corps relied upon to determine
that BBSSI “must or would rely upon the technical and financial resources of [BBH] in
performing the contract work.” Id. Third, it requested the basis for the Corps’ assertion that
BBH controlled BBSSI and the facts utilized by the Corps to make this determination. Id.
Fourth, it requested the basis for the Corps’ assertion that BBH and BBSSI were controlled by a




       45
          Subpart 15.506(d) of the FAR, which pertains to post-award debriefing of offerors,
provides that, at a minimum, debriefing information shall include: (1) the government’s
evaluation of significant weaknesses or deficiencies in the offeror’s proposal; (2) overall
evaluated cost or price and technical rating of the successful offeror and the debriefed offeror, as
well as past performance information on the debriefed offeror; (3) overall ranking of all offerors;
(4) a summary of the rationale for award; (5) the make and model of items to be delivered by the
successful offeror in acquisitions of commercial items; and (6) reasonable responses to relevant
questions about whether source selection procedures contained in the solicitation, applicable
regulations, and other applicable authorities were followed. 48 C.F.R. § 15.506(d)(1)-(6).

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common third party.46 Id. It also posed the following questions:

       •       Whether it was the Corps’ position that a finding of “affiliation” between
               BBSSI and BBAG was the single determining factor that rendered BBSSI
               ineligible for the JOC award.

       •       What facts, including those derived from BBSSI’s proposal and obtained
               “external to the proposal,” did the Corps rely upon in determining that
               BBH was attempting to indirectly propose on the JOC through BBSSI?

       •       Whether the Corps considered BBSSI’s proposal during the best value
               analysis and, if so, where its proposal ranked against the remaining
               offerors.

Id. Finally, BBSSI posed a series of questions related to the Corps’ conclusion that eight projects
identified in its initial proposal had been awarded to BBH, particularly in light of the Corps’
December 10, 2009 discussion response stating that BBSSI satisfied and exceeded the experience
factor requirements.47 Id. at 308-09.

                                3. The Corps’ Written Debriefing

       The Corps provided a written debriefing to BBSSI on February 2, 2010. Id. at 310-14.
With respect to the Corps’ overall evaluation of weaknesses or deficiencies pursuant to FAR


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          In a related question, BBSSI asked whether BBAG was the third party that the Corps
believed controlled both BBH and BBSSI. Pl.’s App. 308. If BBAG was that third party, then
BBSSI asked the following: “If BBAG allegedly is the controlling third party, how does the
[Corps] reconcile this position with the fact, which was made clear in BBSSI’s proposal, that
BBSSI is the Italian branch of BBAG, not a third party or separate legal entity?” Id.
       47
            First, BBSSI indicated that three of the ten projects it identified as part of its initial
proposal “arose under contracts held by BBAG through BBSSI.” Pl.’s App. 309. BBSSI sought
clarification that the eight projects, in fact, referred to seven projects. Id. Second, BBSSI stated
that the Corps was factually incorrect to conclude that these seven projects had been awarded to
BBH, particularly in light of BBSSI’s December 10, 2009 discussion response. Therefore,
BBSSI asked whether the Corps considered its December 10, 2009 discussion response and
whether its content was “disregarded or rejected and, if so, why . . . .” Id. Third, BBSSI
questioned the Corps’ determination that it was an affiliate of BBH, as defined in FAR 9.403. Id.
Stating that “affiliation with a debarred entity is not in-and-of-itself a reason to exclude an
offeror from a competition,” BBSSI requested the basis for excluding BBSSI from the
competition. Id. Specifically, it asked (1) whether its proposal failed to satisfy the technical
requirements, and (2) for the factual or legal basis for any determination that BBH was proposing
through BBSSI. Id.

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15.506(d)(1), Mr. Wickham noted that the Corps found no weaknesses or deficiencies in
BBSSI’s submission related to the experience, past performance, management approach, and
price factors. Id. at 310. With respect to a summary of the rationale for award pursuant to FAR
15.506(d)(4), Mr. Wickham explained:

        Although your technical proposal[, as] submitted[,] received highly-rated
        adjectival ratings during evaluation and your price coefficient proposal was lower
        than the price proposal of the successful offeror, the Government determined . . .
        the bas[is of] a non-responsibility determination at point (g) of FAR 9.104-1–The
        Contractor must be otherwise qualified and eligible to receive an award
        under applicable laws and regulations. Your firm’s use of [an SOA certificate]
        registered to . . . [BBH], wh[ich] is currently debarred, makes your firm ineligible
        to receive an award.

                In accordance with FAR 15.402 and [Defense Federal Acquisition
        Regulation Supplement Procedures, Guidance and Information] 215.402(1)[,]
        Contracting Officers must purchase supplies and services from responsible
        sources at fair and reasonable prices. [BBSSI] has not been determined to be a
        responsible contractor as it has failed at point (g), the requirements of FAR Part
        9.1 and Section 00100 of the solicitation . . . and is therefore considered ineligible
        for providing the required construction services. The Contracting Officer has
        determined that your firm is not responsible within the meaning of FAR Subpart
        9.1 and 9.4, Responsible Prospective Contractors.

Id. at 311.

       In response to BBSSI’s questions concerning the extent to which the Corps adhered to
source selection procedures, regulations, and other authorities, Mr. Wickham furnished the
following answers:

        1. The legal basis for the Corps’ determination that, under Italian law, BBSSI
        must make use of BBH’s technical and financial resources was “BBSSI’s use of a
        debarred firm’s resources and assets (SOA [certification]) to propose on this
        solicitation.” Id.

        2. The facts relied upon by the Corps in determining that BBSSI must or would
        rely upon the technical and financial resources of BBH “were that BBSSI
        presented [an] SOA [certificate] in the name of a debarred firm and the
        accompanying declaration stating that an avvalimento had been executed between
        BBSSI and [BBH], which legally enable[d] BBSSI to utilize a debarred firm’s
        SOA [certificate].” Id.




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3. The Corps made no statement that BBH controls BBSSI. The Corps “relied on
the SOA [certificate] presented by BBSSI in [BBH]’s name and the accompanying
Declaration stating that a permanent avvalimento infra-gruppo had been executed”
between BBSSI and BBH, “which legally enable[d] BBSSI to utilize the debarred
firm’s SOA [certificate] for the three year Italy JOC . . . period.” Id.

4. In determining that BBH and BBSSI were controlled by a common third party,
the Corps “relied on BBSSI’s own submission of [an] SOA [certificate] in a
debarred firm’s name to be qualified to bid on and to perform work required under
this contract.” Id. at 312.

5. The Corps did not allege that BBAG was the controlling third party; instead, it
stated that

       BBSSI’s declaration attached to the SOA [certificate] in a debarred
       company’s name states that an avvalimento infra-gruppo has been
       executed between BBSSI and [BBH], which has particular
       implications and relationships under Italian Law 163/2006 and EU
       Directive 2004/18. Please also note the language on the BBSSI[-]
       submitted Declaration and the language from the DLA Piper letter
       to [the Corps] regarding the Declaration submitted by BBSSI and
       the solicitation requirement that [an] SOA [certificate] must be
       available and valid throughout the contract period.

Id.

6. With regard to whether the Corps found an affiliation between BBSSI and
BBH that rendered BBSSI ineligible, “it is not the affiliation per se, but the use of
a debarred company’s resources and assets (SOA [certification]) to propose on
this solicitation.” Id.

7. The Corps previously answered questions related to its determination that BBH
was attempting to indirectly propose on the solicitation through BBSSI,
reiterating: “All documents and information relied on were all provided in the
BBSSI proposal submission and various discussions with BBSSI personnel.” Id.

8. The Corps confirmed that BBSSI’s proposal was considered during the best
value determination. Id.

9. The Corps noted that seven projects BBSSI provided in its initial proposal
named BBAG as the awardee and that “[m]uch of the past performance and other
correspondence . . . attached to the Italy JOC proposal to support the Experience
and Past Performance criteria[] provided by BBSSI[] was addressed to personnel


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       in Kaiserslautern, to [BBH].” Id. at 313. Additionally, the Corps indicated that
       BBSSI’s revised proposal submission “in response to discussions was carefully
       considered and improved the technical ratings of the firm, however[,] it was not
       relevant to the responsibility determination, which [was] a threshold matter and
       the reason for non-selection.” Id.

       10. In response to BBSSI’s inquiry concerning the basis for its exclusion from the
       competition, the Corps’ position was “one of responsibility, not debarment, which
       [was] demonstrated by BBSSI utilizing the resources and assets (SOA
       [certificate]) of a debarred company to propose on the Italy JOC . . . , a United
       States Government contract.” Id.

       11. BBSSI did not fail to satisfy the technical requirements under the experience
       factor, and the Corps’ “non-selection [of BBSSI] for award was based on
       responsibility and the use of a debarred firm’s resources and assets to propose on
       this solicitation through the use of the debarred firm’s SOA [certificate].” Id.

       12. The factual or legal basis for the Corps’ determination that BBH was
       proposing through BBSSI was BBSSI’s proposal, wherein BBSSI, according to
       the Corps,

                presented that it was technically able to meet the Solicitation’s
                SOA [certification] requirement. The SOA [certificate] that
                BBSSI provided and the accompanying declaration stating that an
                avvalimento had been executed between BBSSI and [BBH], which
                legally enabled BBSSI to utilize [BBH]’s SOA [certificate], was in
                the name of a debarred firm. BBSSI [was] relying on the technical
                capabilities and resources of a debarred firm through the use of a
                debarred firm’s SOA [certificate] to qualify itself and to execute
                work under this contract.

       Id. at 313-14.

On February 4, 2010, BBSSI filed a protest with the United States Government Accountability
Office (“GAO”).48 Id. at 315-37.




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            Proceedings before the GAO are discussed in Part II.A, infra.

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             H. Post-JOC Solicitation Discussions Between the Corps and BBSSI

1. Reconsideration of the JOC Award and Participation in the Italy MATOC Procurement

         On February 23, 2010, during the pendency of its protest before the GAO, BBSSI,
through counsel, contacted Ms. Denzel to discuss a resolution to several outstanding issues. Id.
at 387. First, counsel advised the Corps that BBH had been removed from the EPLS. Id.
Accordingly, counsel requested that the Corps take corrective action on the JOC procurement by
reevaluating BBSSI’s responsibility or eligibility to compete. Id. at 388-89. Second, counsel
indicated that Mr. Wickham, on February 16, 2010, advised BBSSI that it was unqualified to
receive the Italy MATOC solicitation because BBSSI, in response to the presolicitation notice,
submitted BBH’s SOA certificate.49 Id. at 391. Counsel sought to avoid filing a protest related
to the Italy MATOC and to reach “a potential basis for agreement and a starting point to resolve
these matters . . . .” Id. at 388.

         Ms. Denzel responded to counsel on February 25, 2010, stating that the JOC award was
made when BBH was “clearly ineligible for award and listed on the Excluded Parties List. It is
not possible to terminate a legitimate award made to an eligible, responsible contractor providing
the best value in accordance with the solicitation based on future events that had not yet occurred
at the time of the award.” Id. at 396. To terminate the contract award to CMR in light of
changed circumstances, Ms. Denzel noted, “would create an impossible contracting system
where no awards could be sustained . . . .”50 Id. With regard to the Italy MATOC solicitation,
Ms. Denzel acknowledged that “the status of BBH is in a sort of limbo,” but she represented that
the Corps was willing to cooperate and provide BBSSI with the Italy MATOC solicitation
documents.51 Id. at 397.


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            Counsel for BBSSI clarified that

       we are not requesting an affirmative determination that [BBSSI] is eligible.
       Rather, we hope that the [Corps] will be convinced to engage in a reconsideration
       of the matter, in light of the BBH development . . . . [A]ll that would be necessary
       is a written representation from the [Corps] (in particular, C.O. Wickham) that
       such review is underway and that the former determination of non-responsibility
       or ineligibility is no longer in effect or suspended until the review is complete.

Pl.’s App. 392.
       50
         Ms. Denzel also indicated that reconsideration of the JOC award would be unfair and
that CMR “would have a valid protest that could not be defensible by this Agency if its award
was terminated.” Pl.’s App. 396.
       51
        BBSSI ultimately participated in the Italy MATOC procurement. See Compl. ¶ 58.
On May 19, 2010, the Corps requested from BBSSI information listing the actual resources of

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                           2. Issues Related to the Predecessor JOC

        In January 2010, several electronic-mail communications were exchanged between the
Corps and BBSSI regarding various issues related to the predecessor JOC. On January 14, 2010,
Mario Eccel, BBSSI’s Senior Project Manager, wrote to Howard L. Mosley, Jr., Project Engineer
at the Corps, and indicated that BBSSI (1) could not work for only one week per month, and (2)
would, in accordance with prior discussions and agreements, perform construction related to an
access trail in August 2010. Id. at 421. Mr. Mosely responded on January 15, 2010, stating that,
“because of the disbarment issue, we cannot extend the contract. I am open to any options you
may have for the time schedule, but as it stands, your schedule should not go beyond the contract
completion date.” Id. at 420.

        Additionally, Mr. Hagner, on January 15, 2010, contacted the Corps to express concern
that the Corps considered BBSSI affiliated with BBH, effectively excluding it from ongoing
solicitations. Id. at 433. Mr. Hagner noted that the Corps “already stopped all negotiations on
Task Orders and Mod[ifications].” Id. He also reiterated that BBSSI was not associated with
any debarred or suspended entity. Id.

        On March 8, 2010, counsel for BBSSI contacted Ms. Denzel concerning the existing JOC
for which BBSSI was performing the first option period. Id. at 411; supra note 22. Counsel
noted that the first option period was set to expire on March 10, 2010. Pl.’s App. 411. He also
noted that the Corps had not exercised the second option period and opined that “this likely was
due to the BBH debarment.” Id. Counsel requested that the Corps reconsider is position, to the
extent the BBH debarment factored into its decision not to exercise the second option period, and
consider exercising the option, noting that “exercise of the option is critical and in the best
interest of the Government.” Id. In response, Ms. Denzel indicated that the Corps’ capacity on
the predecessor JOC “has been exhausted[,] so we cannot exercise the option in any case.” Id. at
410. She explained:

       There is only enough saved for modifications that we know we need on existing
       task orders. The new JOC was put in place to cover our needs this year once it
       was realized that capacity on the old one was being used much quicker than


BBH that BBSSI intended to use, as well as a declaration from BBH indicating that those
resources were available to BBSSI for use during the course of performance under the Italy
MATOC. Id.; Pl.’s App. 399. On May 26, 2010, BBSSI responded, stating that it “intends
to–and is capable of–performing the MATOC contract with its own resources. Resources of
[BBH] . . . will not be used to perform the MATOC contract. As such, there is no list of
BBH . . . resources to be provided and, consistent with this, there are no declarations from those
companies to be submitted.” Pl.’s App. 399. BBSSI also provided documentation confirming
that BBH satisfied all of the general requirements of Article 38 of the Italian Code. Id.; supra
note 39. On June 23, 2010, Mr. Wickham, the contracting officer for the Italy MATOC
procurement, notified BBSSI that it had been awarded one of four contracts. Pl.’s App. 408.

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       normal. BBSSI’s unknown status contributed to the original issuance of the
       solicitation as well as changes to some of our contracting regulations and the
       Italian safety and environmental laws, but it was put on hold until we knew,
       without a doubt, that we had a serious requirement for a new JOC after fiscal year
       end with the exhausted capacity.52

Id. (footnote added).

                                II. PROCEDURAL HISTORY

                                A. Proceedings Before the GAO

         In its initial protest before the GAO, BBSSI alleged that the Corps unreasonably and
improperly determined that BBSSI was ineligible for the JOC award based upon its need to
utilize the resources and assets of BBH, a debarred firm. Id. at 315. According to BBSSI, it
submitted a proposal in which it represented performance based exclusively upon its own assets
and resources. Id. at 316. Moreover, BBSSI argued that the Corps’ ineligibility determination
effectively constituted a debarment of BBSSI. Id. Specifically, it asserted that the Corps (1)
erroneously determined that BBSSI failed to satisfy the SOA certificate requirement, id. at 323-
27, (2) ignored relevant information when it determined that BBSSI was not responsible, id. at
327-30, and (3) subjected BBSSI to a de facto debarment, id. at 331-34. On March 12, 2010,
BBSSI asserted a supplemental protest ground based upon additional documents produced by the
Corps. Id. at 338-47. In its supplemental brief, BBSSI alleged that the Corps unreasonably
procured and relied upon an Italian legal opinion to determine that BBSSI was ineligible for the
JOC award.53 Id. at 344-46.

        The GAO denied BBSSI’s protest on May 13, 2010. Id. at 381-86. In response to
BBSSI’s challenge to Mr. Wickham’s negative responsibility determination, the GAO stated that
a contracting officer “is vested with a wide degree of discretion and, of necessity, must rely upon
his or her business judgment in exercising that discretion.” Id. at 383. The GAO explained that
it generally does not question a negative determination of responsibility because the agency
“must bear the effects of any difficulties experienced in obtaining the required performance.” Id.
It noted, however, that negative determinations of responsibility could be challenged upon a
showing by the protester of bad faith or a lack of any reasonable basis for the determination. Id.




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          Notwithstanding this response, BBSSI again requested that the Corps reconsider its
decision not to exercise the second option period. Pl.’s App. 410.
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          During the course of proceedings before the GAO, BBSSI obtained its own legal
opinion from Italian counsel explaining the SOA certificate requirement under Italian law and the
concept of avvalimento infra-gruppo. Pl.’s App. 378-79.

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         The GAO acknowledged that Mr. Wickham, “based on the information available to
him, . . . concluded that BBSSI . . . provided indications that it may have been ‘a mechanism for
[BBH] to submit proposals and to continue to contract with the U.S. Government.’” Id. at 383.
It determined that Mr. Wickham relied upon “extensive information” that “supported the view
that BBSSI and BBH were closely related, and the resultant appearance that BBH, a debarred
contractor, would be involved in performing the contract, as it had been under prior contracts.”
Id. at 384. The GAO also determined that Mr. Wickham’s concerns about BBSSI’s reliance
upon BBH’s SOA certificate were reasonable, citing his consideration of Dr. Cosmelli’s opinion.
Id. at 384. Furthermore, the GAO concluded that the Corps “was not bound to accept BBSSI’s
representations and disregard its SOA [certificate] arrangement with BBH, together with the
other substantial information bearing on the firms’ relationship.”54 Id.

        With respect to BBSSI’s contention that Mr. Wickham misinterpreted the Italian legal
opinion, the GAO determined that BBSSI failed to establish that the interpretation was incorrect
or unreasonable. Id. at 385. Instead, according to the GAO, BBSSI provided “no definitive
information, other than its own legal opinion,” see supra note 53, concerning the use of another
company’s SOA certificate without involving that company in the performance of the contract,
Pl.’s App. 384. Moreover, the GAO, citing Dr. Cosmelli’s opinion, explained that the statements
contained therein were “all reasonably supportive of the contracting officer’s conclusion that
BBSSI’s reliance on BBH’s SOA [certificate] was indicative of an intent to ‘have at its disposal
the resources of [BBH] to carry out the [contract].’” Id. (quoting the SSDD) (alterations in
original).

        The GAO also rejected BBSSI’s assertion that the SOA certificate requirement “was a
definitive responsibility criterion” that BBSSI satisfied via submission of BBH’s SOA certificate.
Id. at 386. According to the GAO, “BBSSI was not found nonresponsible due to failure to meet
the solicitation requirement for submission of an SOA” certificate. Id. Instead, the GAO


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                The GAO rejected BBSSI’s contention that Dr. Cosmelli’s opinion was flawed,
stating:

           [T]he protester asserts that the Request for Quotations seeking the legal opinion
           did not provide sufficient background material, including information setting forth
           BBSSI’s views regarding the legal effect of the SOA [certificate]. We do not
           agree with BBSSI, however, that the absence of its views from the RFQ
           diminished the reliability of the opinion. The RFQ adequately described the
           subject matter the opinion was to address, and there was no requirement that the
           agency turn the opinion into a vehicle for debate by setting forth BBSSI’s views
           on the matter. Contracting officers generally are entitled to rely on information
           available to them at the time of a responsibility determination, absent any
           indication that the information is defective, unsupported, or suspect.

Pl.’s App. 385 (citation & footnote omitted).

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explained, Mr. Wickham determined that BBSSI was not responsible based upon its submission
of BBH’s SOA certificate and the circumstances surrounding the two entities’ affiliation. Id.

        Finally, the GAO determined that BBSSI’s de facto debarment argument lacked merit. It
indicated that a de facto debarment occurs “when the government uses nonresponsibility
determinations as a means of excluding a firm from government contracting or subcontracting,
rather than following the debarment regulations and procedures set forth at FAR subpart 9.4.” Id.
One key element of a de facto debarment, the GAO noted, was an agency’s intent “not to do
business with the firm in the future.” Id. Based upon its examination of the record, the GAO
concluded that there was “no[] show[ing] that the agency intends to exclude [BBSSI] from other
procurements based on its specific determination here.” Id.

                      B. Proceedings Before the Court of Federal Claims

        A redacted version of the GAO’s decision was not available for dissemination to BBSSI
until June 18, 2010. Id. at 380. On July 26, 2010, BBSSI filed a complaint in the Court of
Federal Claims. The complaint contains six counts: (1) wrongful determination by the Corps that
BBSSI was not responsible; (2) de facto debarment of BBSSI during the period of time when
BBH was listed on the EPLS; (3) lack of meaningful discussions by the Corps; (4) unsupportable
determination by the Corps to not make multiple awards under the JOC procurement; (5)
violations of FAR 1.102-2(c) and FAR 1.102(b)(3) based upon the Corps’ exclusion of BBSSI;
and (6) breach of an implied-in-fact contract by the Corps to consider proposals fairly. Compl.
¶¶ 66-97. BBSSI requests that the court issue (1) a preliminary injunction enjoining the Corps
from issuing task orders to CMR and to suspend performance of any existing task orders, and (2)
a declaratory judgment stating that the Corps’ determination that BBSSI was nonresponsible and
ineligible for the JOC award was arbitrary, capricious, an abuse of discretion, contrary to law,
and without a rationale basis. Id. Wherefore ¶¶ A-B. Furthermore, BBSSI requests that the court
issue a permanent injunction directing the Corps to (1) award the JOC to BBSSI, (2) make a
second award under the JOC to BBSSI, or (3) reopen discussions, reevaluate its needs, or
recompete the JOC.55 Id. Wherefore ¶ C.

        During briefing of plaintiff’s motion for a temporary restraining order and preliminary
injunction, defendant moved to dismiss the complaint on both RCFC 12(b)(1) and 12(b)(6)
grounds. In support of its motion to dismiss, defendant contends that BBSSI waited over ten
weeks after the GAO’s decision to file its complaint and, as a result, lacks standing to bring the
protest. The court, on August 13, 2010, heard oral argument on both motions. As indicated in
note 1, supra, the court issued a temporary restraining order on August 20, 2010.




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        BBSSI also seeks bid preparation costs, as well as the costs of pursuing the protest.
Compl. Wherefore ¶ D.

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                                   III. LEGAL STANDARDS

                                          A. Bid Protests

        The Court of Federal Claims has “jurisdiction to render judgment on an action by an
interested party objecting to . . . the award of a contract or any alleged violation of statute or
regulation in connection with a procurement or a proposed procurement,” 28 U.S.C.
§ 1491(b)(1), and may “award any relief that the court considers proper, including declaratory
and injunctive relief except that any monetary relief shall be limited to bid preparation and
proposal costs,” id. § 1491(b)(2). Interested parties are those “prospective bidders or offerors
whose direct economic interest would be affected by the award of the contract or by failure to
award the contract.” Am. Fed’n of Gov’t Emps., AFL-CIO v. United States, 258 F.3d 1294,
1302 (Fed. Cir. 2001) (citing 31 U.S.C. § 3551(2)(A) (Supp. IV 1998)). Defendant challenges
the court’s jurisdiction over BBSSI’s complaint. See Parts IV.A.1-3, infra.

        The court reviews the procuring agency’s action pursuant to the standards set forth in 5
U.S.C. § 706. See 28 U.S.C. § 1491(b)(4). Although section 706 contains several standards,
“the proper standard to be applied in bid protest cases is provided by 5 U.S.C. § 706(2)(A): a
reviewing court shall set aside the agency action if it is ‘arbitrary, capricious, an abuse of
discretion, or otherwise not in accordance with law.’” Banknote Corp. of Am. v. United States,
365 F.3d 1345, 1350 (Fed. Cir. 2004). Although “it is well-settled that procurement officials are
entitled to broad discretion in the . . . application of procurement regulations,” Metcalf Constr.
Co. v. United States, 53 Fed. Cl. 617, 622 (2002), the court may set aside a procuring agency’s
contract “if either: (1) the procurement official’s decision lacked a rational basis; or (2) the
procurement procedure involved a violation of regulation or procedure,” Impresa Construzioni
Geom. Domenico Garufi v. United States, 238 F.3d 1324, 1332 (Fed. Cir. 2001). The protester
must show, by a preponderance of the evidence, that either ground justifies a set aside of the
contract award. AmerisourceBergen Drug Corp. v. United States, 60 Fed. Cl. 30, 35 (2004); see
also Gulf Group Inc. v. United States, 61 Fed. Cl. 338, 351 (2004) (articulating the
preponderance of the evidence standard).

        In order to succeed on the first ground, the protester “must show the decision was
‘arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with the law.’”
Med. Devel. Int’l, Inc. v. United States, 89 Fed. Cl. 691, 700 (2009) (quoting 5 U.S.C.
§ 706(2)(A) (2006)). Where “the challenge is brought on the second ground, the disappointed
bidder must show ‘a clear and prejudicial violation of applicable statutes or regulations.’”
Impresa Construzioni Geom. Domenico Garufi, 238 F.3d at 1333 (quoting Kentron Haw., Ltd. v.
Warner, 480 F.2d 1166, 1169 (D.C. Cir. 1973)); see also Bannum, Inc. v. United States, 404 F.3d
1346, 1351 (Fed. Cir. 2005) (holding that, if the procuring agency’s decision was made in
violation of the applicable statutes, regulations, or procedures, then the court must “determine, as
a factual matter, if the bid protester was prejudiced by that conduct”); Data Gen. Corp. v.
Johnson, 78 F.3d 1556, 1562 (Fed. Cir. 1996) (stating that, in addition to showing “a significant
error in the procurement process,” a protester must show “that the error prejudiced it”). A


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protester must satisfy both requirements–significant and prejudicial error–in order to prevail.56
Bannum, Inc., 404 F.3d at 1351.

        “To establish prejudice . . . , a protester must show that there was a ‘substantial chance’ it
would have received the contract award absent the alleged error.” Banknote Corp. of Am., 365
F.3d at 1350 (quoting Emery Worldwide Airlines, Inc. v. United States, 264 F.3d 1071, 1086
(Fed. Cir. 2001)); see also Statistica, Inc. v. Christopher, 102 F.3d 1577, 1582 (Fed. Cir. 1996)
(“[F]or [a protester] to prevail[,] it must establish not only some significant error in the
procurement process, but also that there was a substantial chance it would have received the
contract award but for that error.”); Data Gen. Corp., 78 F.3d at 1562 (“[T]o establish prejudice,
a protester must show that, had it not been for the alleged error in the procurement process, there
was a reasonable likelihood that the protester would have been awarded the contract.”). The
“substantial chance” test creates a “reasonable balance between the importance of (1) averting
unwarranted interruptions of and interferences with the procurement process and (2) ensuring
that protesters who have been adversely affected by allegedly significant error in the procurement
process have a forum available to vent their grievances.” Data Gen. Corp, 78 F.3d at 1563. A
protester need not show under the “substantial chance” test that, “but for the alleged error, [it]
would have been awarded the contract.” Id. at 1562. Rather, it must “demonstrate more than a
‘mere possibility that [it] would have received the contract but for the error [in the procurement
process].’” Asia Pac. Airlines v. United States, 68 Fed. Cl. 8, 18 (2005) (quoting Data Gen.
Corp., 78 F.3d at 1562); cf. Myers Investigative & Sec. Servs., Inc. v. United States, 275 F.3d,
1366, 1370-71 (Fed. Cir. 2002) (stating that, where a protester claims that the government was
obligated to rebid the contract, as opposed to where the protester claims it should have been
awarded the contract during the original bid protest, the protester “need only establish that it
‘could compete for the contract’ if the bid process were made competitive” (quoting Impresa
Construzioni Geom. Domenico Garufi, 238 F.3d at 1334)).

                                            B. Standing

        Standing constitutes a “threshold requirement in every federal action.” Myers
Investigative & Sec. Servs., Inc., 275 F.3d at 1369. As an “indispensable part of the plaintiff’s
case,” Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992), standing is “not a mere
pleading requirement,” Night Vision Corp. v. United States, 68 Fed. Cl. 368, 391 (2005). “[T]he
question of standing,” the United States Supreme Court (“Supreme Court”) explained, “is
whether the litigant is entitled to have the court decide the merits of the dispute or of particular
issues.” Warth v. Seldin, 422 U.S. 490, 498 (1975). In Lujan, the Supreme Court summarized
three elements that comprise standing. 504 U.S. at 560. First, the plaintiff must have suffered an
“‘injury in fact’–an invasion of a legally protected interest which is (a) concrete and


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           “[M]inor errors or irregularities, i.e., harmless errors, committed in the course of the
procurement process are not sufficient grounds to warrant judicial intrusion to upset a
procurement decision.” Metcalf Constr. Co., 53 Fed. Cl. at 622 (citing Day & Zimmermann
Servs., a Div. of Day & Zimmermann, Inc. v. United States, 38 Fed. Cl. 591, 597 (1997)).

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particularized, and (b) ‘actual or imminent, not ‘conjectural’ or ‘hypothetical.’’” Id. (citation &
footnote omitted). Second, “there must be a causal connection between the injury and the
conduct complained of.” Id. In other words, the injury “has to be ‘fairly . . . trace[able] to the
challenged action of the defendant, and not . . . th[e] result [of] the independent action of some
third party not before the court.’” Id. (alterations in original) (quoting Simon v. E. Ky. Welfare
Rights Org., 426 U.S. 26, 41-42 (1976)). Third, “it must be ‘likely,’ as opposed to merely
‘speculative,’ that the injury will be ‘redressed by a favorable decision.’” Id. at 561 (quoting
Simon, 426 U.S. at 38, 43). The burden of establishing these elements of standing rests with the
party invoking federal jurisdiction. See id. Standing must be determined “as of the
commencement of suit.” Rothe Dev. Corp. v. Dep’t of Def., 413 F.3d 1327, 1334 (Fed. Cir.
2005).

        “[T]he plaintiff in a bid protest must show that it has standing to bring the suit.” L-3
Global Commc’ns Solutions, Inc. v. United States, 82 Fed. Cl. 604, 608 (2008) (citing Info.
Tech. & Applications Corp. v. United States, 316 F.3d 1312, 1319 (Fed. Cir. 2003)). The Tucker
Act provides that a bid protest action may be brought by an “interested party objecting to a
solicitation by a Federal agency.” 28 U.S.C. § 1491(b)(1). “The pivotal element of standing in a
bid protest is whether a protestor qualifies as an ‘interested party’ under [section] 1491(b)(1).”
RhinoCorps Ltd. v. United States, 87 Fed. Cl. 481, 485 (2009). The United States Court of
Appeals for the Federal Circuit (“Federal Circuit”) has construed the term “interested party” as
synonymous with the term “interested party” defined in the Competition in Contracting Act of
1984 (“CICA”),57 Pub. L. No. 98-369, 98 Stat. 494 (codified as amended at 31 U.S.C. §§ 3551-
3556). See Am. Fed. of Gov’t Emps., AFL-CIO, 258 F.3d at 1302. In order to have standing as
an “interested party,” a protester must satisfy a two-part test. First, the protester must
demonstrate that it is an actual or prospective bidder. Rex Serv. Corp. v. United States, 448 F.3d
1305, 1307 (Fed. Cir. 2006); see also MCI Telecom. Corp. v. United States, 878 F.2d 362, 365
(Fed. Cir. 1989) (noting that “one who has not actually submitted an offer must be expecting to
submit an offer prior to the closing date of the solicitation”). Second, the protester must
demonstrate that it has a direct economic interest in the procurement. Rex Serv. Corp., 448 F.3d
at 1307.

        In addition to satisfying the “interested party” requirement under section 1491(b)(1), a
protester must show that any alleged errors caused prejudice. See Data Gen. Corp., 78 F.3d at
1562 (“[T]o prevail in a protest the protester must show not only a significant error in the
procurement process, but also that the error prejudiced it.”); Textron, Inc. v. United States, 74
Fed. Cl. 277, 283 (2006) (“[A] successful protestor must also establish that the errors complained


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           The CICA, which “was designed to create a level playing field, upon which all
qualified vendors would have a fair chance to compete for a share of the hundreds of billions of
dollars spent by the Federal Government in procurement each year,” H.R. Rep. 103-545(I), at 21
(1994), defines the term “interested party” as “an actual or prospective bidder or offeror whose
direct economic interest would be affected by the award of the contract or by failure to award the
contract,” 31 U.S.C. § 3551(2)(A) (2006).

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of caused prejudice.”). Therefore, “prejudice (or injury) is a necessary element of standing.”
Myers Investigative & Sec. Servs., Inc., 275 F.3d at 1370.

        Confusion over the standard of prejudice necessary for establishing standing exists
“because, in addition to being an element of standing, a showing of prejudice is required before
injunctive relief is granted.” Textron, Inc., 74 Fed. Cl. at 284; see also Bannum, 404 F.3d at
1351 (requiring that a protester demonstrate a significant and prejudicial error in order to succeed
on the merits); Banknote Corp. of Am., 365 F.3d at 1351 (requiring that the protester show it had
a “substantial chance” of receiving the contract award in order to demonstrate prejudice); cf. Rex
Serv. Corp., 448 F.3d at 1308 (requiring that a putative, prospective bidder establish that it had a
“substantial chance” of receiving the contract as proof of possessing a direct economic interest).
As these cases suggest, the court “looks twice at prejudice, first weighing prejudice as it pertains
to standing, and then more thoroughly weighing prejudice to determine whether plaintiff shall be
afforded relief.” A & D Fire Prot., Inc. v. United States, 72 Fed. Cl. 126, 131 n.4 (2006). Thus,
addressing questions of standing “presupposes discussion of the merits, which would lead the
court in a round-robin through the arguments on the merits in order to resolve a jurisdictional
issue. Such is not a desirable or appropriate procedure.” Textron, Inc., 74 Fed. Cl. at 284-85.

        A prejudice determination for the purpose of evaluating standing is a “limited review”
that seeks “minimum requisite evidence necessary for plaintiff to demonstrate prejudice and
therefore standing.” Night Vision Corp., 68 Fed. Cl. at 392 & n.23; see also L-3 Global
Commc’ns Solutions, Inc., 82 Fed. Cl. at 608 n.4 (explaining that the “first showing of prejudice
to the protestor, in order to prove standing, must occur before reaching the merits of the bid
protest review”). A merits-based determination of actual prejudice based upon the “substantial
chance” test should be separate from the standing inquiry. Textron, Inc., 74 Fed. Cl. at 285. The
court therefore utilizes the approach set forth in Textron, Inc. for assessing standing, which
avoids a merits-based determination of actual prejudice and requires

       only that a protestor be (1) either a bidder or proposer that has been prevented
       from bidding or proposing due to some infraction other than the terms of the
       solicitation itself; or (2) either a bidder or proposer who would be in contention
       absent the unreasonable procurement decision or violation of applicable
       procurement regulations.

Id. The court addresses defendant’s argument that BBSSI lacks standing in Parts IV.A.2.a-c,
infra.

                                      C. Motion to Dismiss

                                        1. RCFC 12(b)(1)

       The court’s “general power to adjudicate in specific areas of substantive law . . . is
properly raised by a [Rule] 12(b)(1) motion.” Palmer v. United States, 168 F.3d 1310, 1313


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(Fed. Cir. 1999). When considering an RCFC 12(b)(1) motion, the burden of establishing the
court’s subject matter jurisdiction resides with the party seeking to invoke it. See McNutt v.
Gen. Motors Acceptance Corp. of Ind., 298 U.S. 178, 189 (1936). The plaintiff “bears the
burden of establishing subject matter jurisdiction by a preponderance of the evidence.” Reynolds
v. Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988). The court must accept as
true the allegations in the plaintiff’s complaint and must construe such facts in the light most
favorable to the plaintiff. See Scheuer v. Rhodes, 416 U.S. 232, 236 (1974), overruled on other
grounds by Harlow v. Fitzgerald, 457 U.S. 800, 814-19 (1982); Reynolds, 846 F.2d at 747. If the
defendant or the court questions jurisdiction, the plaintiff cannot rely solely on allegations in the
complaint but must bring forth relevant, adequate proof to establish jurisdiction. See McNutt,
298 U.S. at 189. In deliberating on a motion to dismiss for lack of subject matter jurisdiction, the
court may examine relevant evidence in order to decide any factual disputes. See Moyer v.
United States, 190 F.3d 1314, 1318 (Fed. Cir. 1999); Reynolds, 846 F.2d at 747. If the court
finds that it lacks subject matter jurisdiction, then it must dismiss the claim. Matthews v. United
States, 72 Fed. Cl. 274, 278 (2006); see also RCFC 12(h)(3) (“Whenever it appears by suggestion
of the parties or otherwise that the court lacks jurisdiction of the subject matter, the court shall
dismiss the action.”).

                                        2. RCFC 12(b)(6)

        An RCFC 12(b)(6) motion tests the sufficiency of a complaint. Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 555-56 (2007); see also RhinoCorps Ltd., 87 Fed. Cl. at 492 (“A motion
made under Rule 12(b)(6) challenges the legal theory of the complaint, not the sufficiency of any
evidence that might be adduced.”). The purpose of RCFC 12(b)(6) “is to allow the court to
eliminate actions that are fatally flawed in their legal premises and destined to fail, and thus to
spare litigants the burdens of unnecessary pretrial and trial activity.” Advanced Cardiovascular
Sys., Inc. v. SciMed Life Sys., Inc., 988 F.2d 1157, 1160 (Fed. Cir. 1993) (citing Neitzke v.
Williams, 490 U.S. 319, 326-27 (1989)). When considering an RCFC 12(b)(6) motion, the court
“must determine ‘whether the claimant is entitled to offer evidence to support the claims,’ not
whether the claimant will ultimately prevail.”58 Chapman Law Firm Co. v. Greenleaf Constr.
Co., 490 F.3d 934, 938 (Fed. Cir. 2007) (quoting Scheuer, 416 U.S. at 236). A failure to allege a
cause of action upon which relief can be granted warrants a judgment on the merits rather than a
dismissal for want of jurisdiction. Litecubes, LLC v. N. Light Prods., Inc., 523 F.3d 1353, 1361
(Fed. Cir. 2008).

        The Supreme Court clarified the degree of specificity with which a plaintiff must plead
facts sufficient to survive a Rule 12(b)(6) motion in Twombly, stating that “a plaintiff’s


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          As in the RCFC 12(b)(1) context, the court, when adjudicating an RCFC 12(b)(6)
motion, “assume[s] all well-pled factual allegations are true and indulge[s] in all reasonable
inferences in favor of the nonmovant.” United Pac. Ins. Co. v. United States, 464 F.3d 1325,
1327-28 (Fed. Cir. 2006) (citations & quotation marks omitted); accord Sommers Oil Co. v.
United States, 241 F.3d 1375, 1378 (Fed. Cir. 2001).

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obligation to provide the grounds of his entitlement to relief requires more than labels and
conclusions, and a formulaic recitation of the elements of a cause of action will not do.” 550
U.S. at 555 (citation & quotation marks omitted). While a complaint need not contain “detailed”
factual allegations, those “[f]actual allegations must be enough to raise a right to relief above the
speculative level . . . .”59 Id. In other words, the complaint must contain “enough facts to state a
claim to relief that is plausible on its face.” Id. at 570.

         A claim has facial plausibility “when the plaintiff pleads factual content that allows the
court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”
Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (citing Twombly, 550 U.S. at 556). This
plausibility standard “asks for more than a sheer possibility that a defendant has acted
unlawfully.” Id. (citing Twombly, 550 U.S. at 556); see also id. (stating that a complaint must
contain “more than an unadorned, the-defendant-unlawfully-harmed-me accusation” (citing
Twombly, 550 U.S. at 555)). Neither allegations “that are ‘merely consistent with’ a defendant’s
liability,” id. (quoting Twombly, 550 U.S. at 557), nor “[t]hreadbare recitals of the elements of a
cause of action, supported by mere conclusory statements,” suffice, id. (citing Twombly, 550
U.S. at 555).

                                 D. Preliminary Injunctive Relief

        Courts “ordinarily refrain from interference with the procurement process . . . .” United
States v. John C. Grimberg Co., 702 F.2d 1362, 1372 (Fed. Cir. 1983). In a bid protest case, the
Tucker Act provides that

       the court may award any relief that the court considers proper, including
       declaratory and injunctive relief[,] except that any monetary relief shall be limited
       to bid preparation and proposal costs.

       [T]he court shall give due regard to the interests of national defense and national
       security and the need for expeditious resolution of the action.

28 U.S.C. § 1491(b)(2)-(3). Preliminary injunctive relief is an extraordinary and drastic remedy,
Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (per curiam), and the decision to grant
injunctive relief falls within the sound discretion of the trial court, FMC Corp. v. United States, 3
F.3d 424, 427 (Fed. Cir. 1993); see also PGBA, LLC v. United States, 389 F.3d 1219, 1225-26
(Fed. Cir.) (determining that the statutory scheme for reviewing procurements “does not deprive
a court of its equitable discretion in deciding whether injunctive relief is appropriate” and
holding that, in a bid protest action, a court is not automatically required to set aside an arbitrary,
capricious, or otherwise unlawful contract award), aff’g 60 Fed. Cl. 196 (2004).


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          In so holding, the Supreme Court determined that the “no set of facts” language set
forth in Conley v. Gibson, 355 U.S. 41, 45 (1957), “earned its retirement.” Twombly, 550 U.S.
at 563.

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        As the Supreme Court acknowledged, a preliminary injunction is designed “merely to
preserve the relative positions of the parties until a trial on the merits can be held.” Univ. of Tex.
v. Camenisch, 451 U.S. 390, 395 (1981). In order to obtain a preliminary injunction, the moving
party must demonstrate that: (1) it has a likelihood of success on the merits;60 (2) it will suffer
irreparable harm if preliminary relief is not granted; (3) the harm it will suffer outweighs the
harm to the government and to third parties; and (4) the grant of relief is not contrary to the
public interest. Four Rivers Invs., Inc. v. United States, 77 Fed. Cl. 592, 594-95 (2007); accord
FMC Corp., 3 F.3d at 427; Chrysler Motors Corp. v. Auto Body Panels of Ohio, Inc., 908 F.2d
951, 952 (Fed. Cir. 1990); Hosp. Klean of Tex., Inc. v. United States, 65 Fed. Cl. 618, 625
(2005). “No one factor, taken individually, is necessarily dispositive . . . . [T]he weakness of the
showing regarding one factor may be overborne by the strength of the others.” FMC Corp., 3
F.3d at 427. Moreover, “equitable factors are of particular significance at the preliminary stage,
where the question is whether to change the position of the parties during the litigation.” Abbott
Labs., 544 F.3d at 1364.

                                         IV. DISCUSSION

        BBSSI asserts, among other things, that the Corps acted arbitrarily and capriciously when
it determined that BBSSI was nonresponsible and ineligible for the JOC award based upon its
submission of BBH’s SOA certificate. Mem. P. & A. Supp. Pl.’s Mot. TRO & Prelim. Inj.
(“Pl.’s Mot.”) 11. Specifically, it argues that the Corps improperly concluded that BBH was
“allegedly ‘attempting to indirectly propose on [the] solicitation through its “affiliate,”
[BBSSI],’” despite the fact that BBSSI represented that “it would perform exclusively with its
own assets and resources, with no reliance upon those of BBH.” Id. (first alteration in original).
According to defendant, injunctive relief is improper because BBSSI “waited to bring its case in
this Court until more than ten weeks after the GAO’s May 13, 2010 decision.” Def.’s Mot.
Dismiss & Opp’n Mot. TRO (“Def.’s Mot.”) 15. Furthermore, defendant contends that BBSSI


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           Although “[t]here is some disagreement on the standard of proof required for
injunctive relief,” see Career Training Concepts, Inc. v. United States, 83 Fed. Cl. 215, 218
(2008), the Federal Circuit recently stated that “[n]o other court has held that when the [party
seeking injunctive relief] has presented a ‘substantial question’ on its side of the dispute–that is,
more than a scintilla but less than a preponderance of evidence in support of its side–no
injunction pendente lite is available.” Abbott Labs. v. Sandoz, Inc., 544 F.3d 1341, 1364 (Fed.
Cir. 2008). The Abbott Laboratories court emphasized that “the standard is the likelihood of
success of the plaintiff at trial, with recognition of the presumptions and burdens.” Id.; see also
id. at 1365 (“The general criterion of likelihood of success on the merits, in the context of the
equities of the particular case, are uniform throughout the regional circuits. . . . [A]ll refer to the
likelihood of the eventual outcome, not whether a substantial question has been raised.”), 1368
(“All of the circuits have placed the preliminary injunction in terms of the likelihood of success
on the merits and equitable factors. No circuit has held that it suffices simply to raise a
‘substantial question.’ Raising a substantial question achieves the threshold required of the well-
pleaded complaint; it does not demonstrate a likelihood of prevailing.”).

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cannot satisfy the requirements necessary for injunctive relief. Id. at 16-31.

        In support of its jurisdictional argument, defendant asserts that dismissal is warranted
because BBSSI failed to comply with the JOC solicitation requirement that it submit its own
SOA certificate and, as a result, BBSSI “cannot challenge any other aspect of the agency’s
decision.” Id. at 1. With regard to Count IV of the complaint, which contests the Corps’
decision to make a single award under the JOC procurement, defendant argues that dismissal is
required because BBSSI lacks standing to pursue that claim. Id. at 1, 26-27. Furthermore,
defendant seeks dismissal of Count VI of the complaint, which alleges a breach of an implied-in-
fact contract, based upon Federal Circuit precedent. Id. at 1, 27-28.

      Before reaching BBSSI’s motion for a preliminary injunction, the court must determine
whether it possesses jurisdiction over the complaint.

                               A. Defendant’s Motion to Dismiss

                      1. Whether BBSSI Engaged in Unreasonable Delay

        First, the court addresses arguments advanced by both defendant and CMR that BBSSI
unreasonably delayed filing its complaint in the Court of Federal Claims after the GAO denied its
protest. Although these arguments relate primarily to whether BBSSI is entitled to injunctive
relief on the basis of an alleged irreparable injury, see, e.g., id. at 15 (asserting that BBSSI’s
request for injunctive relief “should be denied because [it] waited to bring its case in this Court
until more than ten weeks after the GAO’s . . . decision”), they also are jurisdictional insofar as
they are construed in connection with the equitable doctrine of laches, see Pepper v. United
States, 8 Cl. Ct. 666, 671 (1985) (noting that, “for the jurisdictional purposes of this court, laches
takes the form of an affirmative defense”), aff’d, 794 F.2d 1571 (Fed. Cir. 1986). Although
laches must be pled pursuant to RCFC 8(c), the Court of Federal Claims may address laches sua
sponte. Hermes Consol., Inc. v. United States, 58 Fed. Cl. 3, 20 n.21 (2003).

                               a. Standards for a Laches Defense

        Laches is an affirmative defense, Sucesion J. Serralles, Inc. v. United States, 46 Fed. Cl.
773, 783-84 (2000); accord RCFC 8(c)(1), that requires proof of (1) lack of diligence by the party
against whom the defense is asserted, and (2) prejudice to the party asserting the defense,
Costello v. United States, 365 U.S. 265, 282 (1961); see also JANA, Inc. v. United States, 936
F.2d 1265, 1269 (Fed. Cir. 1991) (stating that the defense of laches “requires a showing of two
things: (1) unreasonable and unexcused delay by the claimant, and (2) prejudice to the other
party”); Athey v. United States, 78 Fed. Cl. 157, 160 (2007) (“To prevail on a claim of laches,
the burden lies with the [party asserting the defense] to show an ‘unreasonable’ delay in filing
suit which causes ‘prejudice or injury to the defendant.’” (quoting Poett v. Merit Sys. Prot. Bd.,
360 F.3d 1377, 1384 (Fed. Cir. 2004))); cf. A.C. Aukerman Co. v. R.L. Chaides Constr. Co., 960
F.2d 1020, 1033 (Fed. Cir. 1992) (en banc) (stating that “[m]aterial prejudice . . . resulting from


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the . . . delay is essential to the laches defense”). The doctrine of laches recognizes the necessity
for “speedy vindication or enforcement of rights” and “is based upon considerations of public
policy, which require for the peace of society the discouragement of stale demands.” Alligood v.
United States, 14 Cl. Ct. 11, 15 (1987).

        As an equitable doctrine, laches “differs from the statute of limitations in that it offers the
courts more flexibility, eschewing mechanical rules.” Waddell v. Small Tube Prods., Inc., 799
F.2d 69, 79 (3d Cir. 1986); see also Galliher v. Cadwell, 145 U.S. 368, 373 (1892) (“[L]aches is
not, like limitation, a mere matter of time; but principally a question of the inequity of permitting
the claim to be enforced . . . .”); Pepper, 794 F.2d at 1573 (stating that the doctrine of laches “can
apply ‘apart and irrespective of’ the court’s statute of limitations” (quoting Brundage v. United
States, 504 F.2d 1382, 1384 (Ct. Cl. 1974))). As the court in CW Government Travel, Inc. v.
United States recognized,

        [w]hen a limitation on the period for bringing suit has been set by statute, laches
        will generally not be invoked to shorten the statutory period. Jurisdiction . . . is
        based on 28 U.S.C. § 1491(b), which does not limit the time in which a bid protest
        action may be brought. Had Congress wanted to set a statute of limitations on bid
        protest actions, it would have done so[; however,] Congress did not so limit the
        jurisdiction of this Court to hear such actions . . . .

61 Fed. Cl. 559, 569 (2004). Unlike a statute of limitations defense, laches is “personal to the
particular party[,] . . . must have flexibility in its application[, and a] court must look at all of the
particular facts and circumstances . . . and weigh the equities of the parties.” A.C. Aukerman
Co., 960 F.2d at 1032; see also Cornetta v. United States, 851 F.2d 1372, 1379 (Fed. Cir. 1988)
(“The general rule is that laches . . . must be considered in light of the facts of each case.”).
Therefore, there “are no predetermined exact boundaries to the length of time that are considered
unreasonable by the courts and sufficient to support a laches defense.” Mexican Intermodal
Equip., S.A. de C.V. v. United States, 61 Fed. Cl. 55, 71 (2004); see also A.C. Aukerman Co.,
960 F.2d at 1032 (“The length of time which may be deemed unreasonable has no fixed
boundaries but rather depends on the circumstances.”). Indeed, the court must “consider and
weigh any justification offered by the [party against whom the laches defense is asserted] for its
delay.” A.C. Aukerman Co., 960 F.2d at 1033. Ultimately, application of laches “is committed
to the sound discretion of the district court.” Id. at 1032.

                                     b. The Parties’ Arguments

         Defendant and CMR contend that BBSSI waited too long to file its complaint in the
Court of Federal Claims. See, e.g., Def.’s Reply Supp. Mot. (“Def.’s Reply”) 11 (arguing that
BBSSI failed to explain “why [it] sat on its rights for months”); Def.-Intervenor’s Opp’n Pl.’s
Mot. (“Def.-Intervenor’s Opp’n”) 4 (arguing that seventy-five days after the GAO issued its
decision and sixty-seven days after the stop work order was lifted, BBSSI, “with no explanation
for its extended delay, seeks to enjoy performance of the Contract”). According to defendant,


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BBSSI could have brought its case “immediately after the GAO issued its decision,” thereby
effectuating a more expeditious resolution. Def.’s Mot. 16. Instead, defendant asserts, the
government must defend against injunctive relief that could have been avoided entirely. Id.
CMR advances a similar argument:

       BBSSI has remained inactive for 75 days since [the] GAO denied its protest.
       During the pendency of BBSSI’s delay, ten task orders have been issued and work
       has commenced. If BBSSI accurately portrays the harm it stands to suffer, and its
       viability in Italy is truly dependent upon this Contract, why did it wait so long to
       file its protest? . . . [N]o conceivable legitimate reason exists for BBSSI’s delay.
       BBSSI’s failure to promptly appeal to this Court following [the] GAO’s denial
       evidences the lack of harm BBSSI would suffer.

Def.-Intervenor’s Opp’n 6.

        In response, BBSSI asserts that the GAO did not publicly release its decision until June
18, 2010, more than five weeks after the initial denial date. Pl.’s Revised Mem. P. & A. Reply
Def.’s Opp’n Pl.’s Mot. & Opp’n Def.’s Mot. (“Pl.’s Reply”) 17. Although it was aware of the
GAO’s decision on May 13, 2010, BBSSI emphasizes that it could not evaluate the substantive
issues contained therein until after a public version was issued. Id. at 18. A review of the
redacted GAO decision prior to filing its protest in the Court of Federal Claims was, according to
BBSSI, critical to its assessment.61 Id. BBSSI also details its counsel’s numerous attempts
throughout July 2010 to communicate with counsel for the Corps in an effort to propose
corrective action. See id. It adds:

       BBSSI did not sleep on its rights. It patiently awaited the GAO’s full disposition
       and release of a public decision memorializing the rationale. Following receipt of
       the decision, as the preparation of pleadings progressed, counsel to BBSSI
       reached out to Agency counsel in a hopeful attempt to resolve the matter without
       further litigation. When it became apparent such was not possible, BBSSI
       diligently completed the pleadings and filed the protest with the Court.

Id. But see Def.’s Reply 11 (“[I]t was BBSSI’s choice not to file its case until the end of July.
BBSSI’s assertion that it was merely acting ‘patiently’ is precisely the point–a party cannot
‘patiently’ sit on its rights for months and then seek a temporary restraining order.”).


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            Defendant disputes BBSSI’s contention that it did not have access to the GAO’s
decision, noting that the GAO’s protected version of its decision had been sent to the parties via
facsimile on May 13, 2010. Def.’s Reply 10. The redacted version of the GAO’s decision, dated
June 17, 2010, ultimately was “identical to the protected version faxed to the parties on May 13[,
2010] . . . .” Pl.’s App. 380. Nevertheless, the June 17, 2010 redacted version could not be
released outside the terms of the protective order until the close of business the following day.
Id.

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                           c. BBSSI’s Delay Was Not Unreasonable

         The court is not persuaded that BBSSI, by waiting to file its complaint until July 26,
2010, engaged in unreasonable delay. First, notwithstanding defendant’s contention that “any
confidential materials discussed in the GAO’s opinion involved BBSSI’s own proprietary
information and, in fact, the redacted version ended up being identical to the protected version,”
Def.’s Reply 10, the protective order in place during proceedings before the GAO precluded
dissemination of the May 13, 2010 decision to BBSSI until June 18, 2010, see supra note 61. In
effect, counsel was unable to convey the substance of the GAO decision to BBSSI until the latter
date. Defendant’s argument therefore benefits solely from hindsight and ignores the fact that
none of the parties could anticipate what information, if any, would be redacted from the public
version of the GAO’s decision as of May 13, 2010.62

        Second, neither defendant nor CMR has presented any evidence that calls into question
BBSSI’s diligence in asserting its rights. According to BBSSI, ten weeks, standing alone, is not
an unreasonable amount of time to file a bid protest at the Court of Federal Claims, see Oral
Argument at 3:37:15-25, and the court agrees. There exists no firm line of demarcation
separating a reasonable delay from an unreasonable delay,63 see A.C. Aukerman Co., 960 F.2d at
1032, and courts are cognizant of the realities presented by litigation. To that end, negotiations
between the parties, as well as the composition of briefs and assembly of supporting
documentation, have been recognized as legitimate excuses for a delay in filing suit. See, e.g.,
Global Computer Enters., Inc. v. United States, 88 Fed. Cl. 350, 423 (2009) (recognizing that
“voluminous filings cannot be drafted and assembled overnight”); LaForge & Budd Constr. Co.
v. United States, 48 Fed. Cl. 566, 571 (2001) (noting that negotiations between the parties may
be a reasonable excuse for delay (citing Baker Mfg. Co. v. Whitewater Mfg. Co., 430 F.2d 1008,
1013-14 (7th Cir. 1970))). In the intervening period of time spanning the release of the GAO’s
public decision on June 18, 2010, and July 26, 2010, BBSSI sought to negotiate a resolution of
this dispute prior to filing its complaint, and the volume of its filings required time to assemble.
A period of one month cannot be construed as unreasonable delay under the circumstances
presented here.



       62
          Indeed, BBSSI represented that the parties engaged in a “back and forth exchange”
concerning redactions between May 13, 2010, and June 17, 2010. Oral Argument at 3:38:18-24;
see also Compl. ¶ 53 (indicating that, “due to the GAO’s adjudication of proposed redactions and
one substantive issue regarding the language of the decision, the public version was not
authorized to be released until after the close of business on Friday, June 18, 2010”).
       63
          There are, of course, exceptions. For example, the CW Government Travel, Inc. court
observed that, “[i]n the context of a bid protest, 14 months is a lifetime.” 61 Fed. Cl. at 569.
Although the court determined that fourteen months constituted an “unreasonable delay,” it
concluded that laches was inapplicable because the government and the contract awardee failed
to demonstrate prejudice stemming from the protester’s delay. See id.

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        Moreover, neither defendant nor CMR has demonstrated any prejudice resulting from
BBSSI’s delay. Defendant merely asserts that BBSSI’s delay placed it in the position of
defending against a temporary restraining order “that might well have been avoided.” Def.’s
Mot. 16. Such an assertion does not constitute prejudice. See, e.g., Vineberg v. Bissonnette, 529
F. Supp. 2d 300, 311 (D.R.I. 2007) (acknowledging that the court “‘cannot say that the expense
and inconvenience of further litigation, without more, rises to the level of prejudice contemplated
by the doctrine of laches’” (quoting Lin Ron, Inc. v. Mann’s World of Arts & Crafts Inc., 624
P.2d 1343, 1345 (Colo. Ct. App. 1981))), aff’d, 548 F.3d 50 (1st Cir. 2008); see also Goodman v.
McDonnell Douglas Corp., 606 F.2d 800, 808 (8th Cir. 1979) (rejecting the argument that “the
cost of litigation . . . by itself could constitute prejudice within the contemplation of a laches
defense”); Jeffers v. Clinton, 730 F. Supp. 196, 203 (E.D. Ark. 1989) (observing that any
“expense, trouble, and disruption . . . would have occurred whenever the suit was filed”), aff’d,
498 U.S. 1019 (1991). Accordingly, the court concludes that any jurisdictional attack based upon
BBSSI’s delay in filing its complaint lacks merit.

                            2. Whether BBSSI Possesses Standing

a. Defendant Has Not Demonstrated That any SOA Certificate Deficiencies Could Not Be
                                     Cured

       Defendant contends that BBSSI lacks standing to bring its protest because it failed to
submit an SOA certificate “demonstrating that it has the technical and organizational capabilities
and economic and financial standing to complete the contract at issue.” Def.’s Mot. 3. Instead,
defendant argues, BBSSI “first submitted an SOA [certificate] in its own name that was expired.
Then BBSSI submitted an SOA [certificate] in the name of a company–[BBH]–that was
debarred.” Id.; see also id. at 16 (arguing that BBSSI’s failure to provide its own SOA certificate
rendered it “not qualified to submit an offer”). The Corps raised this argument before the GAO:

       •               BBSSI submitted an expired SOA certificate with an expiration
               date of 15 January 2009, and was not qualified under Italian Law [number]
               34/2000 to offer on this solicitation and did not meet the prequalification
               requirements prescribed in the presolicitation notice with the presentation
               of an expired SOA certificate.

       •               The [Corps] erroneously provided a solicitation to BBSSI on 12
               May 2009 by failing to notice the expiration date of the SOA [certificate].
               In addition, contributing to the [Corps’] error, was BBSSI’s submission of
               the expired SOA contrary to the presolicitation notice [and] its failure to
               alert the Agency of the expired SOA [certificate]. Moreover, Italian Law
               [number] 34/2000 also requires companies to only offer on solicitations
               for which they are qualified.

Pl.’s Mem. Ex. 2 at 2 (citation omitted); accord Def.’s Mot. 16-17 (“While the Corps erred in


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providing a copy of the solicitation to an offeror who was not qualified to propose on the
solicitation, the fact remains that BBSSI did not meet this prequalification requirement and did
not meet the requirement of the solicitation. Given this fact, it lacks standing . . . .”). The GAO
did not address whether BBSSI lacked standing to bring its protest. Reaching the merits of the
protest, the GAO concluded that Mr. Wickham’s determination that BBSSI was nonresponsible
based upon its use of BBH’s SOA certificate was reasonable.64 Pl.’s App. 384-86.

         Defendant relies upon A & D Fire Protection, Inc. and Dismas Charities, Inc. in support
of its standing argument.65 In A & D Fire Protection, Inc., the General Services Administration
(“GSA”) issued a solicitation that required the submission of a bid bond via mail or hand-
delivery and explicitly prohibited submission via facsimile or electronic-mail.66 72 Fed. Cl. at
137. Offerors were advised that their failure to submit a bid bond could result in the rejection of
their proposals. Id. (citing 48 C.F.R. § 52.228-1(a) (2005), which was incorporated by reference
into the solicitation). The court observed that A & D’s proposal, as reproduced within the
administrative record, contained no bid bond, id., though the GSA ultimately scored the proposal
and considered A & D a potential awardee, id. at 140. In addition to arguing that the FASA
barred A & D’s protest, the government asserted that A & D lacked standing to bring the protest
because its failure to submit a bid bond in accordance with the solicitation’s requirements
rendered its proposal nonresponsive. Id. at 137.




       64
           The fact that the GAO reached the merits of BBSSI’s protest without addressing
standing is of no consequence since GAO opinions are not binding on the court. See Thompson
v. Cherokee Nation of Okla., 334 F.3d 1075, 1084 (Fed. Cir. 2003); Tel-Instrument Elecs. Corp.
v. United States, 56 Fed. Cl. 174, 177 n.2 (2003). Indeed, the court in Dismas Charities, Inc. v.
United States rejected the protester’s contention that it possessed standing to bring its case before
the Court of Federal Claims simply because the GAO decided its protest on the merits. 75 Fed.
Cl. 59, 60 n.2 (2007).
       65
           Prior decisions of the Court of Federal Claims, “while persuasive, do not set binding
precedent for separate and distinct cases” in the Court of Federal Claims. W. Coast Gen. Corp.
v. Dalton, 39 F.3d 312, 315 (Fed. Cir. 1994).
       66
           As an initial matter, the court notes that the A & D Fire Protection, Inc. court, before
reaching the government’s standing argument, determined that the Federal Acquisition
Streamlining Act of 1994 (“FASA”), Pub. L. No. 103-355, § 1054, 108 Stat. 3243 (1994)
(codified at 41 U.S.C. § 253j(d) (2006)), divested the court of jurisdiction over protests of task
orders for multiple award IDIQ contracts. See 72 Fed. Cl. at 133-36. It also concluded that
jurisdiction could not be established under the Tucker Act and the Contract Disputes Act of
1978, 41 U.S.C. § 609(a)(1), because A & D Fire Protection, Inc. (“A & D”) did not allege that a
contract claim had been submitted to the contracting officer, A & D Fire Prot., Inc., 72 Fed. Cl. at
135.

                                                 63
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        The court determined that A & D lacked standing to bring the protest. Id. First, it
explained that the record was devoid of any evidence showing that the GSA received a bid bond
from A & D.67 Id. at 139. It explained that a failure to submit a bid bond, regardless of whether
by facsimile, mail, or hand-delivery, would render A & D’s proposal nonresponsive. Id. at 137.
Submission of a bid bond via facsimile would render A & D’s proposal nonresponsive because
“[p]roposals submitted by means forbidden by a solicitation’s terms must be rejected . . . .” Id. at
139. Moreover, mailing or hand-delivering a facsimile of the bid bond would “not normally have
been an adequate substitute for an original bond” and would also render A & D’s bid
nonresponsive.68 Id. at 138; accord id. at 140 (“Thus, even if A & D did fax a bid bond to [the]
GSA, A & D’s bid was nonresponsive for lack of a bid bond.”). Nevertheless, the court noted
that defective bid bonds could be corrected under certain circumstances, explaining:

       [I]f A & D had timely mailed or hand-delivered a facsimile bid bond to [the]
       GSA, utilizing a submission method approved by the solicitation, and if the bid
       bond thus submitted was arguably merely defective and subject to correction . . . ,
       the court would have been required to review the circumstances of the solicitation
       to see if the defect could have been cured.

               . . . If A & D’s mailed or hand-delivered facsimile bid bond would
       necessarily have been rejected as nonresponsive, A & D would have lacked
       standing to bring a bid protest. If A & D’s mailed or hand-delivered facsimile bid
       bond might have been subject to correction, on the other hand, A & D’s standing
       to bring a bid protest would have been unaffected by the bid bond issue.

Id. at 138 n.13 (citing 48 C.F.R. § 28.101-4(b)). Since A & D did not submit any bid bond, it
lacked standing to bring the protest. Id. at 140.

       Furthermore, the court explained that it was “of no consequence” that the GSA scored
and rescored A & D’s bid during the procurement process. Id. It observed: “Even where an
agency has awarded a contract, the successful bidder may lose the contract if its bid bond is
found to be defective during subsequent protest proceedings.” Id. (citing Hugo Key & Son, Inc.;


       67
            Circumstantial evidence suggested that A & D submitted a bid bond via facsimile.
A & D Fire Prot., Inc., 74 Fed. Cl. at 137. Nevertheless, A & D presented “no evidence” to
substantiate that a bid bond had, in fact, been sent to the GSA via facsimile before the deadline
set forth in the solicitation. Id.; see also id. at 139 (noting that “the record does not support
A & D’s assertion that a faxed bid bond was timely sent to [the] GSA, [and] there is a similar
lack of evidence from [the] GSA showing that no faxed bid bond was received”).
       68
           Bid bonds, the court explained, “are normally required to be submitted as original
documents” because doing so “assure[s] that the surety will not be able to defend against
enforcement of the bond in the possession of the contracting officer by claiming that alterations
of the original bond have occurred.” A & D Fire Prot., Inc., 72 Fed. Cl. at 140 n.14.

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Alco Envtl. Servs., Inc., B-251,053 et al., 93-2 CPD ¶ 21 (Comp. Gen. July 15, 1993)). A & D
lacked standing to bring its protest, the court concluded, because it did not have a substantial
chance of being awarded the task order due to (1) its failure to submit a bid bond with its
proposal, or (2) its submission of a bid bond to the GSA via facsimile, which was a method not
authorized under the terms of the solicitation.69 Id.

        In Dismas Charities, Inc., the Federal Bureau of Prisons (“BOP”) issued a solicitation for
a residential center and related services to which Dismas Charities, Inc. (“Dismas”) and two other
offerors submitted proposals. 75 Fed. Cl. at 60. Although “none of the offerors had met all of
the solicitation requirements,” the contracting officer commenced written discussions with each
offeror and later conducted a second round of discussions. Id. The contracting officer then
requested final proposal revisions that included the submission of a 120-day start-up schedule
between contract award and performance. Id. at 60-61. In its final proposal revision, Dismas
expressed concern about the effect of recent hurricane activity upon construction in the
southeastern United States and provided a “revised development schedule and critical path
schedule reflecting a 240-day start-up period from contract award to performance. Id. at 61. The
BOP determined that another proposal was the best value to the government, Dismas filed a
protest with the GAO, and the GAO upheld the contract award in a decision on the merits. Id. at
60-61. Dismas then filed a protest with the Court of Federal Claims. Id. at 60.

        The government moved to dismiss Dismas’s protest, contending that Dismas was not an
interested party. Id. at 59. Specifically, both it and the contract awardee asserted that Dismas
submitted a noncompliant proposal by including a 240-day development schedule. Id. at 61.
Although the court acknowledged that the BOP evaluated Dismas’s proposal “on the merits” and
“never explicitly stated that it did not comply with the solicitation,”70 id., it determined that
Dismas did not submit its 240-day schedule as an alternative proposal, id. at 61-62. Relying
upon the reasoning set forth in A & D Fire Protection, Inc., the court concluded that Dismas, by
submitting a 240-day start-up schedule instead of a 120-day start-up schedule, “did not meet a
fundamental requirement of the solicitation . . . .” Id. at 62. Since Dismas “submitted a Final
Proposal Revision that did not conform to the solicitation requirements,” the court dismissed the
protest, holding that Dismas “did not have a substantial chance of contract award and cannot be
an ‘interested party’ for purposes of this Court’s bid protest jurisdiction.” Id.



       69
           Although A & D lacked a substantial chance of being awarded the task order based
upon its failure to submit a bid bond, the court noted that the GSA ranked its proposal fourth out
of the five proposals that the GSA received. A & D Fire Prot., Inc., 72 Fed. Cl. at 129.
       70
           The source selection decision indicated that all offerors’ responses were “‘reviewed
and determined to be acceptable’” and that Dismas “‘met the minimum requirements.’” Dismas
Charities, Inc., 75 Fed. Cl. at 61. Furthermore, the BOP’s post-award debriefing letter noted that
Dismas’ proposal “also met the requirements of the solicitation in every factor of the
solicitation . . . .” Id.

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        Defendant’s reliance upon both cases is misplaced. With respect to Dismas Charities,
Inc., the BOP’s request for proposals expressly required that offerors include a 120-day start-up
schedule. Dismas did not submit such a schedule. Instead, it submitted a 240-day start-up
schedule that “‘would extend beyond the required performance date.’” Id. at 62. No such
situation is present in this case. Although defendant argues that the JOC solicitation required
that offerors submit an SOA certificate in their own name, its interpretation of the SOA
certificate requirement, as discussed in Part IV.A.2.b, infra, is not supported by the plain
language of the JOC solicitation. Moreover, whereas Dismas submitted a schedule that was
longer in duration than the schedule required by the BOP, BBSSI ultimately submitted an SOA
certificate as required under the JOC solicitation. Accordingly, Dismas Charities, Inc. is
inapposite.

         Likewise, A & D Fire Protection, Inc., which the Dismas Charities, Inc. court found
persuasive, is factually distinguishable from the case at bar. First, A & D Fire Protection, Inc.
involved an offeror’s complete failure to include a bid bond with its proposal. Evidence
suggested that A & D never submitted the required bid bond to the GSA. To the extent that
A & D did, in fact, submit a bid bond, it did so via facsimile, a method expressly not authorized
under the terms of the solicitation. Here, defendant never argues that BBSSI failed to submit an
SOA certificate. It is undisputed that BBSSI submitted BBAG’s SOA certificate with its original
proposal. See Pl.’s App. 259. That SOA certificate, however, was expired, an apparent
oversight that the Corps itself did not immediately notice. See Pl.’s Mem. Ex. 2 at 2 (noting that
the Corps erred in failing to discover the expired SOA certificate). Thereafter, BBSSI submitted
BBH’s SOA certificate. See Pl.’s App. 260. Although defendant challenges BBSSI’s ability to
submit BBH’s SOA certificate as part of its proposal, see Def.’s Reply 7 (“BBSSI relied upon the
certification of a debarred contractor[,] mean[ing] that it failed to comply with the plain language
of the solicitation”), the fact remains that BBSSI provided an SOA certificate with its proposal,
as required under the JOC solicitation, see infra Part IV.A.2.b. As such, A & D Fire Protection,
Inc. is not applicable.

        Second, defendant does not explain how the bid bond requirement in the A & D Fire
Protection, Inc. procurement is analogous to the SOA certificate requirement in the JOC
solicitation. Bid bonds are a “material part of the bid and must be furnished with it” when
required by a solicitation, and it has been recognized that “[n]oncompliance with a solicitation
requirement for a bid guarantee generally renders the bid nonresponsive and requires the
rejection of the bid.” Harris Excavating, B-284,820, 2000 CPD ¶ 103 (Comp. Gen. June 12,
2000) (emphasis added). Bid bonds are expressly addressed in FAR Subpart 28.1. See 48 C.F.R.
§§ 28.101-1 to -4. Notwithstanding the importance of a bid bond, an offeror may be afforded an
opportunity to correct a deficient bid bond without an agency rendering its proposal
nonresponsive. See id. § 15.306(a)(2). Defendant’s reading of A & D Fire Protection, Inc. all
but ignores the court’s recognition that a defective bid bond, if submitted with a proposal in
accordance with the solicitation’s requirements, may ultimately be cured.




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        Furthermore, while the JOC solicitation specified that an offeror’s failure to furnish any
required documents, including an SOA certificate, “may be cause for elimination” of the
proposal,71 Pl.’s App. 42 (emphasis added); cf. A & D Fire Prot., Inc., 72 Fed. Cl. at 137 (noting
that the solicitation incorporated by reference FAR 52.228-1, which provided that “[f]ailure to
furnish a bid guarantee in the proper form and amount, by the time set for opening of bids, may
be cause for rejection of the bid” (emphasis added)), it also indicated that offerors might have an
opportunity to clarify their submissions. Specifically, the JOC solicitation provided: “Firms must
furnish any additional back-up documentation requested by the contracting officer within the
time period specified by the Contracting Officer.” Pl.’s App. 42 (emphasis added). In the event
that submission of an SOA certificate–or any other portion of an offeror’s proposal–presented an
issue, the contracting officer was authorized under the terms of the JOC solicitation to request
additional information. Indeed, it is apparent that BBSSI corrected the expired SOA certificate
by submitting BBH’s SOA certificate with its proposal. The Corps ultimately considered
BBSSI’s proposal based upon its submission of BBH’s SOA certificate.72 See Pl.’s App. 290
(noting that, in “early September 2009, it was noticed that [BBSSI] was submitting their required
SOA for this contract in the name of [BBH]”). Therefore, defendant’s suggestion that BBSSI
was nonresponsive because it could never cure a deficient SOA certificate finds no support
within the JOC solicitation.73 Moreover, defendant acknowledges that the Corps offered BBSSI
an opportunity to cure an apparently deficient SOA certificate, though it contends that the defect
was BBSSI’s use of BBH’s SOA certificate, not its submission of the original, expired SOA
certificate issued in BBAG’s name during the prequalification stage. See Def.’s Reply 6
(acknowledging that the Corps “did not initially reject BBSSI’s proposal but instead gave it an
opportunity to cure the proposal”).

        BBSSI also contends that the Corps “waived any post hoc claim that BBSSI was
ineligible for award” when it accepted the expired BBAG SOA certificate for prequalification


       71
          Use of the permissive term “may” connotes discretion, whereas “shall” connotes
mandatory language. Andersen Consulting v. United States, 949 F.2d 929, 932 (Fed. Cir. 1992).
Therefore, the JOC solicitation did not require that the Corps reject an offeror’s proposal based
upon a failure to submit an SOA certificate.
       72
          On December 4, 2009, Mr. Wickham determined that BBSSI, together with CMR,
Pavan, and SKE, “[had] a reasonable chance of being selected for award and [was] therefore
recommended for inclusion in the Competitive Range.” Pl.’s App. 154. Defendant
acknowledges that the Corps initially found BBSSI’s proposal responsive. Def.’s Mot. 17. It
was not until after the Corps obtained and interpreted Dr. Cosmelli’s legal opinion that it found
BBSSI nonresponsible and ineligible for the JOC award. See Pl.’s App. 290-91; infra Part
IV.B.1.
       73
           By contrast, A & D could not correct any bid bond deficiency because it either
submitted no bid bond at all or submitted a bid bond via a method expressly disallowed under the
terms of the solicitation. A & D Fire Prot., Inc., 72 Fed. Cl. at 140.

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purposes and provided the JOC solicitation to BBSSI. Pl.’s Reply 28. Defendant argues that the
Corps never waived the SOA certificate requirement. Def.’s Reply 6. The court rejects the
contention that the Corps waived the SOA certificate requirement contained in the JOC
solicitation. A distinction, however, must be made between materials submitted during a
prequalification stage and while bidding remains open. During the prequalification stage, the
Corps accepted BBSSI’s submission of the expired BBAG SOA certificate prior to the release of
the JOC solicitation and furnished BBSSI with a copy of the solicitation. Its acceptance of
BBSSI’s submission at that time was unrelated to BBSSI’s proposal, which had not yet been
submitted. Therefore, BBSSI’s submission of an expired BBAG SOA certificate during the
prequalification stage cannot serve as the basis for the Corps’ later determination that BBSSI’s
proposal, which was submitted in response to the JOC solicitation, was nonresponsible. See
Veterans Constr. of S.C., LLC, B-401723.2, 2010 CPD ¶ 36 (Comp. Gen. Jan. 21, 2010)
(explaining that “the failure of a bidder to include completed standard representations and
certifications with its bid does not render the bid nonresponsive because it does not affect the
bidder’s material obligation” and indicating that “the failure of a bidder under a small business
set-aside to provide a properly executed certification of small business status with its bid is
normally waivable and the appropriate representation may be made after bid opening because it
pertains only to the bidder’s status and eligibility for award, not to the firm’s commitment to
provide the required service”); Star Elec. Co., B-181042, 74-2 CPD ¶ 75 (Comp. Gen. Aug. 2,
1974) (rejecting a protester’s argument that a bidder’s proposal was nonresponsive based upon
the bidder’s failure to submit prequalification information, indicating that “the failure of the
bidder to submit data in accordance with the solicitation’s data submission requirements is not
fatal to the consideration of its bid, inasmuch as a bidder’s capacity or responsibility may be
determined on the basis of information submitted after the bid opening” and explaining that a
“failure to submit data concerning bidder responsibility may be waived even where the
solicitation warns that the failure to conform may result in bid rejection”).

 b. The Solicitation Did Not Require an Offeror to Submit an SOA Certificate in Its Own
                                         Name

        Defendant’s reliance upon A & D Fire Protection, Inc. is based upon the presumption that
BBSSI, like A & D, “fail[ed] to submit a requirement of the solicitation . . . .” Def.’s Reply 5.
According to defendant, BBSSI failed to comply with the JOC solicitation because the
solicitation “makes clear, in a number of places, that BBSSI was required to submit its own valid
SOA” certificate. Id. at 3 (emphasis added). Defendant elaborates:

       BBSSI did not submit its SOA [certificate]–it submitted the SOA [certificate] of
       another company, indeed a debarred company. BBSSI fails to cite any provision
       of the solicitation that allows it to submit an SOA [certificate] from another
       company, let alone a debarred company. For the Corps to have permitted BBSSI
       to rely on BBH’s SOA [certificate] would have made a mockery of the SOA
       [certificate] requirement.



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Id. at 4; see also Def.’s Mot. 17 (arguing that BBSSI’s reliance upon an SOA certificate from a
debarred contractor evidences its failure to comply with the solicitation).

        None of the provisions defendant cites supports its interpretation of the SOA certificate
requirement under the JOC solicitation. First, each offeror was required to submit, as part of its
proposal package, “S.O.A.s–Qualifications of Firms Pursuant to Italian Decree DPR 00/34
(Decreto Del Presidente Della Republica, January 25, 2000, No. 34).” Pl.’s App. 15, 21.
Although this provision required that an offeror furnish an SOA certificate, it was wholly silent
as to whether the SOA certificate must be in that offeror’s name. Second, as noted in Part I.A.3,
supra, offerors were required to submit the following:

       b.      A copy of ALL of the following Societa Organismi D’Attestazione
               (S.O.A.) Certifications, which have been established for this solicitation:

               Prevailing Category of Work: CONTRACTOR QUALIFICATIONS

               Offerors shall be qualified in accordance with [D.P.R.] 34 of 25 Jan 2000,
               REGULATIONS FOR THE QUALIFICATIONS CONSTRUCTION [OF]
               FIRMS IN ITALY, IAW Legislative Decree 12 April 06 u. 163, the “De
               Lise Code” and subsequent amendments as follows:

               Class IV € 2.582.284.

               OG 1 Edifici Civili e Industriali
               Civil and Industrial Buildings

       c.      Contractors must comply with the following:
               Art. 38 of the De Lise Code as follows:

               •       Self certify they meet the requirements of Art. 38;
               •       Submit the “Documento Unico di Regolaritá Contributiva”
                       pursuant to Art. 2 of Legislative Decree [number] 210/2002
                       concerted into law n. 266/2002, which embodies the relevant
                       statements from INPS and INAIL;
               •       Submit a copy of the “Casellario Guidiziario” Certificate for each
                       member of the company.
       d.      If the potential Offeror is a joint venture, the joint venture members shall
               demonstrate how the joint venture team meets the S.O.A. certification
               requirements as stated in Paragraph 2, JOINT VENTURES.

Pl.’s App. 104-05. Again, this provision required that an offeror submit an SOA certificate for
the type of work encompassed within the JOC solicitation, and it did not address whether the
SOA certificate must be in the offeror’s name. Third, the JOC solicitation provided that, with


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respect to the SOA certificate, offerors “must comply with the requirements of D.P.R. [number]
34 of 25 January 2000 and subsequent amendments.” Id. at 42. Once again, this provision did
not indicate whether an SOA certificate must be in the offeror’s name. It merely required that
each offeror comply with applicable Italian Code provisions.

       Fourth, the JOC solicitation provided:

       If this project is valued at over Euro 150,000[,] offerors must provide their S.O.A.
       reflecting eligibility to bid on the work solicited, by work qualification and
       classification. The prevailing work categories and classification are described in
       the pre-solicitation notice and in this solicitation. These work categories and
       classifications will also be described in individual task order requests for
       proposal[,] and the S.O.A. demonstrating eligibility will be required to be
       submitted with the task order proposal.

Id. at 43 (emphasis added). Defendant focuses upon the word “their,” which it contends makes
clear that BBSSI must submit an SOA certificate in its own name. The court disagrees. The
word “their” has been defined as “used of a thing with which a number of persons have to do,”
17 Oxford Dictionary 888 (2d ed. 1989), or “that they have to do with or are supposed to possess
or to have knowledge or a share of or some special interest in,” Webster’s Third New
International Dictionary 2370 (2002). The clause “must provide their S.O.A.” did not compel an
offeror to submit an SOA certificate in its name. Indeed, a plausible reading of this provision
indicates that “their” generally referred to the SOA certificate–reflecting the offeror’s eligibility
to compete for the JOC solicitation–that is submitted with each proposal. It did not preclude an
offeror from furnishing an SOA certificate that was issued in another company’s name as part of
its proposal.

        Indeed, the JOC solicitation’s joint venture provisions support a broader reading of the
word “their” than defendant advances. Pl.’s App. 16-17. The JOC solicitation expressly
permitted an offeror that was part of a joint venture to submit a proposal. If an offeror submitted
a proposal as part of a joint venture, then it was required, among other things, to (1) identify the
companies that comprised the joint venture, (2) describe the division of work that would be
performed by each member of the joint venture, and (3) indicate “how the joint venture meets the
S.O.A. certification requirements of this solicitation[.]” Id. at 17-18; see also id. at 18 (stating
that the “joint venture team” must satisfy the SOA certificate requirements). These requirements
included providing SOA certifications that demonstrated qualification under the Italian Code to
perform projects in general category OG1 (civil and industrial buildings) and that fell within
classification IV for work valued at up to € 2,582,284. Pl.’s App. 17; supra note 17. Although
the JOC solicitation may have contemplated the submission of multiple SOA certificates where
an offeror was part of a joint venture team in order to demonstrate how the team satisfied the
SOA certificate requirements, it did not explicitly require that any SOA certificate submitted by
an offeror proposing as part of a joint venture team be issued in the offeror’s name or the name of



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any particular joint venture team member.74

        Finally, defendant’s interpretation of the JOC solicitation’s SOA certificate provisions
ignores the availability of avvalimento infra-gruppo, which is codified under the Italian Code.
As Dr. Cosmelli explained, Article 49 of the Italian Code authorizes an offeror to utilize an SOA
certificate from a third party, and, according to Dr. Cosmelli, an offeror need not furnish an SOA
certificate in its own name. See Pl.’s App. 267 (noting that an offeror must produce “its own
SOA certificate, if any, and the SOA certificate from the company providing the necessary
resources” (emphasis added)). Thus, it would appear that avvalimento infra-gruppo enables an
offeror to submit an SOA certificate in the name of another company if certain requirements are
satisfied under the Italian Code. Significantly, nothing in the JOC solicitation prohibited an
offeror from utilizing avvalimento infra-gruppo to submit an SOA certificate in the name of the
other company with which it engaged in avvalimento infra-gruppo.

       Dr. Cosmelli indicated that an offeror could submit an SOA certificate from another
company via avvalimento infra-gruppo. BBSSI alleges that the Corps accepted its submission of
BBH’s SOA certificate as part of its proposals for other United States government contracts. See
Compl. ¶¶ 57-61 (alleging that BBSSI received one of four Italy MATOC awards from the Corps
after BBSSI submitted BBH’s SOA certificate with its proposal). The issue here is whether the
Corps acted reasonably when it determined that BBSSI was nonresponsible and ineligible for the
JOC award based upon its use of BBH’s SOA certificate, through avvalimento infra-gruppo,
while BBH was on the EPLS.

        In short, the JOC solicitation did not require that an offeror submit an SOA certificate in
its own name. Furthermore, it did not prohibit an offeror from utilizing avvalimento infra-
gruppo, a practice permitted under the Italian Code, to submit an SOA certificate in the name of
another company. Therefore, defendant’s contention that BBSSI lacks standing because it
submitted BBH’s SOA certificate in lieu of an SOA certificate in its own name is not supported
by the plain language of the JOC solicitation.




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           Two companies might comprise a joint venture team, and the JOC solicitation offered
the following example of division of work responsibilities under such a scenario: “Firm A
performing 70% of OG-1, Firm B performing 30% of OG-1.” Pl.’s App. 17. It required that the
team satisfy the SOA certificate requirements. Therefore, the offeror could conceivably submit
two SOA certificates: one utilized by the offeror and one utilized by the second team member.
The JOC solicitation did not require that these SOA certificates be issued in the name of each
joint venture team member. Indeed, as discussed below, nothing in the JOC solicitation
precluded an offeror–or a joint venture team member–from utilizing avvalimento infra-gruppo
under the Italian Code to satisfy the SOA certificate requirement.

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 c. Absent the Alleged Procurement Error, BBSSI Would Have Had a Substantial Chance
                              of Receiving the JOC Award

        Defendant’s standing argument is ultimately dependent upon its interpretation of Italian
law. According to defendant, “the mere fact that BBSSI relied upon the certification of a
debarred contractor means that it failed to comply with the plain language of the solicitation and
its case should be dismissed.” Def.’s Mot. 17-18. As explained above, the plain language of the
JOC solicitation does not support defendant’s position. Moreover, defendant asserts that
BBSSI’s reliance upon BBH’s SOA certificate “provides ample evidence that BBSSI, in fact, did
not have the resources necessary to obtain the required SOA and would be relying on the
resources of BBH.” Id. at 18-19. Yet, this position is contrary to Mr. Wickham’s December 4,
2009 determination that BBSSI’s proposal was responsive and that BBSSI had a reasonable
chance of being selected for the JOC award. Pl.’s App. 154.

       Furthermore, BBSSI alleges that the Corps improperly interpreted Dr. Cosmelli’s opinion
and adopted a “fundamentally-flawed position,” Compl. ¶ 7, viz., that BBSSI, by submitting
BBH’s SOA certificate with its proposal, was obligated to utilize BBH’s personnel and resources
during contract performance, id. ¶ 6. Specifically, BBSSI claims that the Corps

       capriciously determined that BBSSI [was] ineligible for award as a matter of U.S.
       law because, under the [Corps’] unsupportable reading of the Italian legal opinion,
       BBSSI must use BBH to perform the JOC. Because BBH was debarred under
       U.S. law at the time, the [Corps] determined that BBSSI was not responsible for
       proposing to perform with resources and personnel of a debarred firm.

Id. ¶ 7. Mr. Wickham initially determined that BBSSI’s proposal presented the best value to the
government. Pl.’s App. 289. However, Mr. Wickham, after interpreting Dr. Cosmelli’s opinion,
ultimately concluded that BBSSI was not a responsible offeror. Id. at 291 (noting that Dr.
Cosmelli “advis[ed] [the Corps] that use of the [BBH] SOA [certificate] would indicate a
relationship between the firms” in which BBSSI “must make use of [BBH’s] technical and
financial resources”). The interpretation and application of Dr. Cosmelli’s opinion by the Corps
is the allegedly arbitrary and capricious agency action that BBSSI protests in this case.

         BBSSI must establish that it has standing to bring its protest by showing that it was an
actual offeror whose direct economic interest was affected by the award of the JOC or by failure
to award the JOC. In other words, BBSSI must demonstrate that it was an interested party that
was prejudiced by the Corps’ award of the JOC to CMR. Info. Tech. & Applications Corp., 316
F.3d at 1319. There is no dispute that BBSSI submitted a proposal in response to the JOC
solicitation, and BBSSI has demonstrated that it, as the incumbent contractor on the predecessor
JOC, has a direct economic interest that was affected by the Corps’ JOC award to CMR. See,
e.g., Info. Scis. Corp. v. United States, 80 Fed. Cl. 759, 771 (2008) (determining that an
incumbent contractor’s economic interests are directly affected by an agency’s decision to award
a contract to another offeror, thereby rendering the incumbent contractor an interested party


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under 28 U.S.C. § 1491(b)(1)).

         In order to demonstrate prejudice, BBSSI must show that there was a “substantial chance”
that it would have received the JOC “absent the alleged error . . . .” Banknote Corp. of Am., 365
F.3d at 1350. BBSSI emphasizes that, prior to the Corps’ interpretation of Dr. Cosmelli’s
opinion, Mr. Wickham determined that BBSSI was within the competitive range and that its
proposal represented the best value to the government: “BBSSI’s proposal was determined to be
technically equal to or superior than all other offerors, and BBSSI was the lowest-price offeror by
a significant margin.” Compl. ¶ 12. As noted above, the alleged error in the procurement
process, according to BBSSI, was the Corps’ determination that BBSSI was ineligible and
nonresponsible because BBSSI, under avvalimento infra gruppo, was required to utilize BBH’s
technical and financial resources while BBH was listed on the EPLS. See id. ¶¶ 38-44 (alleging
that Mr. Wickham’s responsibility determination, which was based upon his interpretation of Dr.
Cosmelli’s opinion, was arbitrary, capricious, an abuse of discretion, not in accordance with law,
and devoid of a rational basis). Since Mr. Wickham concluded that BBSSI represented the best
value to the government before applying his interpretation of Dr. Cosmelli’s opinion to BBSSI’s
proposal, there is little room for doubt that BBSSI would have received the JOC award absent the
allegedly unreasonable agency action that rendered it nonresponsible and eliminated its proposal
from consideration.75 See Textron, Inc., 74 Fed. Cl. at 285. Therefore, BBSSI had greater than a
“mere possibility” of receiving the JOC award. Asia Pac. Airlines, 68 Fed. Cl. at 18.

                        d. The Corps’ Decision to Make a Single Award

         Defendant also contends that BBSSI lacks standing to bring its claim alleging that the
Corps’ decision to make a single award was arbitrary and capricious. Def.’s Mot. 26-27; Def.’s
Reply 7-8. According to defendant, BBSSI could not receive any award under the JOC
solicitation because it was found nonresponsible. Def.’s Mot. 26; accord Def.’s Reply 27
(asserting that BBSSI’s proposal was also noncompliant). BBSSI argues that the Corps failed to
justify its decision and did not make the necessary findings pursuant to FAR Part 16. See Compl.
¶¶ 17, 83-87. Specifically, it argues that the record “is devoid of contemporaneous
documentation that the [Corps] ever engaged in [any] analysis” concerning the propriety of
issuing multiple awards. Pl.’s Reply 32.

        Additionally, defendant asserts that BBSSI’s claim challenges the terms of the
solicitation, which it argues “explicitly provides . . . that a single award would be made.” Def.’s
Mot. 26. Although BBSSI acknowledges that “[t]he Solicitation arguably implied there would be
only one JOC awardee,” Pl.’s Mot. 22; see also Pl.’s App. 23 (“[A]ward will be made to one
Offeror who is deemed responsible . . . .”), the JOC solicitation also reserved to the Corps the




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            For this reason, A & D Fire Protection, Inc. is also inapposite. See supra note 69.

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ability to issue multiple awards,76 see Pl.’s App. 36 (noting that “[t]he Government intends to
award a contract or contracts resulting from this solicitation to the responsible offeror(s) whose
proposal(s) represents the best value” and indicating that “[t]he Government reserves the right to
make multiple awards if, after considering the additional administrative costs, it is in the
Government’s best interest to do so” (emphasis added)). Thus, BBSSI asserts, the contracting
officer was required–but ultimately failed–to consider specific factors enumerated in the FAR
when determining the number of contracts to be awarded under the JOC solicitation.77 Pl.’s Mot.
23-24.




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           Similarly, the JOC solicitation indicated that the government “intends to evaluate
proposals and award a contract without discussions with offerors . . . .” Pl.’s App. 36 (emphasis
added). Nevertheless, the Corps conducted discussions with the offerors whose proposals were
within the competitive range, as permitted under the JOC solicitation: “The government
“reserves the right to conduct discussions if the Contracting Officer later determines them to be
necessary.” Id.
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            Specifically, FAR 16.504(c)(1)(ii)(A) provides:

       The contracting officer must determine whether multiple awards are appropriate
       as part of acquisition planning. The contracting officer must avoid situations in
       which awardees specialize exclusively in one or a few areas within the statement
       of work, thus creating the likelihood that orders in those areas will be awarded on
       a sole-source basis; however, each awardee need not be capable of performing
       every requirement as well as any other awardee under the contracts. The
       contracting officer should consider the following when determining the number of
       contracts to be awarded:

       (1) The scope and complexity of the contract requirement.

       (2) The expected duration and frequency of task or delivery orders.

       (3) The mix of resources a contractor must have to perform expected task or
       delivery order requirements.

       (4) The ability to maintain competition among the awardees throughout the
       contracts’ period of performance.

48 C.F.R. § 16.504(c)(1)(ii)(A). The contracting officer may not make multiple awards under
specifically enumerated circumstances. See id. § 16.504(c)(1)(ii)(B). Ultimately, the contracting
officer “must document the decision whether or not to use multiple awards in the acquisition plan
or contract file.” Id. § 16.504(c)(1)(ii)(C).

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        The parties generally agree that BBSSI’s standing to pursue its claim concerning the
Corps’ decision to make a single award is contingent upon a merits-based determination in its
favor. In other words, “if BBSSI prevails on any of the protest grounds challenging the [Corps’]
responsibility determination, then the impediment to BBSSI’s standing to challenge the decision
to make only one award . . . would no longer exist.” Pl.’s Reply 34; see also Def.’s Reply 8 (“[I]f
BBSSI is correct (which it is not) that its proposal was compliant and that the contracting
officer’s non-responsibility finding should be overturned[,] then, and only then, would it possess
standing to contest the decision to make a single award.”). At the preliminary injunction stage,
the court is tasked with ascertaining whether BBSSI has a likelihood of success on the merits.
Therefore, the court must defer ruling upon whether BBSSI possesses standing to challenge the
Corps’ single award under the JOC solicitation until it addresses the merits of BBSSI’s protest.

        Thus, with the exception of Count IV of the complaint, upon which the court defers
ruling, BBSSI has standing to bring its protest before the Court of Federal Claims.

    3. Whether BBSSI’s Implied-in-Fact Contract Claim Is Barred by Federal Circuit
                                     Precedent

        In Count VI of the complaint, BBSSI alleges that the Corps, by relying upon Dr.
Cosmelli’s opinion and interpreting it to conclude that BBSSI was nonresponsible and ineligible
for the JOC award, breached an implied contractual obligation to consider offerors’ proposals
fairly. Compl. ¶¶ 94-95. Specifically, BBSSI claims that the Corps’ failure to “adequately
investigate and evaluate the representations made by BBSSI regarding its ability and intent to
independently perform the contract work, without reliance on BBH’s resources” constituted a
broader failure to consider BBSSI’s proposal. Id. ¶ 96. Defendant, however, citing Resource
Conservation Group, LLC v. United States, 597 F.3d 1238 (Fed. Cir. 2010), argues that a
separate implied-in-fact contract claim cannot be brought in the Court of Federal Claims when a
remedy exists under 28 U.S.C. § 1491(b)(1). Def.’s Mot. 28. According to defendant, bid
protest jurisdiction is exclusive, thereby precluding a protester from bringing an implied contract
claim. Def.’s Reply 9.

         In Resource Conservation Group, LLC, the United States Naval Academy (“Navy”)
issued a Request of Interest for proposals to lease property that was utilized as a dairy farm. 597
F.3d at 1240. After receiving an expression of interest from the protester, Resource Conservation
Group (“RCG”), and other parties, the Navy issued a Notice of Availability for Lease. Id. RCG
and other interested bidders toured the property, and RCG toured the property a second time for
the express purpose of surveying and testing the area for the presence of sand and gravel. Id.
Thereafter, RCG submitted a proposal stating that it sought to lease the property in order to mine
it for sand and gravel. Id. at 1241.

       The Navy apprised RCG that its proposal did not fall within the scope of the solicitation
because the disposal of sand and gravel, which were construed as real property pursuant to 41
C.F.R. § 102-71.20, was prohibited. Id. According to the Navy, it had no obligation during the


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prebid process to apprise RCG that its bid would not be reviewed. Id. RCG then filed a bid
protest with the GAO, which dismissed its protest on the basis that a solicitation for offers to
lease government-owned land did not constitute a procurement of property or services and was
therefore outside the GAO’s bid protest jurisdiction. Id. Following the GAO dismissal, RCG
filed suit in the Court of Federal Claims. Id. The court held that it lacked jurisdiction under 28
U.S.C. § 1491(b)(1) to adjudicate bid protests involving leases of land where the government
was the lessor because the action was not in connection with a procurement or proposed
procurement. Id. at 1242. It also held that the right to sue under an implied-in-fact contract
pursuant to 28 U.S.C. § 1491(a)(1) was impliedly repealed when section 1491(b)(1) was enacted
by the Administrative Dispute Resolution Act of 1996 (“ADRA”), Pub. L. No. 104-320, 110
Stat. 3870 (codified at 28 U.S.C. § 1491(b)(1)). Res. Conservation Group, LLC, 597 F.3d at
1241.

        The Federal Circuit affirmed the trial court’s determination that RCG’s claim was not
encompassed within section 1491(b)(1).78 Id. at 1243-45. However, it reversed the trial court’s
ruling that the Court of Federal Claims lacked jurisdiction under section 1491(a)(1). Id. at 1245-
47. The Federal Circuit first noted that the Court of Federal Claims, prior to the enactment of
section 1491(b)(1), exercised jurisdiction over solicitations for the sale of government property
and that nothing in the ADRA repealed that jurisdiction. Id. at 1245-46. Analyzing the ADRA’s
legislative history, the Federal Circuit explained that the statute “was meant to unify bid protest
law in one court under one standard. However, it seems quite unlikely that Congress would
intend that statute to deny a preexisting remedy without providing a remedy under the new
statute.” Id. at 1246. Therefore, it concluded that “Congress did not intend to alter or restrict the
Court of Federal Claims’ existing jurisdiction in cases not covered by the new statute.” Id.

         Defendant’s reading of Resource Conservation Group, LLC to preclude an implied-in-
fact contract claim in a procurement protest brought pursuant to 28 U.S.C. § 1491(b)(1) cannot
be sustained. The Federal Circuit limited its analysis in Resource Conservation Group, LLC to a
claim that did not fall within the court’s bid protest jurisdiction under section 1491(b)(1). Since
RCG could not bring its claim pursuant to section 1491(b)(1), it invoked the court’s implied-in-
fact jurisdiction over nonprocurement solicitations pursuant to section 1491(a)(1). The Federal
Circuit’s holding, therefore, focused upon whether enactment of the ADRA eliminated the
court’s implied-in-fact jurisdiction over nonprocurement solicitations under section 1491(a). It
answered that question in the negative, thereby permitting RCG to move forward with its


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           The Federal Circuit reasoned that the definitions of “procurement” and “procure,” as
contained in the ADRA, “signify the act of obtaining or acquiring something, in the context of
acquiring goods or services. It strains the ordinary meaning of ‘procurement’ to extend that
definition to encompass a situation in which it is the government that is seeking to lease its own
property.” Res. Conservation Group, LLC, 597 F.3d at 1244. Moreover, it determined that the
“process involved in soliciting lessees for government-owned property cannot be characterized as
a ‘process of acquiring property or services.’” Id. As such, the Federal Circuit concluded that
section 1491(b)(1) is “exclusively concerned with procurement solicitations and contracts.” Id.

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implied-in-fact contract claim pursuant to section 1491(a)(1). See also FAS Support Servs., LLC
v. United States, No. 10-289C, 2010 WL 3038713, at *7-8 (Fed. Cl. July 28, 2010) (determining
that the court possessed jurisdiction over an implied-in-fact contract to have bids fairly and
honestly considered pursuant to 28 U.S.C. § 1491(a)(1) and noting the difference in relief
available under section 1491(b)(1) (equitable) and section 1491(a)(1) (monetary, limited to the
costs incurred in preparing the proposal and bid) (citing Keco Indus. Inc. v. United States, 428
F.2d 1233, 1240 (Ct. Cl. 1970))); Creation Upgrades, Inc. v. United States, No. 09-788C, 2010
WL 1255684, at *1-2 (Fed. Cl. Mar. 24, 2010) (unpublished decision) (dismissing for lack of
jurisdiction, in light of Resource Conservation Group, LLC, portions of the complaint that sought
declaratory and injunctive relief related to a solicitation concerning the disposition of government
property but construing the remaining allegations within the framework of the government’s
implied obligation to consider bids honestly and fairly under section 1491(a)(1)). In a recent
decision, L-3 Communications Integrated Systems, L.P. v. United States, the Honorable Mary
Ellen Coster Williams explained:

       The [ADRA] statute does not delete implied-in-fact or express procurement
       contracts from its reach. Section 1491(a)(1) continues to allow any plaintiff,
       including a disappointed bidder, to invoke this Court’s general contract
       jurisdiction to recover money damages, including bid preparation and proposal
       costs. The revision of [section] 1491(b) did not terminate the implied contract of
       fair dealing. Nor did a cause of action for breach of the implied cont[r]act of fair
       dealing under § 1491(a) cease to exist simply because a breach occurred in the
       context of a procurement decision and could also be denominated a “bid protest.”

No. 06-396C, 2010 WL 3296862, at *3 (Fed. Cl. Aug. 23, 2010). Here, BBSSI’s bid protest is
before the court pursuant to section 1491(b)(1). In this regard, Resource Conservation Group,
LLC is inapposite because BBSSI does not invoke section 1491(a)(1) as the basis for bringing its
implied-in-fact contract claim. Moreover, the jurisdictional basis upon which the court can
entertain BBSSI’s protest, which involves a procurement, is contained in section 1491(b), not
section 1491(a).

        The court does not interpret Resource Conservation Group, LLC as altering the
jurisdiction of the Court of Federal Claims. As noted above, the Federal Circuit concluded that
the court’s implied-in-fact contract jurisdiction, which existed prior to the 1996 enactment of the
ADRA, remains viable. In L-3 Communications Integrated Systems, L.P., Judge Williams
explained that the Federal Circuit did “not hold that [the] ADRA eliminated [section] 1491(a)
jurisdiction in a breach of implied contract action involving a procurement.” Id. at *5.
Furthermore, the Federal Circuit did not determine that the ADRA precludes a protester from
alleging a breach of an implied contract of fair dealing in a procurement case brought pursuant to
section 1491(b). Rather, the Resource Conservation Group, LLC court clarified that “Congress
intended the [section] 1491(b)(1) jurisdiction to be exclusive where [section] 1491(b)(1)
provided a remedy (in procurement cases).” 597 F.3d at 1246 (emphasis added). The Federal
Circuit recognized that Congress intended the ADRA


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       to give the Court of Federal Claims exclusive jurisdiction over the full range of
       procurement protest cases previously subject to review in the federal district
       courts and the Court of Federal Claims. This section is not intended to affect the
       jurisdiction or standards applied by the Court of Federal Claims in any other area
       of law.

Id. (quoting H.R. Rep. No. 104-841, at 10 (1996)).

        The Federal Circuit, while acknowledging that section 1491(b) provides exclusive
jurisdiction for procurement cases, did not address the ability of a protester to assert an implied-
in-contract claim in a procurement case that was properly brought pursuant to section 1491(b).
Therefore, the court adopts the reasoning set forth in L-3 Commications Integrated Systems, L.P.
and concludes that a protester may challenge arbitrary and capricious conduct based upon an
implied-in-fact contract to consider bids fairly theory as part of a procurement protest in which
Tucker Act jurisdiction is based upon 28 U.S.C. § 1491(b)(1).79 Accordingly, defendant’s
motion to dismiss BBSSI’s claim based upon an implied-in-fact contract theory is denied.

                       B. BBSSI’s Motion for a Preliminary Injunction

        As explained in Part III.D, supra, BBSSI, in order to obtain injunctive relief, must
demonstrate that: (1) it has a likelihood of success on the merits; (2) it will suffer immediate and
irreparable harm if preliminary relief is not granted; (3) the harm it will suffer outweighs the
harm to defendant and to CMR; and (4) such relief is in the public interest. See FMC Corp., 3
F.3d at 427; Four Rivers Invs., Inc., 77 Fed. Cl. at 594-95. None of the four factors, standing
alone, is dispositive. See FMC Corp., 3 F.3d at 427; Univ. Res. Co., LLC v. United States, 65
Fed. Cl. 500, 504 (2005). Nevertheless, “the absence of an adequate showing with regard to any
one factor may be sufficient, given the weight or lack of it assigned the other factors, to justify
the denial” of an injunction. Chrysler Motors Corp., 908 F.2d at 952.


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           The court acknowledges that a different conclusion was reached in Metropolitan Van
and Storage, Inc. v. United States, 92 Fed. Cl. 232 (2010). Interpreting Resource Conservation
Group, LLC, the court reasoned that, because section 1491(b)(1) provides exclusive bid protest
jurisdiction and exclusive remedies, which include injunctive relief and bid and proposal costs,
see 28 U.S.C. § 1491(b)(2), the implied-in-fact contract theory was “not operative,” Metro. Van
& Storage, Inc., 92 Fed. Cl. at 249 n.7. While the Metropolitan Van and Storage, Inc. court
noted that section 1491(b)(2) provides exclusive remedies (including injunctive relief and bid
and proposal costs), it did not explain why a protester properly challenging a procurement based
upon an implied-in-fact contract theory is foreclosed from obtaining the relief set forth in section
1491(b)(2), particularly since section 1491(b)(2) authorizes the court to award bid and proposal
costs–the sole remedy available for an implied-in-fact contract claim in a nonprocurement case
under section 1491(a). Instead, the Metropolitan Van and Storage, Inc. court declined to address
the implied-in-fact contract theory any further, rendering its unavailability a fait accompli. See
id. Therefore, the court does not follow Metropolitan Van and Storage, Inc.

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                    1. Whether BBSSI Is Likely to Succeed on the Merits

        In order to demonstrate a likelihood of success on the merits, BBSSI must show that the
Corps’ determination that BBSSI was nonresponsible and ineligible for the JOC award based
upon its submission of BBH’s SOA certificate was arbitrary and capricious, an abuse of
discretion, or otherwise not in accordance with law. See 5 U.S.C. § 706(2)(A). BBSSI bears a
heavy burden of proving that the Corps acted unlawfully because contracting officers are
entrusted with a relatively high degree of discretion in negotiated procurements. LaBarge Prods.,
Inc. v. West, 46 F.3d 1547, 1555 (Fed. Cir. 1995) (citing Burroughs Corp. v. United States, 617
F.2d 590, 597-98 (Ct. Cl. 1980)); see also Bean Stuyvesant, L.L.C. v. United States, 48 Fed. Cl.
303, 320 (2000) (explaining that the deference afforded to agencies “is particularly great when a
negotiated procurement is involved and is greater still when the procurement is a ‘best value’
procurement” (citing Cubic Def. Sys. Inc. v. United States, 45 Fed. Cl. 450, 458 (1999))). As
discussed below, BBSSI has satisfied its burden.

        BBSSI asserts that the Corps “unreasonably concluded that BBSSI’s use of BBH’s SOA
certificate necessarily requires BBSSI to both (i) have access to BBH’s resources (technical,
financial, etc.) and (ii) actually use BBH’s resources to successfully complete the contract work.
This conclusion is legally and factually unsupportable.” Pl.’s Mot. 3-4. According to defendant,
the Corps’ determination that BBSSI’s proposal was nonresponsive because it submitted an SOA
certificate in the name of a debarred contractor was reasonable. Def.’s Mot. 18-19. The Corps’
determination hinged upon its reliance upon and interpretation of Dr. Cosmelli’s opinion. BBSSI
contends that the Corps relied upon Dr. Cosmelli’s opinion “as the foundation supporting [its]
conclusion that BBSSI’s use of BBH’s SOA certificate requires BBSSI to use BBH’s resources
in performing the contract and, therefore, BBSSI is an affiliate of BBH and ineligible” to receive
the JOC award. Pl.’s Mot. 12.

        According to BBSSI, the Corps “elected to solicit a legal opinion from an Italian attorney
to confirm the Agency’s belief that the submission of another firm’s SOA certificate renders the
two firms ‘affiliated’ for U.S. debarment purposes.” Id. at 13 (emphasis added). It also claims
that Dr. Cosmelli’s opinion was incomplete because the Corps “fail[ed] to provide the Italian
attorney all relevant factual background needed for a complete and accurate analysis (e.g.,
BBSSI’s discussion response on the topic and all exchanges between BBSSI and the [Corps] on
this issue) . . . .” Id. at 14. It is apparent that the issue of BBH’s debarment was raised as early
as April 2009, when BBAG requested that the Corps consider it eligible to submit a proposal, via
BBSSI, under the JOC solicitation.80 See Def.’s Ex. 2 at 16-19. BBAG emphasized to the Corps


       80
           The Corps apparently intended to declare BBAG “as a whole, ineligible to participate
in any procurement actions under the auspices of the [Corps]” as a result of the BBH debarment.
Def.’s Ex. 2 at 16. BBAG “request[ed] the reinstatement of eligibility for [BBSSI],” id., and
noted that neither the United States Air Force nor the United States Navy determined that BBSSI
was affected by BBH’s proposed debarment, id. at 17. It requested that the Corps “kindly weight
the facts we have presented . . . and find your way clear to reinstating [BBSSI] as eligible to

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that (1) BBSSI was both financially and managerially independent of BBH, id. at 17, (2) the 2008
de-merger agreement expressly indicated that BBSSI was not part of the de-merger and remained
part of BBAG, id. at 17-18, and (3) BBSSI and BBH “have completely different lines of
accountability and authority within the Bilfinger Berger Organization,”81 id. at 18.

         Then, in August 2009, the Corps requested that BBSSI clarify all of its proposals in light
of its submission of BBH’s SOA certificate. Id. at 15. Ms. Denzel explained: “As you have
always insisted that your company in Italy is completely separate . . . , we would appreciate
clarification on these SOA submissions from [BBH].” Id. As noted above, Mr. Tomaiuolo, on
August 26, 2009, responded and reiterated that BBSSI and BBH were separate entities and that
BBSSI “not only can but has legally full independent authority[] to use and be qualified with a
group member SOA certification, using a standard procedure (a self-declaration) introduced by
the latest version of the ‘Codice de Lise’” via avvalimento infra-gruppo. Id. at 13. Thereafter,
Mr. Tomaiuolo emphasized that BBSSI was the sole entity competing for the JOC award “and
will be the only one obligated to the Government . . . .” Pl.’s App. 250.

        In its September 16, 2009 RFQ for an Italian expert opinion, the Corps noted BBSSI’s
representations that it was completely separate from BBH. Id. at 237, 239. However, it appears
that the Corps did not amend the solicitation to reflect BBSSI’s representations to the Corps that
BBH “will have no links whatsoever with the awarding agency,” id. at 252, and that BBSSI was
“absolutely capable of fulfilling–and intends to fulfill–its own contractual duties by means of its
own requirements and resources, without any involvement of BBH,”82 id. at 160. Dr. Cosmelli’s


compete for future [Corps] contracts . . . .” Id. at 18.
       81
           BBAG also noted that BBSSI had a separate SOA certificate issued in its name. Def.’s
Ex. 2 at 18. According to defendant, “[i]t seems odd that, given this representation, BBSSI now
takes the position that the SOA [certificate] is meaningless.” Def.’s Mot. 21. BBSSI has not
represented that the SOA certificate is meaningless. Furthermore, it is undisputed that BBSSI,
through BBAG, had an SOA certificate that expired in January 2009. Pl.’s App. 259. By
contrast, BBH’s SOA certificate is set to expire in July 2012. Id. at 260.
       82
           The GAO noted that the Corps “was not bound to accept BBSSI’s representations,”
Pl.’s App. 384, and was not required to include BBSSI’s “views” about the SOA certificate
requirement in the RFQ, id. at 385. The court agrees that the Corps was not bound to accept
BBSSI’s interpretation of the SOA certificate requirement. Indeed, one of the primary reasons
the Corps issued the RFQ was to “verify[] the . . . explanation as valid from [BBSSI],” id. at 240,
a clear indication that the Corps did not, in fact, accept BBSSI’s interpretation absent
confirmation from an Italian legal expert. Nevertheless, BBSSI’s “views” cannot be examined
selectively. It is beyond peradventure that, in order to opine about the vitality of a legal position,
all relevant circumstances contributing to the formulation of that position must be considered.
The focus, therefore, is not upon BBSSI’s “views” about the SOA certificate requirement but
rather the factual circumstances upon which BBSSI based its “views.”

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opinion reflected the extent to which the information he was furnished by the Corps was
incomplete.83 He explained that, because avvalimento infra-gruppo “implies that the work will
be carried by the company awarded using the resources . . . of the ancillary company,” id. at 268
(emphasis added), a bidder must

       (i) specifically declare[] which such resources are; (ii) submit[] to the contracting
       authority an undertaking from the ancillary company whereby the latter agrees to
       put at the disposal of the bidder the required resources; (iii) submit[] to the
       contracting authority a declaration of the ancillary company whereby the latter
       declares to have itself the general requirements set forth by Art[icle] 38 of the
       [Italian] Code . . . [;] and (iv) submit[] to the contracting authority a self-
       declaration whereby the bidder confirms the infra-group links with the ancillary
       company.

Id. (fourth emphasis in original). Dr. Cosmelli then acknowledged that, “[f]rom the documents
submitted to us it does not appear that all the above documentation/representations required . . .
have been submitted nor that [BBSSI] has explained the reason why it assumes that they are not
necessary.” Id. (emphasis added). This passage indicates that Dr. Cosmelli was not provided
with all the relevant factual information concerning BBSSI’s proposal and upon which BBSSI
relied in justifying its ability to use BBH’s SOA certificate. It is apparent that, had the Corps
furnished information about BBSSI’s intention not to rely upon BBH’s resources, Dr. Cosmelli
may have been able to explain the absence of the documentation to which he referred.

         The questions presented in the Corps’ RFQ did not reach the core legal issue arising from
BBSSI’s proposal.84 Indeed, the Corps did not seek an opinion as to whether BBSSI could, under
Italian law and through avvalimento infra-gruppo, submit BBH’s SOA certificate while
simultaneously disclaiming reliance upon BBH’s resources in order to perform the work


       83
        Indeed, BBSSI alleges that the Corps “never provided its Italian counsel BBSSI’s
December 10[, 2009] discussion response . . . .” Compl. ¶ 81.
       84
            As BBSSI notes,

       the simple fact that the Agency procured a legal opinion to determine the Italian
       legal impact of BBSSI’s submission of BBH’s SOA [certificate] demonstrates that
       the Agency did not understand its Solicitation to bar an offeror from submitting
       the SOA [certificate] of another firm if permitted by Italian law. If such was the
       Agency’s position, why was a legal opinion necessary or even helpful? If this was
       the Agency’s view, it simply would have excluded BBSSI from the competition.

Pl.’s Mem. P. & A. Supp. Pl.’s Mot. Leave Br. Gov’t’s Late Submission Docs. & Args.,
Adjournment Hr’g Parties’ Appls. TRO/Prelim. Inj. & Mot. Dismiss, & Issuance TRO Stop
Performance Until New Hr’g Date 11-12.

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encompassed by the JOC award. Not surprisingly, Dr. Cosmelli’s opinion did not address
whether a company relying upon another entity’s SOA certificate must, as a matter of Italian law,
utilize that entity’s resources. Dr. Cosmelli concluded that “the use by [BBSSI] of [BBH]’s SOA
[certificate] implies that, in order to carry out the works, the former will need to use [BBH]’s
resources . . . .” Id. at 269 (emphasis added). Yet, Dr. Cosmelli did not indicate that the Italian
Code mandates such reliance. See id. at 268-69. Assuming, arguendo, that Dr. Cosmelli’s
opinion can be interpreted to suggest that avvalimento infra-gruppo presumes reliance upon
another company’s resources, it is ultimately silent as to whether that presumption is rebuttable.

        It is likely that the Corps, by procuring an opinion from Dr. Cosmelli that was not based
upon all relevant and critical facts related to BBSSI’s specific use of BBH’s SOA certificate in
connection with the JOC procurement, acted arbitrarily, capriciously, and without a rational
basis. It is also likely that BBSSI would succeed on the merits of its claim that the Corps
arbitrarily and capriciously excluded BBSSI from consideration based upon its use of Dr.
Cosmelli’s incomplete opinion to assess BBSSI’s eligibility to complete for the JOC award. In
essence, it appears that the Corps obtained an opinion from Dr. Cosmelli that ultimately did not
address the full circumstances presented by BBSSI’s proposal and, consequently, was deficient
through no fault of Dr. Cosmelli.

        It is also likely that BBSSI would succeed on the merits of its claim that the Corps
arbitrarily and capriciously excluded BBSSI from consideration based upon its interpretation of
Dr. Cosmelli’s incomplete legal opinion. Notwithstanding the deficiencies inherent in Dr.
Cosmelli’s opinion, the Corps nevertheless utilized the opinion to conclude that BBH

       must provide to [BBSSI] full disposal of its assets and resource[s]–technical,
       financial, employees, machinery, know-how, organization, economic and financial
       standing, etc. and [BBSSI] shall avail itself of these assets. . . .

       . . . The use of a debarred contractor’s SOA [certificate], together with the
       avvalimento declaration accompanying it certifies that [BBSSI] has the legal right
       to use . . . [BBH]’s SOA [certificate], [and] under Italian [law,] the firm must
       make use of [BBH]’s technical and financial resources . . . . [A] debarred firm,
       [BBH], is attempting to indirectly propose on this solicitation through its
       “affiliate,” [BBSSI]. Therefore, per [FAR] Part 9.405, [BBSSI] is inel[i]gible to
       receive an award as a debarred “contractor,” as defined by FAR 9.403.

Id. at 291. Because Dr. Cosmelli’s opinion did not address the specific situation presented by
BBSSI’s proposal, it appears that it was arbitrary for the Corps to utilize any portion of that
opinion as a basis for determining BBSSI’s eligibility to submit a proposal under the JOC
solicitation.

       Moreover, it appears that the Corps’ interpretation of Dr. Cosmelli’s opinion to conclude
that BBSSI was nonresponsible and ineligible to compete was arbitrary. Dr. Cosmelli indicated


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that avvalimento infra-gruppo may “imply” reliance upon another entity’s resources.85 See id. at
269 (“This implies that, in carrying out the awarded works, the subsidiary and affiliated
companies will use the resources . . . of the parent company.” (emphasis added)). As previously
noted, Dr. Cosmelli did not opine as to whether avvalimento infra-gruppo required use of another
entity’s resources or merely authorized an offeror to elect use of those resources. It is apparent
from his opinion that Dr. Cosmelli was unaware of BBSSI’s representations to the Corps that it
possessed and intended to rely upon its own resources. Therefore, Dr. Cosmelli could not
discuss the legal significance, if any, of BBSSI’s use of BBH’s SOA certificate without reliance
upon BBH’s resources.86

        Nevertheless, the Corps added a new gloss to Dr. Cosmelli’s opinion, applied it to the
facts of BBSSI’s proposal, and determined that BBSSI’s submission of BBH’s SOA certificate
mandated that BBSSI use BBH’s resources. Consequently, the Corps concluded that BBH, a
debarred contractor, was utilizing BBSSI as a conduit through which to indirectly propose on the
JOC solicitation. See id. at 291; see also id. at 305 (explaining that BBSSI, by utilizing BBH’s
SOA certificate, “under Italian law . . . must make use of [BBH]’s technical and financial
resources”), 312 (stating that BBSSI was ineligible to compete for the JOC award because of “the
use of a debarred company’s resources and assets (SOA [certificate])”), 313 (concluding that


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           Defendant argues that BBSSI’s submission of BBH’s SOA certificate evidences an
intent to use BBH’s resources, regardless of whether BBSSI actually used them. Oral Argument
at 3:06:20-26; cf. Def.-Intervenor’s Supp’l Mem. 7 (asserting that intent to use the resources of
the SOA certificate holder is immaterial). Dr. Cosmelli, however, did not render an opinion
regarding BBSSI’s intent. Rather, he explained that a competitor may demonstrate “technical
capabilities and the economic and financial standing necessary to participate [in] a bid for the
award of a public works contract, by . . . prov[ing] . . . that it will have in its disposal the
resources of such other entities to carry out the works . . . .” Pl.’s App. 266 (emphasis added).
Nowhere did Dr. Cosmelli equate having resources at a competitor’s disposal with an intent to
utilize those resources. Instead, Dr. Cosmelli indicated that, based upon the information he
received from the Corps, BBSSI’s use of BBH’s SOA certificate “implies” that BBSSI “will
need” to utilize BBH’s resources. Id. at 269. Nevertheless, BBSSI apprised the Corps of its
intent to not utilize BBH’s resources, information that the Corps did not furnish to Dr. Cosmelli
for consideration. Therefore, defendant’s argument finds no support in Dr. Cosmelli’s opinion,
which formed the basis upon which Mr. Wickham determined that BBSSI was nonresponsible
and ineligible for the JOC award.
       86
           Defendant also contends that it is “irrelevant” whether BBSSI actually planned to–or
was required to–utilize BBH’s resources because it “was attempting to satisfy a contract
requirement with a certificate of a debarred contractor.” Def.’s Reply 17. The court disagrees.
BBSSI contends that it could lawfully utilize BBH’s SOA certificate, without reliance upon
BBH’s resources, in order to participate in the JOC solicitation. The Corps never presented this
issue to Dr. Cosmelli, and Dr. Cosmelli never considered it in his opinion. In the absence of an
Italian legal opinion exploring this issue, defendant’s claim of irrelevance is pure speculation.

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BBSSI was nonresponsible because BBSSI was “utilizing the resources and assets (SOA
[certificate]) of a debarred company to propose on the Italy JOC contract”), 314 (explaining that
avvalimento infra-gruppo indicated that “BBSSI is relying on the technical capabilities and
resources of a debarred firm through the use of a debarred firm’s SOA [certificate] to qualify
itself and to execute work under this contract”). Dr. Cosmelli’s opinion, however, does not
support this interpretation. Because Dr. Cosmelli never indicated that BBSSI was required, as a
matter of Italian law, to utilize BBH’s resources, it is likely that the Corps acted arbitrarily,
capriciously, and abused its discretion by determining that BBSSI had to utilize–and, in fact,
would utilize–the resources of a debarred contractor in order to perform the work encompassed
by the JOC solicitation.

        The Corps’ interpretation of Dr. Cosmelli’s opinion resulted in a finding that BBSSI,
despite submitting a proposal that “appear[ed] to be the best value” to the government, id. at 289,
was nonresponsible and ineligible to compete for the JOC award, id. at 290-91. Indeed, Mr.
Wickham acknowledged that BBSSI possessed the requisite ability to perform the work
encompassed by the JOC solicitation:

       The contractors have demonstrated the required abilities, skills, experience, and
       operational control to be able to perform this contract . . . . There is no doubt as to
       the ability of the contractors with regard to their performance. As cited by the
       TEB, [BBSSI] management plans articulate complete understanding of all
       requirements and present sound approaches for effectively controlling,
       supervising, administering, managing, and performing the required work
       effort . . . . The management staff and key personnel have outstanding technical
       and operational education and experience to successfully manage the wide variety
       of tasks listed . . . . [Its] proposal reflects outstanding detail and a very thorough
       understanding of the technical requirements. [BBSSI’s] Technical/Management
       approaches meets all of the Government’s minimum objectives/requirements and
       can successfully perform the required services. . . . [T]he decision has been
       reached that award to [BBSSI] offer[s] the best value to the Government. The
       proposal provides strengths and demonstrates an understanding of the proposed
       requirements.

Id. at 290. Indeed, according to Mr. Wickham, BBSSI was the “highest technically rated
offeror.” Id. at 287. However, the Corps also determined that, because of BBSSI’s submission
of BBH’s SOA certificate, BBSSI was “required to utilize the capabilities” of BBH, a debarred
contractor. Id. It explained: BBSSI was “fully qualified to provide and maintain the needed
services, but again, this may mean, due to [BBSSI’s] use of [BBH’s] SOA [certificate], that
[BBSSI is] also required to utilize the assets and equipment of a debarred firm in order to
perform the technical requirements of the contract . . . .” Id. (emphasis added). Based upon the
language of Mr. Wickham’s analysis, it is apparent that the Corps first determined that BBSSI
was fully qualified to perform the work encompassed by the JOC. Then, Mr. Wickham,
interpreting Dr. Cosmelli’s opinion, determined that BBSSI, while fully qualified to perform,


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may also be compelled under Italian law to utilize BBH’s resources during performance. Since
the Corps believed that BBSSI was required to utilize BBH’s resources, BBSSI’s proposal, while
constituting the best value to the government, was deemed nonresponsive. See id. at 290-91.

         Because the Corps’ reliance upon and interpretation of a legal opinion that was devoid of
all relevant facts and failed to address core legal issues was likely arbitrary, capricious, and an
abuse of discretion, its concomitant decision to reject BBSSI’s proposal based upon BBSSI’s
submission of BBH’s SOA certificate was likely arbitrary, capricious, and an abuse of discretion.
Therefore, BBSSI has shown a likelihood of success on the merits that, but for the Corps’ use
and interpretation of Dr. Cosmelli’s opinion, BBSSI, which presented a proposal that constituted
the best value to the government, would have received the JOC award.87

              2. Whether BBSSI Will Suffer Immediate and Irreparable Harm

          When assessing irreparable injury, the “relevant inquiry in weighing this factor is whether
plaintiff has an adequate remedy in the absence of an injunction.” Magellan Corp. v. United
States, 27 Fed. Cl. 446, 447 (1993). According to BBSSI, it will suffer immediate and
irreparable harm if the Corps is not enjoined from issuing new task orders to CMR and if
performance of task orders already issued are not suspended because it “will have no recourse
against the Agency for sustained work flow in Italy and lost profits if CMR is permitted to
perform current and future task orders.” Pl.’s Mot. 30. Mr. Hagner estimated that approximately
[. . .] percent of BBSSI’s revenue in Italy for the past three years was derived from its
performance under the predecessor JOC. Hagner Decl. ¶ 13. He also opined that the JOC at
issue in this protest “will generate a similar revenue stream . . . .” Id. An anticipated loss of
revenue constitutes an irreparable injury. See SAI Indus. Corp. v. United States, 60 Fed. Cl. 731,
747 (2004).

         Additionally, BBSSI asserts that it is “significantly dependent on work from the Agency
under the JOC procurement in order to maintain its viability in Italy.” Pl.’s Mot. 30. Mr. Hagner
explained that BBSSI’s exclusion from the JOC competition has impacted its financial viability
in Italy, as well as its “ability to operate elsewhere,” thereby requiring BBSSI to undertake
administrative changes to ensure that it can remain competitive and can maintain oversight and




       87
           Since BBSSI has demonstrated a likelihood of success on the merits that the Corps
acted arbitrarily and capriciously with regard to its procurement of Dr. Cosmelli’s opinion and
reliance thereon in determining that BBSSI was nonresponsible and ineligible for the JOC award,
the court need not address at this time the likelihood of BBSSI’s success on the merits of its
remaining claims, all of which stem from or are the direct consequence of the Corps’ reliance
upon Dr. Cosmelli’s opinion. Accordingly, the court shall address these claims in its
merits-based ruling.

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control over its existing contracts.88 Hagner Decl. ¶ 15; see also id. (noting that “there is no real
prospect for alternatives for this kind of work on the market in Italy”). BBSSI’s loss of work
flow and dependency upon the work encompassed by the JOC solicitation in order to maintain its
viability in Italy constitute irreparable injuries. See Cardinal Maint. Serv., Inc. v. United States,
63 Fed. Cl. 98, 110 (2004) (recognizing that “a party suffers irreparable injury when it loses the
opportunity to compete on a level playing field with other bidders. . . . [W]hen a plaintiff shows
that it was excluded from the bidding process, perhaps solely because of the government’s
improper conduct, the plaintiff has satisfied requirement for irreparable injury”); accord PGBA,
LLC v. United States, 57 Fed. Cl. 655, 664 (2003).

       It is apparent that the potential injuries to BBSSI constitute immediate and irreparable
harm for purposes of a preliminary injunction.

 3. Whether the Harm BBSSI Will Suffer Outweighs the Harm to Defendant and to CMR

        BBSSI contends that an injunction will not harm the Corps. It asserts that the Corps
“took no, or very little, action to ramp up to issue task orders following the GAO’s disposition of
the protest or at any time following the January 2010 award date, when, despite the stay, the
Agency could have been performing the necessary work to have [task] orders ready to be issued
upon the lifting of the stay.”89 Pl.’s Reply 20; see also id. at 3 (noting the absence of an
explanation from Colonel Erik O. Daiga, Garrison Commander for the United States Army
Garrison Vicenza, a power-projection platform for the 173rd Airborne Brigade Combat Team, as
to why task order execution could not commence until early June 2010). Documentation
furnished by defendant indicates that task orders were issued in early July 2010.90 Def.’s Reply


       88
           BBSSI also claims irreparable harm based upon an inability to operate its business due
to an anticipated reduction in personnel. Specifically, Mr. Hagner indicates that [. . .] of [. . .]
“key administrative personnel in Italy” were dedicated–[. . .] exclusively and [. . .] primarily–to
oversight and work on the predecessor JOC. Hagner Decl. ¶ 15. Absent receiving the JOC
award, Mr. Hagner explains that these “critical administrative personnel” can no longer be
retained. Id. ¶ 16. The court, however, notes that a potential loss of employees, absent a more
specific showing, has not been deemed an irreparable harm. See Computer Scis. Corp. v. United
States, 51 Fed. Cl. 297, 324 (2002); accord PGBA, LLC, 60 Fed. Cl. at 221; cf. Global Computer
Enters., Inc., 88 Fed. Cl. at 454 (recognizing that the loss of skilled employees critical to a
company’s performance in a specialized field may constitute an irreparable harm).
       89
           According to BBSSI, the automatic stay prevented the Corps from accepting
performance from CMR but did not preclude it “from ramping up to issue task orders in the
event that the stay was lifted.” Pl.’s Reply 3. The GAO automatic stay was lifted on or about
May 13, 2010. Id.
       90
           Defendant, focusing primarily upon BBSSI’s perceived delay in filing its protest, notes
that “task orders cannot be issued immediately,” Def.’s Reply 11, and emphasizes that the Corps

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11; see generally Def.’s Reply Ex. (containing example task orders).

         Defendant, relying upon Colonel Daiga’s declaration, claims that the JOC “is a mission
essential contract tool used for safety, training, and morale” at United States Army facilities in
Italy.91 Def.’s Ex. 4 at 2 (Daiga Decl. ¶ 2); see also id. (Daiga Decl. ¶ 6 (noting that the JOC
“improves the quality of life of the Soldiers and their families, with significant annual repair
work to our dental clinics, chapels, recreation facilities, physical fitness centers, libraries, and
community centers”)). It also cites an April 2008 incident at Fort Bragg, North Carolina that was
videotaped and posted on the internet website YouTube in which barracks “appeared to be in an
uninhabitable condition,” invoking national security concerns and characterizing the work
encompassed by the JOC as a “national priority.” Id. at 5 (Daiga Decl. ¶ 11). Furthermore,
defendant cites the urgency of the work, explaining that staying performance of the JOC will
provide insufficient time to repair the barracks before soldiers and military personnel return from
Afghanistan, thereby “equating to mission failure . . . .” Id. (Daiga Decl. ¶ 12). Lastly, defendant
notes that appropriations for use in connection with work under the JOC expire on September 30,
2010, after which time the funds will be lost. Id. at 6 (Daiga Decl. ¶ 13); accord Def.’s Mot. 30
& n.2.

        Despite the perceived urgency of the work encompassed by the JOC, the record indicates
that the Corps did not begin issuing task orders until at least early June 2010. See Def.’s Ex. 4 at
2 (Daiga Decl. ¶ 5); cf. Def.’s Reply Ex. (indicating that task orders were issued to CMR in early
July 2010). The reasons for this perceived delay have not been fully explained. Although both
defendant and CMR emphasize that the JOC “is the Government’s only JOC contract from which
it can order emergency repairs and routine maintenance necessary to operate the bases,” Def.-
Intervenor’s Opp’n 8; see also Oral Argument at 3:23:25-49 (stating that performing work under
the Italy MATOC is problematic for a variety of reasons), defendant acknowledges that the Italy
MATOC could be utilized as an alternative vehicle through which work can be performed.92
Oral Argument 3:23:49-24:33. If the Italy MATOC could be utilized for certain types of work,


has no obligation to issue task orders “immediately . . . whenever a contract is signed on the
supposition that a losing party may, at some time, file a protest.” Id. at 12.
       91
            The JOC, according to Colonel Daiga, is utilized for minor construction, quick repair,
and maintenance activities that are “crucial for safety and to sustainment and restoration of the
facilities used by Soldiers and their families.” Def.’s Ex. 4 at 2 (Decl. Col. Erik O. Daiga
(“Daiga Decl.”) ¶ 6). Defendant cites the following work encompassed by task orders issued to
CMR under the JOC: replacing ceilings, light fixtures, screens, damaged electrical outlets,
damaged ceiling fans, damaged flush boxes in bathrooms, and shower heads, as well as sealing
sinks and showers and fixing and replacing doors and shutters in barracks used by soldiers
returning from war. Def.’s Reply 12.
       92
           Nevertheless, defendant asserts that time constraints prevent the Corps from issuing
solicitations under the Italy MATOC for certain types of work. Oral Argument at 3:23:49-24:33.

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then defendant has not explained why the Corps did not mitigate any harm by availing itself of
this option.

        Additionally, absent further explanation, the court is not persuaded by defendant’s
contention that the work encompassed by the JOC is “mission critical” or that the urgency of the
work implicates national security concerns. See supra note 91. Defendant has also not indicated
how an April 2008 incident at Fort Bragg that appeared in an internet video is relevant to
conditions at different military installations in 2010. Although “the Court certainly must give
serious consideration to national defense concerns and arguably should err on the side of caution
when such vital interests are at stake, allegations involving national security must be evaluated
with the same analytical rigor as other allegations of potential harm to parties or to the public.”
Gentex Corp. v. United States, 58 Fed. Cl. 634, 655 (2003); see also Harris Corp. v. United
States, 628 F. Supp. 813, 822 n.13 (D.D.C. 1986) (noting that, while “[c]laims of national
security, of course, are often advanced by the government in challenges to procurement
decisions[, t]he Court will not blindly accede to such claims”). Here, defendant has not shown a
severity of harm that outweighs the imminent harm to BBSSI.

         CMR’s asserted harm involves costs it would incur if an injunction is issued. Relying
upon a declaration from Daniel Pelletier, CMR’s United States NATO Program Manager, CMR
indicates that it hired “several full-time employees” pursuant to long-term employment contracts
in order to perform work under the JOC and that a stop-work order would obligate CMR to incur
employment costs while these employees are idle.93 Decl. Daniel Pelletier (“Pelletier Decl.”)
¶ 10. Additionally, CMR notes that it purchased equipment and information technology
resources, secured financing, leased facilities, and obtained safety provisions in order to perform
the work encompassed by the JOC. Def.-Intervenor’s Opp’n 7. CMR emphasizes that it would
continue to incur these costs, as well as administrative costs, during a work stoppage. Pelletier
Decl. ¶ 13-14; see also id. ¶ 14 (approximating costs incurred at [. . .] if an injunction is issued);
cf. id. ¶ 15 (noting that its estimate does not include costs related to subcontractors).
Nevertheless, CMR acknowledges that it would be entitled to an equitable adjustment under the
JOC and would be reimbursed by the Corps for these costs. Id. ¶ 14.

        Any harm that might befall CMR would ultimately stem from losing (1) work that was
the result of an unlawful contracting process, which should be discounted, see Cardinal Maint.
Serv., Inc., 63 Fed. Cl. at 111 (stating that the beneficiary of a CICA violation suffers no harm
when the violation is corrected), or (2) employees and subcontractors hired specifically to
perform the work encompassed by the JOC. CMR also acknowledges that it would be entitled to
an equitable adjustment and reimbursement for its expenses. Furthermore, as the court in
University Research Co., LLC recognized,


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           Since CMR also signed subcontracts for the performance of various work, including
fencing, electrical and mechanical work, demolition, construction, and painting, it opines that, if
work is stopped, these subcontractors may no longer be available once work recommences,
thereby requiring CMR to secure alternatives. Def.-Intervenor’s Opp’n 7-8.

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       an incumbent is likely to suffer potentially greater injury than a new bidder for a
       contract, based on the difference between the actual and the prospective: an
       incumbent’s bid is based on keeping together a team whose existence is
       eliminated in the absence of injunctive relief, while a new bidder is usually
       projecting the sort of team it could assemble if awarded the contract.

65 Fed. Cl. at 514; see also Pl.’s App. 287 (indicating that, “[t]hough [BBSSI’s] coefficient
appears [. . .][, it is] the incumbent contractor and therefore may have known efficiencies in [its]
current process that would reflect a lower cost than others” (emphasis added)). The harm BBSSI
will suffer outweighs the harm to defendant and to CMR.

                     4. Whether Injunctive Relief Is in the Public Interest

        BBSSI asserts that “[s]afeguarding the integrity of the procurement process is a matter of
high public interest that is best served by enjoining arbitrary and capricious agency action, or
action generally inconsistent with procurement law and regulations. Pl.’s Mot. 31. Defendant
describes the “detrimental impact” upon the military as “severe” if injunctive relief is awarded,
noting that there exists a strong public interest in not interfering with an agency’s procurement
process. Def.’s Mot. 31. CMR argues that the public interest is not served “by issuing contracts
to companies that act as conduits to debarred contractors.” Def.-Intervenor’s Opp’n 9.

        In this case, the Corps initially determined that BBSSI’s proposal constituted the best
value to the government. It also determined that BBSSI was “fully qualified” to perform the
work encompassed by the JOC. Pl.’s App. 290. Based upon its interpretation of Dr. Cosmelli’s
opinion, the Corps concluded that, while BBSSI was qualified to perform the work, BBSSI was
nevertheless “also required” to utilize BBH’s resources. Id. The “public interest in honest, open,
and fair competition in the procurement process is compromised whenever an agency abuses its
discretion in evaluating a contractor’s bid.” Overstreet Elec. Co. v. United States, 47 Fed. Cl.
728, 744 (2000); Info. Scis. Corp., 80 Fed. Cl. at 799 (recognizing the public’s interest in
“ensuring that the ultimate awardee offers the ‘best’ value to the Government, pursuant to the
terms of the Solicitation and applicable procurement regulations”); Beta Analytics Int’l, Inc. v.
United States, 69 Fed. Cl. 431, 434 (2005) (recognizing the “public’s interest in receiving the
best value in public services”). The public interest was compromised by the Corps’ likely
arbitrary and capricious procurement of and reliance upon Dr. Cosmelli’s opinion, which
constituted the basis for its elimination of BBSSI’s proposal.

                                       V. CONCLUSION

        For the reasons discussed above, defendant’s motion to dismiss is DENIED IN PART
and plaintiff’s motion is GRANTED. Defendant, its officers, agents, employees,
representatives, and all other persons acting in connection therewith are hereby ENJOINED
from issuing any new task orders to CMR under JOC number W912GB-10-D-0007 and are
directed to suspend performance by CMR on any previously issued task order under JOC number


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        The court has filed this opinion under seal. The parties shall confer to determine
proposed redactions that are agreeable to all parties. Then, by no later than Friday, October 1,
2010, the parties shall file a joint status report indicating their agreement with the proposed
redactions and attaching a complete copy of the court’s opinion with all redactions clearly
indicated.

       IT IS SO ORDERED.


                                                    s/ Margaret M. Sweeney
                                                    MARGARET M. SWEENEY
                                                    Judge




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